         Case
         Case 20-30967
              20-30967 Document
                       Document 1029
                                1025 Filed
                                     Filed in
                                           onTXSB  on 12/30/20
                                              12/29/20 in TXSB Page
                                                               Page 1
                                                                    1 of
                                                                      of 115
                                                                         116



                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION                                             ENTERED
                                                                                                    12/30/2020
                                                               §
In re:                                                         §   Chapter 11
                                                               §
WATSON GRINDING &                                              §   Case No. 20-30967
MANUFACTURING CO.,                                             §
                                                               §
                    Debtor.                                    §
                                                               §
In re:                                                         §   Chapter 11
                                                               §
WATSON VALVE SERVICES, INC.,                                   §   Case No. 20-30968
                                                               §
                    Debtor.                                    §
                                                               §

ORDER CONFIRMING FIRST AMENDED COMBINED DISCLOSURE STATEMENT
       AND JOINT PLAN OF LIQUIDATION OF WATSON GRINDING &
MANUFACTURING CO. AND WATSON VALVE SERVICES, INC. UNDER CHAPTER
                         11 OF THE BANKRUPTCY CODE
    (Relates to Case No. 20-30967, Doc. No. 971; Case No. 20-30968, Doc. No. 443)

           On February 6, 2020 (the “Petition Date”), the Debtors filed voluntary chapter 11

petitions in the Bankruptcy Court which initiated these Chapter 11 cases (the “Chapter 11

Cases”).

           On December 3, 2020, the Official Committee of January 24 Claimants (the

“Committee”) filed its First Amended Combined Disclosure Statement and Joint Plan of

Liquidation of Watson Grinding & Manufacturing Co. and Watson Valve Services, Inc. Under

Chapter 11 of the Bankruptcy Code (Case No. 20-30967, Doc. No. 971; Case No. 20-30968,

Doc. No. 443) (as applicable, the “Plan” and “Disclosure Statement”).1 A copy of the Plan and

Disclosure Statement is attached hereto as Exhibit A.



1
    Capitalized terms not otherwise defined herein have the meaning ascribed to them in the Plan.


                                                           1
10859433v3
       Case
       Case 20-30967
            20-30967 Document
                     Document 1029
                              1025 Filed
                                   Filed in
                                         onTXSB  on 12/30/20
                                            12/29/20 in TXSB Page
                                                             Page 2
                                                                  2 of
                                                                    of 115
                                                                       116



        On December 18, 2020, the Committee filed its Notice of Filing of Plan Supplement

(Case No. 20-30967, Doc. No. 1000; Case No. 20-30968, Doc. No. 451) (the “Plan

Supplement”).

        The Court has

        a.      entered its Order (1) Conditionally Approving Disclosure Statement; (2)
                Scheduling Plan Confirmation Hearing; (3) Establishing Voting Deadline
                and Procedures for Filing Objections to Confirmation; (4) Temporarily
                Allowing Certain Claims for Voting Purposes Only; (5) Approving Form
                of Ballots; (6) Establishing Solicitation and Tabulation Procedures; and
                (7) Reducing Notice Period Pursuant to Rules 2002(b) and 9006(c) (Doc.
                No. 974) (the “Disclosure Statement Order”), which granted conditional
                approval of the Disclosure Statement, approved the solicitation
                procedures, vote tabulation procedures, and forms of ballots, and set
                approval of the Disclosure Statement and Plan for a combined hearing on
                December 30, 2020 (the “Combined Hearing”);

        b.      reviewed the Plan, the Disclosure Statement, the Plan Supplement, and all
                pleadings, exhibits, statements, responses, and comments regarding
                Confirmation, including all objections, statements, and reservations of
                rights filed by parties in interest on the docket of the Chapter 11 Cases;

        c.      held the Combined Hearing;

        a.      heard the statements, arguments, and objections made by counsel in respect of
                Confirmation;

        b.      considered all oral representations, testimony, documents, filings, and other
                evidence regarding Confirmation; and

        d.      overruled any and all objections to the Plan or Disclosure Statement and to
                Confirmation and all statements and reservations of rights not
                consensually resolved or withdrawn unless otherwise indicated herein.

        The Court finds that notice of the Combined Hearing and the opportunity for any party in

interest to object to Confirmation have been adequate and appropriate as to all parties affected or

to be affected by the Plan. The Court further finds that the transactions contemplated under the

Plan, the legal and factual bases set forth in the documents filed in support of Confirmation, the

evidence proffered or adduced by counsel at the Combined Hearing, and the entire record of the



                                                 2
10859433v3
       Case
       Case 20-30967
            20-30967 Document
                     Document 1029
                              1025 Filed
                                   Filed in
                                         onTXSB  on 12/30/20
                                            12/29/20 in TXSB Page
                                                             Page 3
                                                                  3 of
                                                                    of 115
                                                                       116



Chapter 11 Cases establish just cause for the relief granted herein. After due deliberation and

finding good cause to grant the relief in this Order, the Court makes the following Findings of

Fact and Conclusions of Law:

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

                                    Jurisdiction and Venue

        a.      Jurisdiction and Core Proceeding. The Court has jurisdiction over the Chapter 11

Cases pursuant to 28 U.S.C. § 1334. The Court has exclusive jurisdiction to determine whether

the Plan complies with the applicable provisions of the Bankruptcy Code and should be

confirmed. Confirmation of the Plan is a core proceeding within the meaning of 28 U.S.C. §

157(b)(2) and the Court may enter a final order consistent with Article III of the United States

Constitution.

        b.      Retention of Jurisdiction.   The Court finds and concludes that the Court’s

retention of jurisdiction as set forth in Article XVIII of the Plan comports with 28 U.S.C. § 1334.

The Court further finds that the Debtors are proper debtors under Bankruptcy Code § 109.

                              Notice, Solicitation and Acceptance

        c.      Adequate Notice of Combined Hearing. The Court finds and concludes that (a)

proper, timely and adequate notice of the Disclosure Statement, Plan, Plan Supplement, and time

for filing objections to the Disclosure Statement and Plan, together with all deadlines for voting

to accept or reject the Plan, was provided, and (b) proper, timely and adequate notice of the

Combined Hearing was provided to all holders of Claims and Equity Interests. No other or

further notice of approval of the Disclosure Statement, Confirmation of the Plan or the

Combined Hearing is necessary or required.

        d.      Adequate   Information.      The Disclosure Statement        contains   “adequate

information” (as such term is defined in Bankruptcy Code § 1125(a) and used in Bankruptcy

                                                3
10859433v3
       Case
       Case 20-30967
            20-30967 Document
                     Document 1029
                              1025 Filed
                                   Filed in
                                         onTXSB  on 12/30/20
                                            12/29/20 in TXSB Page
                                                             Page 4
                                                                  4 of
                                                                    of 115
                                                                       116



Code § 1126(b)(2)) with respect to the Debtors, the Plan, and the transactions contemplated

therein.

        e.     Good Faith Solicitation (11 U.S.C. § 1125(e)). The Court finds and concludes

that the Committee has solicited acceptances of the Plan in good faith, in compliance with the

Bankruptcy Code and in accordance with the Disclosure Statement Order. The Committee and

each of its members, attorneys, and other professionals are deemed to have participated in good

faith and in compliance with the applicable provisions of the Bankruptcy Code in the solicitation

of the Plan and are therefore entitled to the protections afforded by 11 U.S.C. § 1125(e) and are

not, and shall not be, on account of such issuance or solicitation, liable at any time for the

violation of any law, rule, or regulation governing the solicitation of acceptances of the Plan or

the distribution or dissemination of any information contained in the Plan, the Disclosure

Statement, and any and all related documents. The Committee has complied with the Disclosure

Statement Order.

        f.     Voting. As evidenced by the certificate of service of solicitation materials and the

Certification of Stretto Regarding the Tabulation of Votes (Doc. No. 1023), votes to accept or

reject the Plan have been solicited and tabulated fairly, in good faith, and in a manner consistent

with the Bankruptcy Code, the Bankruptcy Rules and the Disclosure Statement Order.

                          Compliance with Bankruptcy Code § 1129

        g.     Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). The Plan

complies with all applicable provisions of the Bankruptcy Code as required by section

1129(a)(1) of the Bankruptcy Code, including, without limitations, sections 1122 and 1123 of the

Bankruptcy Code.

               (i)    Proper Classification—Sections 1122 and 1123. In accordance with
                      Bankruptcy Code §§ 1122(a) and 1123(a), the Court finds and concludes
                      that the Plan: (a) in addition to Administrative Claims, Priority Tax

                                                4
10859433v3
       Case
       Case 20-30967
            20-30967 Document
                     Document 1029
                              1025 Filed
                                   Filed in
                                         onTXSB  on 12/30/20
                                            12/29/20 in TXSB Page
                                                             Page 5
                                                                  5 of
                                                                    of 115
                                                                       116



                      Claims, and Professional Fee Claims, which need not be classified,
                      classifies fourteen Classes of Claims and Equity Interests for the Debtors.
                      The Claims and Equity Interests allocated to each Class are substantially
                      similar to other Claims and Equity Interests, as applicable, in each such
                      Class, and such Classes do not unfairly discriminate among holders of
                      Claims and Equity Interests; (b) specifies Classes of Claims and Equity
                      Interests that are not Impaired under the Plan; (c) specifies the treatment of
                      Classes of Claims and Equity Interests that are Impaired under the Plan;
                      (d) provides the same treatment for each Claim or Equity Interest of a
                      particular Class, unless the holder of a particular Claim or Equity Interest
                      agreed to less favorable treatment of its respective Claim or Equity
                      Interest; (e) provides for adequate means for the Plan’s implementation;
                      and (f) does not provide for the issuance of non-voting equity securities.
                      Based on the foregoing, the Plan satisfies the requirements of Bankruptcy
                      Code §§ 1122(a) and 1123(a).

               (ii)   Compliance with 11 U.S.C. § 1123(b). As permitted by Bankruptcy Code
                      § 1123(b), the Plan: (a) impairs the rights of the holders of certain Classes
                      of Claims and Equity Interests; (b) with the exception of insurance
                      policies which are being assumed, provides for rejection of all Executory
                      Contracts and Unexpired Leases not assumed as of the Effective Date; (c)
                      provides for the settlement or adjustment of Claims or Equity Interests
                      belonging to the Debtors or their Estates; (d) incorporates procedures for
                      resolving disputed, contingent and unliquidated Claims; (e) contains
                      procedures for making distributions to Allowed Claims and establishing
                      reserves for Claims that have not become Allowed Claims; (f) enjoins
                      certain acts by holders of Claims or Equity Interests; (g) exculpates the
                      certain parties from certain Claims and Causes of Action; and (h) includes
                      other appropriate provisions not inconsistent with the applicable
                      provisions of the Bankruptcy Code. The relief provided in the Plan is fair
                      and necessary for the orderly implementation of the Plan and the
                      administration of the Estates. Based on the foregoing, the Plan satisfies
                      the requirements of Bankruptcy Code § 1123(b).

        h.     Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)). In accordance with

Bankruptcy Code § 1129(a)(2), the Court finds and concludes that the Committee has complied

with the applicable provisions of the Bankruptcy Code. The Committee has complied with the

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Disclosure

Statement Order in transmitting the Plan, the Disclosure Statement, the Ballots and all related

documents and notices, and in soliciting and tabulating votes on the Plan.



                                                5
10859433v3
       Case
       Case 20-30967
            20-30967 Document
                     Document 1029
                              1025 Filed
                                   Filed in
                                         onTXSB  on 12/30/20
                                            12/29/20 in TXSB Page
                                                             Page 6
                                                                  6 of
                                                                    of 115
                                                                       116



        i.     Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3)).            In accordance with

Bankruptcy Code § 1129(a)(3), the Court finds and concludes that the Committee has proposed

the Plan in good faith and not by any means forbidden by law, and the Committee and their

respective members, advisors and professionals, have acted, and are presently acting, in good

faith in conjunction with all aspects of the Plan. The Plan (including the Plan Supplement and all

other documents and agreements necessary to effectuate the Plan) satisfies the requirements of

section 1129(a)(3) of the Bankruptcy Code. In determining that the Plan has been proposed in

good faith, the Court has examined the totality of the circumstances surrounding the formulation

and solicitation of the Plan. Furthermore, the Plan is in the best interests of the Debtors’ Estates

and holders of Claims and Equity Interests.

        j.     Exculpations and Injunctions. The exculpations and injunction provisions set

forth in Article XVI of the Plan constitute good faith compromises and settlements of the matters

covered thereby. Such provisions (a) are within the jurisdiction of the Court; (b) are an essential

means of implementing the Plan pursuant to section 1123(a)(5) of the Bankruptcy Code; (c) are

integral elements of the Plan and the resolution of the Chapter 11 Cases, such that the failure to

effect such provision would seriously impair the Committee’s ability to confirm the Plan; (c)

confer material benefits on, and are in the best interests, of the Debtors, the Debtors’ Estates, and

Holders of Claims and Interests; (e) are, inter alia, supported by consideration; (f) are important

to the overall objectives of the Plan to finally resolve all Claims among or against the parties in

interest in the Chapter 11 Cases with respect to the Debtors; and (g) are consistent with sections

105, 1123, 1129, and other applicable sections of the Bankruptcy Code.

        k.     Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).               In

accordance with Bankruptcy Code § 1129(a)(4), the Court finds and concludes that all payments



                                                 6
10859433v3
       Case
       Case 20-30967
            20-30967 Document
                     Document 1029
                              1025 Filed
                                   Filed in
                                         onTXSB  on 12/30/20
                                            12/29/20 in TXSB Page
                                                             Page 7
                                                                  7 of
                                                                    of 115
                                                                       116



made or to be made by the Estates for services or for costs and expenses in, or in connection

with, these Chapter 11 Cases, or in connection with the Plan and incident to these Chapter 11

Cases, have been approved by, or are subject to approval of, the Court as reasonable, unless

otherwise ordered by the Court.      The Court retains jurisdiction to hear and determine all

applications for Professional Fees incurred on or before the Effective Date.

        l.     Identity of Trustee (11 U.S.C. § 1129(a)(5)). In accordance with § 1129(a)(5), the

Court finds and concludes that the Committee has disclosed the identity of Ron Bankston as the

Liquidating Trustee, Eva Engelhart as the Watson Valve Trustee, and their respective

compensation. The Debtors will have no officers or directors following the Effective Date.

        m.     Best Interests of Creditors (11 U.S.C. § 1129(a)(7)).           In accordance with

Bankruptcy Code § 1129(a)(7), based on the Liquidation Analysis and the justification for the

global compromises regarding remand of the Removed Lawsuits set forth in the Declaration of

Robert S. Kwok in Support of Final Approval and Confirmation of the First Amended Combined

Disclosure Statement and Joint Plan of Liquidation of Watson Grinding & Manufacturing Co.

and Watson Valve Services, Inc. Under Chapter 11 of the Bankruptcy Code, the Court finds and

concludes that with respect to Impaired Classes of Claims and Interests each holder of a Claim or

Equity Interest has accepted the Plan or will receive or retain under the Plan, on account of such

Claim or Equity Interest, property of a value, as of the Effective Date, that is not less than the

amount that such holder would so receive or retain if the Debtors were liquidated under chapter 7

of the Bankruptcy Code on such date.

        n.     Acceptance or Rejection of Certain Classes (11 U.S.C. § 1129(a)(8)).            In

accordance with Bankruptcy Code § 1129(a)(8), the Court finds and concludes that: (1) Classes




                                                7
10859433v3
       Case
       Case 20-30967
            20-30967 Document
                     Document 1029
                              1025 Filed
                                   Filed in
                                         onTXSB  on 12/30/20
                                            12/29/20 in TXSB Page
                                                             Page 8
                                                                  8 of
                                                                    of 115
                                                                       116



1, 2, 8 and 9 are unimpaired and deemed to accept the Plan, and (2) Classes 3, 4, 5, 6, 7, 10, 11,

12, 13, and 14 have voted to accept the Plan.

        o.     Treatment of Administrative and Priority Claims (11 § U.S.C. § 1129(a)(9)). The

Court finds and concludes that the Plan’s treatment of Claims of a kind specified in Bankruptcy

Code §§ 507(a)(1) through (8) satisfies the requirements set forth in Bankruptcy Code §

1129(a)(9).

        p.     Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)). In accordance with

Bankruptcy Code § 1129(a)(10), the Court finds and concludes that at least one Class of Claims

that is Impaired under the Plan has voted to accept the Plan, without including acceptances of the

Plan by any insider.

        q.     Feasibility (11 U.S.C. § 1129(a)(11)). The Plan contemplates the liquidation of

the Debtors’ assets for distribution in accordance with the Plan. The Plan provides sufficient

measures for the funding of distributions to be made under the Plan and the administration of the

Liquidating Trust and the Watson Valve Liquidating Trust. Confirmation of the Plan is not

likely to be followed by the liquidation or need for further reorganization of the Debtors. Thus,

the Plan satisfies the requirements of Bankruptcy Code § 1129(a)(11).

        r.     Payment of Fees (11 U.S.C. § 1129(a)(12)). In accordance with Bankruptcy Code

§ 1129(a)(12), the Court finds and concludes that, to the extent that fees payable to the U.S.

Trustee under 28 U.S.C. § 1930 have not been paid, the Plan provides for the payment of all such

fees on the Effective Date and as they come due after the Effective Date.

        s.     Other Provisions of 11 U.S.C. 1129(a). The Court finds and concludes that the

provisions of 11 U.S.C. §§ 1129(a)(6), (a)(13), (a)(14), (a)(15), and (a)(16) are not applicable to

the Debtors.



                                                8
10859433v3
        Case
        Case 20-30967
             20-30967 Document
                      Document 1029
                               1025 Filed
                                    Filed in
                                          onTXSB  on 12/30/20
                                             12/29/20 in TXSB Page
                                                              Page 9
                                                                   9 of
                                                                     of 115
                                                                        116



         t.    Only One Plan (11 U.S.C. § 1129(c)).        The Plan is the only plan that was

approved for solicitation in these Chapter 11 Cases, and accordingly, the Court finds and

concludes that Bankruptcy Code § 1129(c) is inapplicable to these Chapter 11 Cases.

         u.    Principal Purpose of the Plan (11 U.S.C. § 1129(d)).        The Court finds and

concludes that the principal purpose of the Plan is not the avoidance of taxes or the avoidance of

the application of section 5 of the Securities Act of 1933, and there has been no objection filed

by any governmental unit asserting such avoidance.

         v.    Based on the foregoing, the Committee, as proponents of the Plan, has met its

burden of proving the elements of Bankruptcy Code § 1129.

                                   Modifications to the Plan

         w.    The Court finds and concludes that all modifications made to the Plan, if any,

after solicitation of votes on the Plan had commenced, as reflected in this Order, as set forth on

the record at the Combined Hearing, or as reflected in the Plan, satisfy the requirements of

Bankruptcy Code § 1127(a) and Bankruptcy Rule 3019, are not material or do not adversely

affect the treatment and rights of the holders of any Claims or Interests under the Plan who have

not otherwise accepted such modifications. Accordingly, the Debtors have satisfied Bankruptcy

Code § 1127(c) and Bankruptcy Rule 3019 with respect to the Plan, as modified, and holders of

Claims or Interests that have accepted or rejected the Plan (or are deemed to have accepted or

rejected the Plan) are deemed to have accepted or rejected, as the case may be, the Plan as

modified on the date of this Order, pursuant to Bankruptcy Code § 1127(d) and Bankruptcy Rule

3019.

                                          Exemptions

         x.    Exemptions from Recording, Stamp, and Similar Taxes (11 U.S.C. § 1146(a)).

The Court finds and concludes that, in accordance with Bankruptcy Code § 1146(a), any

                                                9
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 10
                                                                 10 of
                                                                    of 115
                                                                       116



transfers from the Debtors to the Liquidating Trust or the Watson Valve Liquidating Trust or any

other Person or Entity pursuant to the Plan shall not be subject to any document recording tax,

stamp tax, conveyance fee, intangibles or similar tax or governmental assessment.               The

appropriate federal, state or local governmental officials or agents are directed to forego the

collection of any such tax or governmental assessment and to accept for filing and recordation

any of the instruments or other documents as set forth in the Plan without the payment of any

such tax or governmental assessment.

                               Transactions Pursuant to the Plan

        y.     Rule 9019 Settlement; Releases and Discharges. The Court finds and concludes

that pursuant to Bankruptcy Rule 9019 and in consideration of the distributions and other

benefits provided under the Plan, the provisions of the Plan constitute a good faith compromise

and settlement of all Impaired Claims against and Interests in the Debtors. Such compromises

and settlements are made in exchange for consideration and are in the best interests of the

holders of Impaired Claims and Interests, are within the range of possible litigation outcomes,

are fair, equitable, reasonable, and are integral elements of the resolution of these Chapter 11

Cases in accordance with the Plan.

        z.     The Court finds and concludes that the compromise between Matheson, Watson

Grinding and Watson Valve regarding the allowance certain claims by Watson Grinding against

Watson Valve, and Watson Grinding’s agreement to limit its potential recovery from remaining

amounts of the Valve Cash, and Matheson’s contractual indemnity claim constitutes a good faith

compromise following arms’ length negotiations and represents a sound exercise of the business

judgment of the Debtors and the Committee. This proposed compromise is in the best interests

of the Estates and their Creditors, in part, because it resolves the contested motions to remand the

Removed Lawsuits.

                                                10
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 11
                                                                 11 of
                                                                    of 115
                                                                       116



        aa.    Exculpation. The failure to effect the exculpation provisions of the Plan would

impair the Committee’s ability to confirm the Plan.         Accordingly, the compromises and

settlements embodied in the exculpation provisions described in Article XVI of the Plan are

approved and incorporated by reference into and as an integral part of this Order.

        bb.    Plan Provisions Valid and Binding. The Court finds and concludes that, upon

entry of this Order, each term and provision of the Plan and the Plan Supplement is valid,

binding, and enforceable pursuant to its terms.

        cc.    Plan Documents Valid and Binding. The Court finds and concludes that all

documents reasonably necessary to implement the Plan shall be, upon execution on or after the

Effective Date, valid, binding, and enforceable agreements.        The Court further finds and

concludes that all documents reasonably necessary to implement the Plan are in the best interests

of the Debtors and their Estates and have been negotiated in good faith and at arm’s length.

        dd.    Executory Contracts and Unexpired Leases. The Court finds and concludes that

the Committee has exercised reasonable business judgment in determining to reject Executory

Contracts and Unexpired Leases, other than insurance policies, pursuant to Article XII of the

Plan. To the extent that any or all insurance policies are considered to be Executory Contracts,

the Plan shall be considered a motion to assume such insurance policies, and subject to the

occurrence of the Effective Date, this Confirmation Order approves such assumption pursuant to

§§ 365(a), 1123(a)(5)(A), and 1123(b)(2) of the Bankruptcy Code. The Court finds that each

such assumption is in the best interest of the Debtors, the Estates, and all parties in interest in

these Chapter 11 cases.




                                                  11
10859433v3
        Case
        Case 20-30967
             20-30967 Document
                      Document 1029
                               1025 Filed
                                    Filed in
                                          onTXSB  on 12/30/20
                                             12/29/20 in TXSB Page
                                                              Page 12
                                                                   12 of
                                                                      of 115
                                                                         116



         ee.    The Court finds that the requirements of 11 U.S.C § 365 have been satisfied for

the assumption and assignment of all the Debtors’ insurance policies to the Liquidating Trust or

the Watson Valve Liquidating Trust, as applicable.

         ff.    Compliance with Bankruptcy Rule 3016. In accordance with Bankruptcy Rule

3016(a), the Court finds and concludes that the Plan is dated and the entities that submitted it,

and filed it, are identified.

                                     Miscellaneous Provisions

         gg.    The Court finds that Confirmation of the Plan is in the best interests of the

Debtors, their Estates, holders of Claims and Interests, and all other parties in interest.

         hh.    All findings of fact and conclusions of law announced by this Court on the record

in connection with the Confirmation of the Plan or otherwise at the Combined Hearing are

incorporated herein by reference.

         ii.    All findings of fact that are conclusions of law shall be deemed to be conclusions

of law, and all conclusions of law which are findings of fact shall be deemed to be findings of

fact.

                                              ORDER

         Based on the foregoing Findings of Fact and Conclusions of Law, it is ORDERED AS

FOLLOWS:

         1.     Disclosure Statement. The Disclosure Statement contains adequate information

within the meaning of Bankruptcy Code § 1125 and is APPROVED on a final basis, and all

objections, statements, and reservations of rights with respect to the Disclosure Statement are

overruled.

         2.     Confirmation. The Plan, as attached to this Order and with the modifications and

clarifications embodied in this Order, is hereby CONFIRMED. The terms of this Order are

                                                  12
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 13
                                                                 13 of
                                                                    of 115
                                                                       116



controlling if any inconsistency exists between the Plan, the Disclosure Statement, and this

Order. All objections and all reservations of rights pertaining to Confirmation that have not been

withdrawn, waived, or settled are overruled on the merits. The failure specifically to include or

to refer to any particular article, section, or provision of the Plan, the Plan Supplement, or any

related document in this Order shall not diminish or impair the effectiveness of such article,

section, or provision, it being the intent of the Court that the Plan and any related documents be

confirmed in their entirety.

        3.     Binding Effect. The Plan, its provisions and this Order shall be, and hereby are,

binding upon the Debtors and any Creditor or equity security holder of the Debtors, whether or

not the Claim or Interest of such Creditor or equity security holder is Impaired under the Plan

and whether or not such Creditor or equity security holder has accepted the Plan.

        4.     Plan Classification Controlling. The terms of the Plan shall solely govern the

classification of Claims and Interests for purposes of distributions to be made thereunder. The

classifications set forth on the Ballots tendered to or returned by the holders of Claims or

Interests in connection with voting on the Plan: (a) were set forth on the Ballots solely for

purposes of voting to accept or reject the Plan; (b) do not necessarily represent, and in no event

shall be deemed to modify or otherwise affect, the actual classification of such Claims and

Interests under the Plan for distribution purposes; (c) may not be relied upon by any holder of a

Claim or Interest as representing the actual classification of such Claim or Interest under the Plan

for distribution purposes; and (d) shall not be binding on the Debtors, the Liquidating Trustee,

the Watson Valve Trustee, or Holders of Claims or Interests except for voting purposes.

        5.     Post-Confirmation Trustees and the Plan Agent.           The appointment of Ron

Bankston as the Liquidating Trustee is hereby approved. The appointment of Eva Engelhart as



                                                13
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 14
                                                                 14 of
                                                                    of 115
                                                                       116



the Watson Valve Trustee is hereby approved. The appointment of Janet S. Northrup as the Plan

Agent is hereby approved. Ms. Northrup is authorized to retain the firms of Hughes Watters

Askansase LLP and Jones Murray Beatty LLP to represent her in her capacity as the Plan Agent.

The Liquidating Trustee, the Watson Valve Trustee, and the Plan Agent shall retain and have all

the rights, powers and duties necessary to carry out their responsibilities under the Plan and as

provided in this Order. Matters relating to the appointment, removal and resignation of the

Liquidating Trustee, the Watson Valve Trustee, and the Plan Agent and the appointment of any

successors are set forth in the Plan and the Plan Supplement.

        6.     The proposed compensation for the Liquidating Trustee, the Watson Valve

Trustee, and the Plan Agent is hereby approved.          All implementing actions required or

contemplated by the Plan, including but not limited to the appointment of the Liquidating

Trustee, the Watson Valve Trustee and the Plan Agent and the vesting of Assets in the

Liquidating Trust and Watson Valve Liquidating Trust, are hereby authorized and approved in

all respects. The Liquidating Trustee, the Watson Valve Trustee, and the Plan Agent shall be

authorized to take any action as may be necessary or appropriate to effectuate and further

evidence the terms and conditions of the Plan, whether or not specifically referred to in the Plan

or any exhibits or supplement thereto, without further order of the Court except as specifically

required.

        7.     Authority to Pursue, Settle, or Abandon Retained Causes of Action. From and

after the Effective Date, prosecution and settlement of all of Watson Grinding’s Retained Causes

of Action shall be the sole responsibility of the Liquidating Trustee and Watson Valve’s Claims

and Retained Causes of Action shall be the sole responsibility of the Watson Valve Trustee.

From and after the Effective Date, the Liquidating Trustee shall have the exclusive rights,



                                               14
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 15
                                                                 15 of
                                                                    of 115
                                                                       116



powers, and interests of the Watson Grinding Estate to pursue, settle, or abandon Watson

Grinding’s Retained Causes of Action as the sole representative of the Watson Grinding estate

pursuant to section 1123(b)(3) of the Bankruptcy Code and the Watson Valve Trustee shall have

the exclusive rights, powers, and interests of the Watson Valve Estate to pursue, settle, or

abandon Watson Valve’s Claims and Retained Causes of Action as the sole representative of the

Watson Valve estate pursuant to section 1123(b)(3) of the Bankruptcy Code. On the Effective

Date, the Liquidating Trustee shall be substituted as a party of record in all pending litigation

brought by or against Watson Grinding and the Watson Valve Trustee shall be substituted as a

party of record in all pending litigation brought by or against Watson Valve. The Liquidating

Trustee and the Watson Valve Trustee reserve and retain any and all claims and rights against

any and all third parties to enforce the Watson Grinding and Watson Valve Retained Causes of

Action, respectively, whether such claims and rights arose before, on or after the Petition Date,

the Confirmation Date, or the Effective Date.

        8.    Plan Distributions. The Liquidating Trustee, the Watson Valve Trustee, and the

Plan Agent shall make payments and distributions pursuant to the procedures established by

Article XIII of the Plan. Any payments or distributions to be made to Claimants as required by

the Plan shall be made only to the holders of Allowed Claims. Any payments or distributions to

be made pursuant to the Plan shall be made as soon as practicable, except as otherwise provided

for in the Plan. Any payment, delivery or distribution pursuant to the Plan, to the extent

delivered by the United States mail, shall be deemed made when deposited into the United States

mail. Distributions or deliveries required to be made by the Plan on a particular date shall be

deemed to have been made on such date if actually made on such date or as soon thereafter as

practicable taking into account the need to establish reserves and account for Disputed Claims.



                                                15
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 16
                                                                 16 of
                                                                    of 115
                                                                       116



No payments or other distributions of property shall be made on account of any Claim or portion

thereof unless and until such Claim or portion thereof is Allowed. The Liquidating Trustee, the

Watson Valve Trustee, and the Plan Agent in their discretion may establish reserves for Disputed

Claims, and defer or delay distributions to ensure an equitable and ratable distribution to holders

of Allowed Claims, in accordance with the terms of the Plan.

        9.     The Liquidating Trust shall be funded with $1,000,000 from Valve Cash by the

Watson Valve Chapter 11 Trustee on or prior to the Effective Date. The Watson Valve Trustee

shall pay or establish sufficient reserves to pay all Administrative Claims, including Professional

Fee Claims, Priority Tax Claims and all Claims in Classes 8, 9, 11 and 12, all of the foregoing in

the amounts set forth on Exhibit B; provided that, if there are any Professional Fee Claims or

Administrative Claims filed on or before the bar date for Professional Fee Claims set forth in

Article VIII.B. of the Plan (the “Professional Fee Claims Bar Date”) and the Administrative

Claims Bar Date, respectively, and the reserves set forth on Exhibit B are not sufficient to cover

the asserted claims, then the reserves set forth on Exhibit B shall be increased in the amount to

cover the deficiency between the asserted Professional Fee Claims and/or the Administrative

Claims, and their respective Reserves as set forth on Exhibit B. In the event of an increase in the

Reserves for Professional Fee Claims and Administrative Claims, such increase shall not reduce

any of the existing Reserves. On a date that is no later than seven days following the later of the

Professional Fee Claims Bar Date and the Administrative Bar Date, the Watson Valve Trustee

shall distribute all remaining Valve Cash that is not reserved in the amounts set forth on Exhibit

B as may be adjusted under this paragraph to the holders of Interests in Watson Valve on a Pro

Rata basis based on ownership percentages.




                                                16
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 17
                                                                 17 of
                                                                    of 115
                                                                       116



        10.    The Valve Trustee will take every effort to have any payments from the Valve

Insurance Recovery or the proceeds of the Valve Claims and Retained Causes of Action made

directly to the Holders of such Claims whenever possible. In the event that there are United

States Trustee fees due as a result of the distribution of proceeds from the Valve Insurance

Recovery or the Valve Claims and Retained Causes of Action, the Valve Trustee is authorized to

withhold the amounts necessary to pay the resulting United States Trustee fees prior to making

such distribution.

        11.    If there is an objection to a Claim pending on the Initial Distribution Date, then

the distribution to the Holder of such Claim shall only occur after resolution of the Claim

objection.

        12.    Exculpation and Injunction. The terms and conditions of the exculpation and

injunction set forth in Article XVI of the Plan are approved as reasonable, fair, and equitable and

in the best interests of the Estates and are authorized in their entirety. However, nothing in this

Order, the Plan or related documents shall discharge, release, impair, enjoin, or otherwise

preclude or diminish any liability to the United States or any State of any non-Debtor.

        13.    Executory Contracts and Unexpired Leases. Pursuant to Article XII of the Plan,

all Executory Contracts and Unexpired Leases, other than the Debtors’ insurance policies, shall

be deemed automatically rejected as of the Effective Date. Entry of this Order shall constitute a

Court order approving the rejections. On the Effective Date, Watson Grinding’s insurance

policies shall be assigned to the Liquidating Trust and Watson Valve’s insurance policies shall

be assigned to the Watson Valve Liquidating Trust.

        14.    Disputed, Contingent and Unliquidated Claims. Any Disputed, contingent or

unliquidated Claim shall be resolved in accordance with the procedures set forth in the Plan.



                                                17
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 18
                                                                 18 of
                                                                    of 115
                                                                       116



        15.    Allowance and Disallowance of Claims. Pursuant to Article XIV.B. of the Plan,

as part of the global compromise embodied in the Plan, (i) the proof of claim filed by John

Watson against Watson Grinding (Claim No. 7) shall be allowed in the face amount of

$1,199,258.00, and (ii) the rejection damage claims filed by Robert and Judy White and Betty

Sue Watson (Claim Nos. 403 and 404) shall be disallowed.

        16.    U.S. Trustee Reporting and Payment of Fees. The Chapter 11 Trustees shall

continue to file with the Court separate monthly operating reports through the Effective Date.

Following the Effective Date, the Liquidating Trustee and the Watson Valve Trustee shall be

responsible for filing with the Court quarterly financial reports for each quarter (or portion

thereof) that the Watson Grinding or Watson Valve cases, respectively, remain open, in a format

prescribed by the U.S. Trustee. All fees payable pursuant to 28 U.S.C. § 1930(a) shall be paid in

full in Cash by the Chapter 11 Trustees (before the Effective Date) or the Liquidating Trustee

and Watson Valve Trustee (on and after the Effective Date) for each quarter (including any

fraction therein) until the Chapter 11 Cases are converted, dismissed, or a Final Decree is issued,

whichever occurs first.

        17.    Transfers; Vesting of Assets. All transfers of property of the Estates, including,

without limitation, the vesting of the Debtors’ Assets in the Liquidating Trust and the Watson

Valve Liquidating Trust, (a) are legal, valid and effective transfers of property, (b) vest the

transferee with good title to such property free and clear of all Claims, Liens, interests, charges

or other encumbrances, except as expressly provided in the Plan or this Order, (c) do not and will

not constitute voidable transfers under the Bankruptcy Code or applicable law, (d) do not and

will not subject the Liquidating Trustee, Watson Valve Trustee, or Plan Agent to any liability by

reason of such transfer under the Bankruptcy Code or under applicable law, including without



                                                18
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 19
                                                                 19 of
                                                                    of 115
                                                                       116



limitation, any laws affecting successor, transferee, or stamp or recording tax liability, and (e) are

for good consideration and value. Provided, however, all Watson Valve Assets turned over to

the Liquidating Trust, the Plan Agent or the Valve Liquidating Trustee by the Valve Chapter 11

Trustee shall constitute “moneys disbursed or turned over in the case by the trustee to parties in

interest” as used in 11 U.S.C. § 326 (a) for purposes of calculating the compensation due to the

Valve Chapter 11 Trustee.

        18.    Term of Stays. Except as otherwise provided in the Plan, all injunctions and the

stay pursuant to Bankruptcy Code § 362, shall remain in full force and effect until the Effective

Date. All injunctions or stays contained in the Plan or this Order shall remain in full force and

effect in accordance with their terms.

        19.    Setoffs. Pursuant to Article XVI.E of the Plan, each Debtor, Estate, the Watson

Valve Trustee, and the Liquidating Trustee (as applicable), pursuant to the Bankruptcy Code

(including section 553 of the Bankruptcy Code), applicable non-bankruptcy law or as may be

agreed to by the Holder of a Claim, may set off against any Allowed Claim and the Distributions

to be made pursuant to the Plan on account of such Allowed Claim (before any Distribution is

made on account of such Allowed Claim), any Retained Cause of Action of any nature that the

Debtors and/or the Estates, as applicable, may hold against the Holder of such Allowed Claim, to

the extent such Retained Causes of Action against such Holder have not been otherwise

compromised or settled on or prior to the Effective Date (whether pursuant to the Plan or

otherwise); provided, however, that neither the failure to effect such a setoff nor the allowance of

any Claim pursuant to the Plan shall constitute a waiver or release by the Debtors, Estates,

Watson Valve Trustee, or Liquidating Trustee of any such Retained Causes of Action that the

Debtors, Estates, Watson Valve Trustee, or Liquidating Trustee may possess against such



                                                 19
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 20
                                                                 20 of
                                                                    of 115
                                                                       116



Holder. In no event shall any Holder of Claims be entitled to setoff any Claim against any

Retained Cause of Action unless such Holder has obtained an authorizing order from the

Bankruptcy Court pursuant to a motion Filed on or before the Confirmation Date with the

Bankruptcy Court and requesting the authority to perform such setoff.

        20.    Recoupment. Pursuant to Article XVI.F of the Plan, any Holder of a Claim or

Interest shall not be entitled to recoup any Claim or Interest against any asset or Retained Cause

of Action, unless such Holder actually has performed such recoupment and provided notice

thereof in writing to the Grinding Chapter 11 Trustee or Valve Chapter 11 Trustee on or before

the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such

Holder asserts, has, or intends to preserve any right of recoupment.

        21.    Police and Regulatory Powers.          Nothing in the Plan or this Order releases,

nullifies, precludes, or enjoins the enforcement of any police or regulatory liability to a

governmental unit arising from or related to the enforcement of any applicable police or

regulatory law or regulation (including but not limited to those of the Texas Commission on

Environmental Quality (“TCEQ”) to which any entity (including the non-Debtor owners of the

Debtors’ former facilities) would be subject to as the owner or operator of property from and

after the effective date of the Plan. Nothing in this Order authorizes the transfer or assignment of

any governmental (a) license, (b) permit, (c) registration, (d) authorization, or (e) approval, or the

discontinuation of any obligation thereunder, without compliance with all applicable legal

requirements and approvals under police and regulatory law. Nothing in the Plan or this Order

obligates the Liquidating Trustee or the Watson Valve Trustee to defend legal actions regarding

real property which was formerly leased or owned by the Debtors but is not property of the

Liquidating Trust or the Watson Valve Liquidating Trust. For clarity, the Liquidating Trustee



                                                 20
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 21
                                                                 21 of
                                                                    of 115
                                                                       116



and the Watson Valve Liquidating Trustee may negotiate with TCEQ in order to liquidating

TCEQ’s proof of claim for violations that occurred prior to the Effective Date.

        22.    Modifications to the Plan. The Plan is hereby modified as follows:

               (i)     The definition of “Grinding Insurance Recovery” in Article I(45) shall be

                       replaced with the following language:

                       a.     “Grinding Insurance Recovery” means the proceeds payable to
                              Watson Grinding based on any claims under (i) the $1 million
                              general liability policy issued by United Fire Insurance (Policy
                              Number 85319121), (ii) the $5 million excess liability coverage
                              issued by Navigators Insurance Company, (iii) the $20 million
                              excess liability policy issued by RSUI, (iv) the $1 million general
                              liability policy issued by Indian Harbor Insurance Company
                              (Policy Number US00087635LI19A) under which Watson
                              Grinding asserts it is an additional insured, (v) the $10 million
                              excess liability policy issued by Indian Harbor Insurance Company
                              (Policy Number US00087637LI19A) under which Watson
                              Grinding asserts it is an additional insured, and (vi) the $15 million
                              excess liability policy issued by RSUI (Policy Number
                              NHA088211) under which Watson Grinding asserts it is an
                              additional insured.

               (ii)    The definition of “January 24 Claim” in Article I(55) shall be replaced

                       with the following language:

                       a.     “January 24 Claim” means a Claim, including, but not limited to,
                              Claims based on subrogation, arising out of or related to the
                              Explosion and for which the Debtors did not have any liability
                              prior to the Explosion. For the avoidance of doubt, an Indemnity
                              Claim is not a January 24 Claim.

               (iii)   The definition of “Valve Insurance Recovery” in Article I(96) shall be

                       replaced with the following language:

                       a.     “Valve Insurance Recovery” means the proceeds payable to
                              Watson Valve based on any claims under (i) the $1 million general
                              liability policy issued by Indian Harbor Insurance Company
                              (Policy Number US00087635LI19A), (ii) the $10 million excess
                              liability policy issued by Indian Harbor Insurance Company
                              (Policy Number US00087637LI19A), and (iii) the $15 million


                                                21
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 22
                                                                 22 of
                                                                    of 115
                                                                       116



                            excess liability policy issued by RSUI (Policy Number
                            NHA088211).

             (iv)    The deadline to filed Professional Fee Claims in Article VIII.B shall be

                     sixty (60) days instead of thirty (30) days for Watson Grinding, and shall

                     remain thirty (30) days for Watson Valve.

             (v)     The final paragraph of Article XI.C shall be replaced with the following

                     language:

                     a.     The Liquidating Trust shall be funded with $1,000,000 from Valve
                            Cash by the Watson Valve Chapter 11 Trustee on or prior to the
                            Effective Date in full and final satisfaction of the right of Grinding
                            or the Liquidating Trust to recover from the Valve Cash in
                            existence on the Effective Date. This compromise does not release
                            or settle any Claims that Watson Grinding or the Liquidating Trust
                            may assert against the Valve Insurance Recovery or Claim No. 66
                            filed by Watson Grinding against Watson Valve.

             (vi)    In Article XII.A (Treatment of Executory Contract and Unexpired

                     Leases), the phrase “other and insurance policies” is hereby replaced with

                     the phrase “other than insurance policies.”

             (vii)   Article XII.B (Assignment of Insurance Policies to the Liquidating Trust)

                     shall be replaced with the following language:

                     a.     As of the Effective Date, all insurance policies to which Watson
                            Grinding or Watson Valve are a party shall, to the extent they
                            constitute an Executory Contract, be assumed and assigned to the
                            Liquidating Trust or the Watson Valve Liquidating Trust, as
                            applicable.

             (viii) Article XIV.D (Deadline to Objection to Claims shall be replaced with the

                     following language:

                     a.     Unless otherwise ordered by the Bankruptcy Court, the Liquidating
                            Trustee, the Plan Agent and Watson Valve Trustee (or John
                            Watson on the limited basis set forth in the preceding paragraph)
                            shall File all objections to Claims in Classes 1, 2, 5, 8, 9, and 12 by


                                              22
10859433v3
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 23
                                                                 23 of
                                                                    of 115
                                                                       116



                           no later than 120 days after the Effective Date, except to the extent
                           that such Claims are Filed on or after the Effective Date, in which
                           case, the Liquidating Trustee shall have until 90 days after such
                           claim is Filed to File an objection to such claim. Notwithstanding
                           the foregoing, if the Liquidating Trustee, the Watson Valve
                           Trustee or John Watson determines that an extension of time is
                           warranted, they may seek the Bankruptcy Court’s approval to
                           extend such time by a period of an additional 180 days, without
                           prejudice to seek additional extensions from the Bankruptcy Court.

             (ix)   In Article XV.C (Waiver of Conditions), the word “Debtors” shall be

                    replaced with the word “Committee.”

             (x)    Article XVI.C (Injunction) shall be replaced with the following language:

                    a.     Except as otherwise expressly provided in the Plan or in the
                           Confirmation Order, or for obligations arising pursuant to the Plan,
                           from and after the Effective Date, all Entities who hold or may
                           hold Claims or Interests and all Entities acting on behalf of such
                           Holders are permanently enjoined from taking any of the following
                           actions against the Debtors, the Estates, the Valve Chapter 11
                           Trustee, the Grinding Chapter 11 Trustee, the Exculpated Parties,
                           the Liquidating Trust, Liquidating Trustee, and the Watson Valve
                           Trustee, except for the Removed Lawsuits and Adversary
                           Proceeding No. 20-3415 filed by Indian Harbor Insurance
                           Company: (1) commencing or continuing in any manner any action
                           or other proceeding of any kind on account of or in connection
                           with or with respect to any Claims or Interests; (2) enforcing,
                           attaching, collecting, or recovering by any manner or means any
                           judgment, award, decree, or order against such Entities on account
                           of or in connection with or with respect to any Claims or Interests;
                           (3) creating, perfecting, or enforcing any encumbrance of any kind
                           against such Entities or the property or Estate of such Entities on
                           account of or in connection with or with respect to any Claims or
                           Interests; (4) asserting any right of setoff, subrogation, or
                           recoupment of any kind against any obligation due from such
                           Entities or against the property or Estate of such Entities on
                           account of or in connection with or with respect to any Claims or
                           Interests unless such Holder has Filed a motion requesting the right
                           to perform such setoff on or before the Confirmation Date;
                           (5) commencing or continuing in any manner any action or other
                           proceeding of any kind on account of or in connection with or with
                           respect to any Claims, Interests and Causes of Action released,
                           exculpated, waived, settled or barred pursuant to this Plan, which
                           for the avoidance of doubt includes the Exculpated Claims set forth


                                            23
10859433v3
      Case 20-30967
      Case 20-30967 Document
                    Document 1025
                             1029 Filed
                                  Filed on
                                        in TXSB  on 12/30/20
                                            12/29/20         Page 24
                                                     in TXSB Page 24 of
                                                                     of 116
                                                                        115




                             herein but expressly does not include the Removed Lawsuits;
                             provided, however, that the injunctions set forth in this paragraph
                             shall not apply to any actions or legal proceedings against
                             the Exculpated Parties based on conduct which is not covered by
                             the Exculpation, and this injunction does not act as a release of
                             the Exculpated Parties of any acts which are not covered by
                             the Exculpation.

        23.   Insurance Provisions.

              (i)     All rights of the Debtors under any insurance policies under which either

                      Debtor is an insured shall automatically become vested in the Liquidating

                      Trust or the Watson Valve Liquidating Trust, as applicable, without the

                      necessity for further approvals or orders.

              (ii)    Each applicable insurer is prohibited and enjoined from denying, refusing,

                      altering or delaying coverage on any basis regarding or related to the

                      proceedings in these Chapter 11 Cases, the provisions of the Plan, any

                      provision of the Plan or this Order, including that the Plan provides for

                      certain treatment or means of liquidation as set forth in the Plan and Plan

                      Supplement documents for any insured Claims or Causes of Action. Each

                      applicable insurer retains all of its right and defenses under its respective

                      policy or policies.

              (iii)   Upon the Effective Date, the Liquidating Trust and the Watson Valve

                      Liquidating Trust shall each assume responsibility for, and be bound by,

                      such obligations of the policyholder under the applicable insurance

                      policies assigned to each Trust.

              (iv)    To the extent any insurance policy is not considered an Executory

                      Contract, such policy shall continue in force in accordance with its terms,



                                               24
10859433v3
      Case 20-30967
      Case 20-30967 Document
                    Document 1025
                             1029 Filed
                                  Filed on
                                        in TXSB  on 12/30/20
                                            12/29/20         Page 25
                                                     in TXSB Page 25 of
                                                                     of 116
                                                                        115




                       such that each of the parties’ contractual, legal, and equitable rights under

                       each such policy shall remain unaltered. In such case, the respective

                       Liquidating Trust or Watson Valve Liquidating Trust, as successor to the

                       policyholder’s interests under the contract, shall assume responsibility for,

                       and be bound by, such obligations of the policyholder under the insurance

                       policies.

        24.    Motions to Remand. Upon entry of this Order, all objections to the motions to

remand the Removed Lawsuits shall be deemed withdrawn. The Court will separately enter an

omnibus order remanding all 126 Removed Lawsuits on the dockets of each adversary

proceeding.

        25.    State Court Proceedings. The Plan requires the filing of the Motion to Transfer

and the Case Management Order, substantially in the form included in the Plan Supplement.

However, this Order should not be interpreted as requiring or compelling any state court to grant

any specific relief form of relief following remand of the Removed Lawsuits.

        26.    Order Effective and Enforceable Immediately.           Notwithstanding Bankruptcy

Rules 6004(h), 6006(d) and 7062, this Order shall be effective and enforceable immediately

upon entry.

        27.    Substantial Consummation.        The Plan shall be deemed to be substantially

consummated on the Effective Date.

        28.    Notice of the Effective Date. On or before fourteen (14) days after occurrence of

each Effective Date, the Plan Agent and the Watson Valve Trustee, respectively, shall file with

the Court and mail or cause to be mailed to all Holders of Claims and Interests a notice that

informs such holders of: (i) entry of this Order; (ii) the occurrence of the Effective Date; (iii) the



                                                 25
10859433v3
      Case 20-30967
      Case 20-30967 Document
                    Document 1025
                             1029 Filed
                                  Filed on
                                        in TXSB  on 12/30/20
                                            12/29/20         Page 26
                                                     in TXSB Page 26 of
                                                                     of 116
                                                                        115




Administrative Claims Bar Date and the bar date for filing rejection damages claims; and (iv)

such other matters as the Plan Agent and the Watson Valve Trustee deem to be appropriate;

provided, however, that failure to file such notice shall not affect the effectiveness of the Plan or

the rights and substantive obligations of any Person hereunder. The notice described herein is

adequate under the particular circumstances and no other or further notice is necessary.

        29.       Order Nonseverable. The provisions of this Order are nonseverable and mutually

dependent.

        30.       Captions and Headings.       Captions and headings herein are inserted for

convenience of reference only and are not intended to be a part of, or to affect the interpretation

of, this Order.

        31.       Final Order. This Confirmation Order is a Final Order.

        32.       Conflict. In the event of any conflict between the Plan, this Order, and the Plan

Supplement documents, including the Liquidating Trust Agreements, the terms of this Order

shall control.

        33.       Governing Law. Unless a rule of law or procedure is supplied by federal law

(including the Bankruptcy Code and Bankruptcy Rules), the laws of the State of Texas, without

giving effect to the principles of conflicts of law thereof, shall govern the construction and

implementation of the Plan and any agreements, documents, and instruments executed in

connection with the Plan (except as otherwise set forth in those agreements, in which case the

governing law of each such agreement shall control); provided, however, that corporate

governance matters relating to the Debtors shall be governed by the laws of their respective

jurisdictions of incorporation.


Signed: December 30,2018
        October 17,  2020

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                                                  26                 Marvin Isgur
10859433v3                                                 United States Bankruptcy Judge
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 27
                                                                 28 of
                                                                    of 115
                                                                       116




                            EXHIBIT A




10859433v3
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 28
                                                                29 of
                                                                   of 115
                                                                      116



                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                          §
In re:                                    §   Chapter 11
                                          §
WATSON GRINDING &                         §   Case No. 20-30967
MANUFACTURING CO.,                        §
                                          §
              Debtor.                     §
                                          §
In re:                                    §   Chapter 11
                                          §
WATSON VALVE SERVICES, INC.,              §   Case No. 20-30968
                                          §
              Debtor.                     §
                                          §

FIRST AMENDED COMBINED DISCLOSURE STATEMENT AND JOINT PLAN OF
LIQUIDATION OF WATSON GRINDING & MANUFACTURING CO. AND WATSON
  VALVE SERVICES, INC. UNDER CHAPTER 11 OF THE BANKRUPTCY CODE
          FILED BY THE JANUARY 24 CLAIMANTS COMMITTEE


PORTER HEDGES LLP
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Aaron J. Power
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          apower@porterhedges.com

Counsel to the January 24 Claimants
Committee

Dated: December 3, 2020




                                      i
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 29
                                                                30 of
                                                                   of 115
                                                                      116



THIS SOLICITATION OF VOTES (THE “SOLICITATION”) IS BEING CONDUCTED
TO OBTAIN SUFFICIENT ACCEPTANCES OF THE PLAN (AS DEFINED HEREIN)
UNDER CHAPTER 11 OF TITLE 11 OF THE UNITED STATES CODE (THE
“BANKRUPTCY CODE”). THIS DISCLOSURE STATEMENT HAS BEEN APPROVED
BY THE BANKRUPTCY COURT AS CONTAINING ADEQUATE INFORMATION
WITHIN THE MEANING OF SECTION 1125(a) OF THE BANKRUPTCY CODE.
FOLLOWING THE SOLICITATION OF VOTES, THE PLAN PROPONENT EXPECTS
TO PROMPTLY SEEK AN ORDER CONFIRMING THE PLAN.

             THE VOTING DEADLINE TO ACCEPT OR REJECT THE
             PLAN IS DECEMBER 28, 2020 AT 5:00 P.M. CENTRAL
             STANDARD TIME, UNLESS EXTENDED BY THE PLAN
             PROPONENT. THE RECORD DATE FOR DETERMINING
             WHICH HOLDERS OF CLAIMS OR INTERESTS MAY
             VOTE ON THE PLAN IS DECEMBER 18, 2020 (THE
             “VOTING RECORD DATE”).

HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE
CONTENTS OF THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL,
BUSINESS, FINANCIAL, OR TAX ADVICE AND SHOULD CONSULT WITH THEIR
OWN ADVISORS BEFORE VOTING ON THE PLAN.

THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE
AS OF THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF
THE PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THE
SUMMARIES IN THIS DISCLOSURE STATEMENT.

THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED
SOLELY FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN OR
OBJECTING TO CONFIRMATION. NOTHING IN THIS DISCLOSURE STATEMENT
MAY BE USED BY ANY PARTY FOR ANY OTHER PURPOSE.

IN PREPARING THIS DISCLOSURE STATEMENT, THE PLAN PROPONENT
RELIED ON FINANCIAL DATA DERIVED FROM THE DEBTORS’ SCHEDULES
AND STATEMENT OF FINANCIAL AFFAIRS, MONTHLY OPERATING REPORTS,
BOOKS AND RECORDS, AND ON VARIOUS ASSUMPTIONS REGARDING THE
DEBTORS’ ASSETS AND LIABILITIES. WHILE THE PLAN PROPONENT
BELIEVES THAT SUCH FINANCIAL INFORMATION FAIRLY REFLECTS THE
FINANCIAL CONDITION OF THE DEBTORS AS OF THE DATE HEREOF AND
THAT THE ASSUMPTIONS REGARDING FUTURE EVENTS REFLECT
REASONABLE    BUSINESS   JUDGMENTS,   NO    REPRESENTATIONS  OR
WARRANTIES ARE MADE AS TO THE ACCURACY OF THE FINANCIAL
INFORMATION CONTAINED HEREIN OR ASSUMPTIONS REGARDING THE
DEBTORS’ BUSINESSES, ASSETS AND LIABILITIES. THE PLAN PROPONENT
EXPRESSLY CAUTIONS READERS NOT TO PLACE UNDUE RELIANCE ON ANY
FORWARD LOOKING STATEMENTS CONTAINED HEREIN.


                                      ii
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 30
                                                                31 of
                                                                   of 115
                                                                      116



                                             TABLE OF CONTENTS

                                                                                                                                  Page

                  DEFINED TERMS, RULES OF INTERPRETATION,
                  COMPUTATION OF TIME AND GOVERNING LAW ................................... 9

             A.   Defined Terms ..................................................................................................... 9
             B.   Rules of Interpretation ....................................................................................... 20
             C.   Computation of Time ......................................................................................... 21
             D.   Governing Law .................................................................................................. 21
             E.   Reference to Monetary Figures .......................................................................... 21
             F.   Controlling Document ....................................................................................... 21

                  BACKGROUND ............................................................................................... 22

             A.   Overview of the Debtors’ Operations Prior to the Petition Date ....................... 22
             B.   The Debtors’ Prepetition Capital Structure........................................................ 22
             C.   The Explosion Leading to the Commencement of the Chapter 11 Cases.......... 22
             D.   The Debtors’ Insurance Policies ........................................................................ 23
             E.   Material Events During the Chapter 11 Cases ................................................... 23

                  TAX CONSEQUENCES ................................................................................... 26

             A.   Introduction. ....................................................................................................... 26
             B.   Tax Consequences to the Debtors and Equity Interest Holders. ........................ 27
             C.   Tax Consequences to Creditors. ........................................................................ 27
             D.   Information Reporting and Backup Withholding. ............................................. 28
             E.   Importance of Obtaining Professional Assistance. ............................................ 28

                  CERTAIN RISK FACTORS TO BE CONSIDERED ...................................... 29

             A.   Certain Bankruptcy Law Considerations ........................................................... 29
             B.   The Plan Proponent could withdraw the Plan .................................................... 30
             C.   The Plan Proponent has no duty to update......................................................... 30
             D.   No representations outside this disclosure statement are authorized ................. 30
             E.   No legal or tax advice is provided by this disclosure statement ........................ 31
             F.   No admission made ............................................................................................ 31

                  VOTING PROCEDURES AND REQUIREMENTS ....................................... 31

             A.   The Plan Must Satisfy the Confirmation Requirements for Separate
                  Plans for Watson Grinding and Watson Valve .................................................. 31
             B.   Parties Entitled To Vote ..................................................................................... 31
             C.   Voting Deadline ................................................................................................. 32
             D.   Voting Procedures .............................................................................................. 33
             E.   Waivers of Defects, Irregularities, etc. .............................................................. 34


                                                                i
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 31
                                                                32 of
                                                                   of 115
                                                                      116



                  Confirmation of the Plan.................................................................................... 34

             A.   Confirmation Hearing ........................................................................................ 34
             B.   Requirements for Confirmation of the Plan ....................................................... 34

                  ALTERNATIVES TO CONFIRMATION AND CONSUMMATION
                  OF THE PLAN .................................................................................................. 37

             A.   Alternative Plan ................................................................................................. 37
             B.   Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law .................. 37

                  ADMINISTRATIVE CLAIMS and PRIORITY CLAIMS ............................... 38

             A.   Administrative Claims ....................................................................................... 38
             B.   Professional Compensation ................................................................................ 39
             C.   Priority Tax Claims ............................................................................................ 39
             D.   Statutory Fees..................................................................................................... 39

                  CLASSIFICATION AND TREATMENT OF CLAIMS AND
                  INTERESTS ...................................................................................................... 40

             A.   Introduction ........................................................................................................ 40
             B.   Summary of Classification ................................................................................. 40
             C.   Treatment of Claims Against and Interests ........................................................ 41
             D.   Provision Governing Unimpaired Claims .......................................................... 46

                  ACCEPTANCE REQUIREMENTS ................................................................. 47

             A.   Acceptance or Rejection of this Plan ................................................................. 47
             B.   Confirmation of This Plan Pursuant to Section 1129(b) of the
                  Bankruptcy Code ............................................................................................... 47
             C.   Controversy Concerning Impairment ................................................................ 47

                  MEANS FOR IMPLEMENTATION OF THE PLAN...................................... 48

             A.   Liquidation of January 24 Claims Following Remand ...................................... 48
             B.   Transactions Effective as of the Effective Date ................................................. 51
             C.   The Liquidating Trust ........................................................................................ 51
             D.   The Liquidating Trustee ..................................................................................... 51
             E.   The Watson Valve Liquidating Trust ................................................................ 52
             F.   The Watson Valve Trustee................................................................................. 52
             G.   Federal Income Tax Treatment of the Liquidating Trust for the
                  Liquidating Trust Assets; Tax Reporting and Tax Payment Obligations .......... 53
             H.   Authority to Pursue, Settle, or Abandon Retained Causes of Action ................ 55
             I.   Filing of Monthly and Quarterly Reports .......................................................... 56
             J.   Directors and Officers of the Debtors ................................................................ 56
             K.   Books and Records ............................................................................................ 57
             L.   Effectuating Documents and Further Transactions............................................ 57

                                                                ii
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 32
                                                                33 of
                                                                   of 115
                                                                      116



             M.   Employee Agreements ....................................................................................... 57
             N.   Exemption from Certain Taxes and Fees ........................................................... 57
             O.   Duration of the Liquidating Trust and Watson Valve Liquidating Trust .......... 58
             P.   Wind Down of Liquidating Trust and Watson Valve Liquidating Trust ........... 58

                  TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
                  LEASES ............................................................................................................. 58

             A.   Treatment of Executory Contracts and Unexpired Leases (Other than
                  Insurance Policies) ............................................................................................. 58
             B.   Assignment of Insurance Policies to the Liquidating Trust ............................... 59
             C.   Preexisting Obligations to the Debtors Under Executory Contracts and
                  Unexpired Leases ............................................................................................... 59
             D.   Rejection Damages Claim.................................................................................. 59
             E.   Reservation of Rights ......................................................................................... 59

                  PROVISIONS GOVERNING DISTRIBUTIONS ............................................ 59

             A.   Timing and Calculation of Amounts to Be Distributed; Entitlement to
                  Distributions....................................................................................................... 59
             B.   Liquidating Trustee and Watson Valve Trustee to make Distributions ............. 61
             C.   No De Minimis Distributions Required ............................................................. 61
             D.   Distributions on Account of Claims Allowed After the Effective Date ............ 61
             E.   Delivery of Distributions and Undeliverable or Unclaimed Distributions ........ 62
             F.   Compliance with Tax Requirements/Allocations .............................................. 63
             G.   Claims Paid or Payable by Third Parties ........................................................... 63
             H.   Claims Already Satisfied ................................................................................... 64
             I.   Allocation of Plan Distributions between Principal and Interest ....................... 64
             J.   No Postpetition Interest on Claims .................................................................... 64

                  PROCEDURES FOR RESOLVING CONTINGENT,
                  UNLIQUIDATED, AND DISPUTED CLAIMS .............................................. 65

             A.   Allowance and Disallowance of Claims ............................................................ 65
             B.   Prosecution of Objections to Claims.................................................................. 65
             C.   Deadline to Object to Claims ............................................................................. 66
             D.   Estimation of Claims.......................................................................................... 66
             E.   Amendments to Claims ...................................................................................... 67
             F.   Distributions After Allowance ........................................................................... 67

                  CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN
                  AND THE EFFECTIVE DATE ........................................................................ 67

             A.   Conditions Precedent to Confirmation............................................................... 67
             B.   Conditions Precedent to the Effective Date ....................................................... 68
             C.   Waiver of Conditions ......................................................................................... 68
             D.   Effect of Nonoccurrence of Conditions ............................................................. 68


                                                               iii
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 33
                                                                34 of
                                                                   of 115
                                                                      116



                  SETTLEMENT, RELEASE, INJUNCTION AND RELATED
                  PROVISIONS .................................................................................................... 69

             A.   Compromise and Settlement of Claims, Interests, and Controversies ............... 69
             B.   Exculpation ........................................................................................................ 69
             C.   Injunction ........................................................................................................... 70
             D.   Term of Injunctions or Stays.............................................................................. 71
             E.   Setoffs ................................................................................................................ 71
             F.   Recoupment ....................................................................................................... 71
             G.   Insurance Neutrality ........................................................................................... 71

                      BINDING NATURE OF PLAN ................................................................... 72

                       RETENTION OF JURISDICTION.............................................................. 72

                  MODIFICATION, REVOCATION OR WITHDRAWAL OF THE
                  PLAN ................................................................................................................. 74

             A.   Modifications and Amendments ........................................................................ 74
             B.   Effect of Confirmation on Modifications .......................................................... 74
             C.   Revocation or Withdrawal of the Plan ............................................................... 74
             D.   Substantial Consummation of the Plan .............................................................. 75

                  MISCELLANEOUS PROVISIONS ................................................................. 75

             A.   Successors and Assigns...................................................................................... 75
             B.   Reservation of Rights ......................................................................................... 75
             C.   Nonseverability of Plan Provisions.................................................................... 75
             D.   Return of Security Deposits ............................................................................... 75
             E.   Entire Agreement ............................................................................................... 76
             F.   Exhibits .............................................................................................................. 76
             G.   Votes Solicited in Good Faith ............................................................................ 76
             H.   Filing of Additional Documents ........................................................................ 76




                                                                 iv
10834324v7
        Case
        Case 20-30967
             20-30967 Document
                      Document 1029
                               1025 Filed
                                    Filed in
                                          onTXSB  on 12/30/20
                                             12/29/20 in TXSB Page
                                                              Page 34
                                                                   35 of
                                                                      of 115
                                                                         116



                                                INTRODUCTION

        The January 24 Claimants’ Committee (the “Committee”), an official committee
appointed in the Watson Grinding Chapter 11 Case to represent the interests of parties holding
Claims arising out of the January 24, 2020 explosion at the Watson Grinding facility, proposes
the following disclosure statement and joint plan of liquidation under Chapter 11 of the
Bankruptcy Code for Watson Grinding and Watson Valve. Capitalized terms used in the Plan
shall have the meanings ascribed to such terms in Article I hereof.

       Although the Plan is referred to in the singular and is being solicited jointly by the Plan
Proponent, the Plan constitutes two separate plans for Watson Grinding and Watson Valve. The
Plan Proponent will satisfy the burden of establishing the requirements for confirmation of a Plan
required under section 1129 of the Bankruptcy Code for each Debtor based on the classification
of Claims against and Interests in each Debtor.

        Chapter 11 is the chapter of the Bankruptcy Code primarily used for business
reorganization. The fundamental purpose of a chapter 11 case is to formulate a plan to restructure
a debtor’s finances to maximize recoveries to its creditors. With this purpose in mind, businesses
sometimes use chapter 11 as a means to conduct asset sales and other forms of liquidation.
Whether the aim is reorganization or liquidation, a chapter 11 plan sets forth and governs the
treatment and rights to be afforded to creditors and stockholders with respect to their claims
against and equity interests in a debtor’s bankruptcy estate.

        Following the Effective Date, Watson Grinding’s assets will be transferred to the
Liquidating Trust, and Watson Grinding will cease to operate in any capacity. The Liquidating
Trust will be managed by the Liquidating Trustee following the Effective Date. The Liquidating
Trustee will be responsible for taking the necessary and appropriate actions to liquidate Watson
Grinding’s remaining assets (including insurance claims arising out of the Explosion), object to
Claims against Watson Grinding (other than Claims which are part of the Removed Lawsuits),
make all distributions to Classes 1 through 7, and to proceed with an orderly, expeditious, and
efficient wind-down of the Watson Grinding Estate in accordance with the terms of the Plan.

       Following the Effective Date, all of Watson Valve’s assets, including the Valve Claims
and Retained Causes of Action, will be transferred to the Watson Valve Liquidating Trust, and
Watson Valve will cease to operate in any capacity. The Watson Valve Liquidating Trust will be
managed by the Watson Valve Trustee. The Watson Valve Trustee will be responsible for taking
the necessary and appropriate actions to liquidate Watson Valve’s remaining assets (including
the Valve Claims and Retained Causes of Action), object to Claims against Watson Valve1 (other
than Claims which are part of the Removed Lawsuits), make all distributions to Classes 8
through 14, and to proceed with an orderly, expeditious, and efficient wind-down of the Watson
Valve Estate in accordance with the terms of the Plan.

      On October 22, 2020, the Court began a hearing on the motions to remand filed in the
Removed Lawsuits. During the hearing, the parties agreed to participate in mediation regarding
the motions to remand and the terms of a plan of liquidation. On November 10, 2020, the

1
    John Watson will have concurrent authority to object to claims against Watson Valve.

                                                           1
10834324v7
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 35
                                                                 36 of
                                                                    of 115
                                                                       116



Honorable David Jones, Chief Bankruptcy Judge for the United States Bankruptcy Court for the
Southern District of Texas, conducted a mediation with the major constituents in this case. No
resolution was achieved at the mediation, but the parties and Judge Jones continued discussion
for the next two weeks. The terms of this Plan represent a compromise between the Committee,
the Valve Trustee, the Grinding Trustee, the Debtor’s equity holders, and Western and
Matheson.2 The Committee is the sole proponent of this Plan, but as part of the compromise
each of the Valve Trustee, the Grinding Trustee, the Debtor’s equity holders and Western and
Matheson have agreed to support confirmation of this Plan.

        If the Plan is confirmed, all objections to the motions to remand will be withdrawn and
the Removed Lawsuits will be remanded. Following remand, the parties will file the Motion to
Transfer all of the Removed Lawsuits to the MDL Panel with a recommendation of three
potential judges which were negotiated and agreed upon as part of the mediation and subsequent
settlement discussions. The members of the Oversight Committee will also seek the appointment
of a special master in the consolidated state court proceeding who will be responsible for
determining the Allowed amount of consenting January 24 Claims which are not liquidated to a
final judgment.

        The Plan Proponent believes that confirmation and consummation of the Plan, is in the
best interests of all Holders of Claims and Interests.

     THE PLAN PROPONENT RECOMMENDS THAT ALL HOLDERS OF CLAIMS
ENTITLED TO VOTE SHOULD VOTE TO ACCEPT THE PLAN.

        Under the Bankruptcy Code, only Holders of Claims in certain “impaired” Classes are
entitled to vote on the Plan. Under section 1124 of the Bankruptcy Code, a class of claims or
interests is deemed to be “impaired” under the Plan unless (a) the Plan leaves unaltered the legal,
equitable, and contractual rights to which such claim or interest entitles the holder thereof or (b)
notwithstanding any legal right to an accelerated payment of such claim or interest, the Plan,
among other things, cures all existing defaults (other than defaults resulting from the occurrence
of events of bankruptcy) and reinstates the maturity of such claim or interest as it existed before
the default.

        The following table summarizes (a) the treatment of Claims and Interests under the Plan,
(b) which Classes are impaired by the Plan, (c) which Classes are entitled to vote on the Plan,
and (d) the estimated recoveries for holders of Claims and Interests. The table is qualified in its
entirety by reference to the full text of the Plan.




2
 Western International Gas & Cylinders, Inc. and Matheson Tri-Gas, Inc. are non-debtor defendants in the
Removed Lawsuits.

                                                        2
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 36
                                                                37 of
                                                                   of 115
                                                                      116



      SUMMARY OF TREATMENT OF CLAIMS AGAINST AND INTERESTS IN
                        WATSON GRINDING

      Claim or                                               Impaired or Est. Total      Est.
       Equity
Class Interest                   Treatment                   Unimpaired Claims in      Recovery
                                                                           Class
     1   Secured    Except to the extent that a Holder       Unimpaired $27,000.00     100%
          Claims    of an Allowed Secured Claim
          against   against Watson Grinding and the          (Deemed to
         Watson     Liquidating Trustee agree to a less      accept; not
         Grinding   favorable treatment, in full and         entitled to
                    final satisfaction, compromise,          vote)
                    settlement, and release of and in
                    exchange for each Allowed
                    Secured Claim, each such Holder
                    shall receive payment from the
                    Liquidating Trust Cash on the
                    Initial Distribution Date in an
                    amount equal to the proceeds of
                    the collateral securing such
                    Holder’s Allowed Secured Claim
                    after satisfaction in full of all
                    superior liens up to the amount of
                    the Allowed Secured Claim plus
                    interest at the greater of the rate
                    provided by applicable law or the
                    Plan Rate, up to the amount of the
                    Allowed Secured Claim.
     2     Other    Except to the extent that a Holder of    Unimpaired $261,163.55    100%
         Priority   an Allowed Other Priority Claim
          Claims    against Watson Grinding and the          (Deemed to
          against   Liquidating Trustee agree to a less      accept; not
         Watson     favorable treatment, in full and final   entitled to
         Grinding   satisfaction, compromise,                vote)
                    settlement, and release of and in
                    exchange for each Allowed Other
                    Priority Claim, each such Holder
                    shall receive payment from the
                    Liquidating Trust Cash on the Initial
                    Distribution Date equal to the
                    unpaid portion of the Allowed Other
                    Priority Claim.

     3 January 24   Each Holder of an Allowed January Impaired             $250        1% -
         Claims     24 Claim shall receive their Pro                       million -   22.8%
         against    Rata distribution of (i) the Grinding (Entitled to     $500        (depending
         Watson     Insurance Recovery, and (ii) the      vote)            million     on
                    Liquidating Trust Cash remaining                                   insurance
                    on the Final Distribution Date;                                    recovery
                    provided, however, that any January                                and Final
                    24 Claim that was asserted against                                 Allowed
                    both Watson Grinding and Watson                                    amount of

                                                 3
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 37
                                                                38 of
                                                                   of 115
                                                                      116




      Claim or                                                Impaired or Est. Total        Est.
       Equity
Class Interest                    Treatment                   Unimpaired Claims in        Recovery
                                                                            Class
         Grinding Valve shall be permitted only a                                         Class 3
                  single recovery based on the                                            Claims)
                  Allowed amount of such January 24
                  Claim.
                     For purposes of calculating the Pro
                     Rata distribution of the Liquidating
                     Trust Cash on the Final Distribution
                     Date, the Allowed Amount of the
                     Class 3 January 24 Claims shall first
                     be reduced by the amount of the
                     Grinding Insurance Recovery and
                     Valve Insurance Recovery received
                     by January 24 Claimants.

     4    Minor      In full and final satisfaction,      Impaired           $500,000     40% to
         Damage      compromise, settlement, and release                                  100%
          Claims     of and in exchange for each          (Entitled to                    (depending
          against    Allowed Minor Damage Claim,          vote)                           on amount
         Watson      each Holder of an Allowed Minor                                      of
         Grinding    Damage Claim against Watson                                          individual
                     Grinding will receive payment from                                   claim)
                     the Liquidating Trust Cash equal to
                     the lesser of (a) the face amount of
                     such Claim, or (b) $2,000.00;
                     provided, however, that any Minor
                     Damage Claim that was asserted
                     against both Watson Grinding and
                     Watson Valve shall be permitted
                     only a single recovery based on the
                     Allowed amount of their Minor
                     Damage Claim.

     5    General    The Holders of Class 5 Claims,           Impaired       $4,811,000   100%
         Unsecured   including the Allowed Matheson
          Claims     Contractual Indemnity Claim but          (Entitled to
          against    excluding the General Unsecured          vote)
          Watson     Claim asserted by Valve against
         Grinding    Grinding, shall be paid, in full,
                     without interest, on the Initial
                     Distribution Date.
                     If the Holder of the Allowed
                     Matheson Contractual Indemnity
                     Claim obtains a Final judgment
                     from a court of competent
                     jurisdiction declaring that such
                     Claim entitles it to directly assert a
                     right to the Grinding Insurance
                     Recovery, then the Holder of such


                                                    4
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 38
                                                                39 of
                                                                   of 115
                                                                      116




      Claim or                                            Impaired or Est. Total     Est.
       Equity
Class Interest                  Treatment                 Unimpaired Claims in     Recovery
                                                                        Class
                   claim shall additionally receive a
                   Pro Rata share, with Class 3, of the
                   Grinding Insurance Recovery;
                   provided, further, that any such
                   Claim that was asserted against both
                   Grinding and Valve shall be
                   permitted only a single recovery
                   based on the Allowed amount of
                   such Claim.

     6 Indemnity   Each Holder of an Indemnity Claim Impaired          Unknown     1% to
         Claims    against Watson Grinding, other than                             100%
         against   the Allowed Matheson Contractual (Entitled to
        Watson     Indemnity Claim, will receive a Pro vote)
        Grinding   Rata share, along with Class 3
                   Claimants, of the Liquidating Trust
                   Cash remaining on the Final
                   Distribution Date; provided that if a
                   Holder of an Indemnity Claim
                   against Watson Grinding obtains a
                   Final judgment from a court of
                   competent jurisdiction declaring
                   that its Indemnity Claim entitles it
                   to directly assert a right to the
                   Grinding Insurance Recovery prior
                   to the Final Distribution Date, then
                   the Holder of such an Indemnity
                   Claim shall additionally receive a
                   Pro Rata share, with Class 3, of the
                   Grinding Insurance Recovery;
                   provided, further, that any Grinding
                   Indemnity Claim that was asserted
                   against both Grinding and Valve
                   shall be permitted only a single
                   recovery based on the Allowed
                   amount of such Indemnity Claim.
                   Matheson shall have an allowed
                   Class 6 Claim in the amount of
                   $5,000,000 solely for voting
                   purposes.
                   For all other purposes (including
                   distribution), Matheson’s Class 6
                   Indemnity Claims, as well as all
                   other Indemnity Claims, shall be
                   liquidated in the remanded state
                   court proceeding. However,
                   Matheson shall receive no further
                   distribution on account of its Class


                                                5
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 39
                                                                40 of
                                                                   of 115
                                                                      116




      Claim or                                             Impaired or Est. Total      Est.
       Equity
Class Interest                   Treatment                 Unimpaired Claims in      Recovery
                                                                         Class
                    6 Claim from Liquidating Trust
                    Cash, and its only source of
                    recovery on its Class 6 Claim shall
                    be against the Grinding Insurance
                    Recovery.

     7 Interests in Following the payment in full of all Impaired        n/a         n/a
         Watson Allowed Claims in Classes 1, 2, 3,
        Grinding 4, 5, and 6, the Holders of Interests (Entitled to
                    in Watson Grinding will receive      vote)
                    their Pro Rata share of any
                    remaining Liquidating Trust Cash
                    on the Final Distribution Date.


      SUMMARY OF TREATMENT OF CLAIMS AGAINST AND INTERESTS IN
                         WATSON VALVE

     8   Secured     Except to the extent that a Holder    Unimpaired    $8,165.97   100%
         Claims      of an Allowed Secured Claim
         against     against Watson Valve and the          (Deemed to
         Watson      Watson Valve Trustee agree to a       accept; not
          Valve      less favorable treatment, in full     entitled to
                     and final satisfaction,               vote)
                     compromise, settlement, and
                     release of and in exchange for
                     each Allowed Secured Claim,
                     each such Holder shall receive a
                     payment from the Valve Cash on
                     the Initial Distribution Date in an
                     amount equal to the proceeds of
                     the collateral securing such
                     Holder’s Allowed Secured
                     Claim, plus interest at the greater
                     of the rate provided by
                     applicable law or the Plan Rate,
                     up to the amount of the Allowed
                     Secured Claim.
     9    Other      Except to the extent that a Holder    Unimpaired    $50,000     100%
         Priority    of an Allowed Other Priority
         Claims      Claim and the Watson Valve            (Deemed to
         against     Trustee agree to a less favorable     accept; not
         Watson      treatment, in full and final          entitled to
          Valve      satisfaction, compromise,             vote)
                     settlement, and release of and in
                     exchange for each Allowed Other
                     Priority Claim, each such Holder
                     shall receive a payment from the
                     Valve Cash on the Initial

                                                 6
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 40
                                                                41 of
                                                                   of 115
                                                                      116



                    Distribution Date equal to the
                    unpaid portion of the Allowed
                    Other Priority Claim.

    10 January 24   Each Holder of an Allowed              Impaired       $250        1% - 22.8%
         Claims     January 24 Claim shall receive                        million -   (depending
         against    their Pro Rata distribution of (i) the (Entitled to   $500        on
         Watson     Valve Insurance Recovery, and (ii) vote)              million     insurance
          Valve     the proceeds of any Valve Claims                                  recovery
                    and Retained Causes of Action;                                    and
                    provided, however, that any                                       liquidated
                    January 24 Claim that was asserted                                amount of
                    against both Watson Grinding and                                  claims)
                    Watson Valve shall be permitted
                    only a single recovery based on the
                    Allowed amount of such January
                    24 Claim.
                    If there is a Final judicial
                    determination (including the
                    exhaustion of all appellate rights)
                    that Watson Valve is not liable for
                    the Explosion as to any Claimant,
                    there will be no Allowed January
                    24 Claim as to that Claimant and
                    that Claimant will receive no
                    further distribution on account of
                    their Class 10 Claim.
                    For purposes of calculating the Pro
                    Rata distribution of the Valve Cash
                    on the Final Distribution Date, the
                    Allowed Amount of the Class 10
                    January 24 Claims shall first be
                    reduced by the amount of the
                    Valve Insurance Recovery and
                    Grinding Insurance Recovery
                    received by January 24 Claimants.

    11    Minor     In full and final satisfaction,     Impaired          $500,000    40% to
         Damage     compromise, settlement, and                                       100%
         Claims     release of and in exchange for each (Entitled to                  (depending
         against    Allowed Minor Damage Claim,         vote)                         on amount
         Watson     each Holder of an Allowed Minor                                   of claim)
          Valve     Damage Claim against Watson
                    Valve will receive the same
                    treatment as Class 4 Minor
                    Damage Claims against Watson
                    Grinding which will be paid from
                    Liquidating Trust Cash.




                                                7
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 41
                                                                42 of
                                                                   of 115
                                                                      116



    12    General    The Holders of Class 12 General       Impaired          $1,318,010   100%
         Unsecured   Unsecured Claims against Watson
          Claims     Valve shall be paid, in full, without (Entitled to
          against    interest, on the Initial Distribution vote)
          Watson     Date from Valve Cash.
           Valve




    13 Indemnity     Each Holder of an Indemnity              Impaired       Unknown      1% to
         Claims      Claim against Watson Valve shall                                     100%
         against     receive a Pro Rata share of the          (Entitled to
        Watson       proceeds of any Valve Claims and         vote)
          Valve      Retained Causes of Action on the
                     Final Distribution Date; provided
                     that if a Holder of an Indemnity
                     Claim against Watson Valve
                     obtains a Final judgment from a
                     court of competent jurisdiction
                     declaring that its Indemnity Claim
                     entitles it to directly assert a right
                     to the Valve Insurance Recovery
                     prior to the Final Distribution
                     Date, then the Holder of such an
                     Indemnity Claim shall additionally
                     receive a Pro Rata share, with
                     Class 10 Claim, of the Valve
                     Insurance Recovery; provided,
                     further, that any Indemnity Claim
                     asserted against both Grinding and
                     Valve shall be permitted only a
                     single recovery based on the
                     Allowed amount of such
                     Indemnity Claim.
                     Matheson shall have an allowed
                     Class 13 Claim in the amount of
                     $5,000,000 solely for voting
                     purposes.
                     For all other purposes (including
                     distribution), Matheson’s Class 13
                     Indemnity Claim, as well as all
                     other Indemnity Claims, shall be
                     liquidated in the remanded state
                     court proceeding. However,
                     Matheson shall receive no further
                     distribution on account of its Class
                     13 Claim from the proceeds of any
                     Valve Claims and Retained Causes
                     of Action, and its only source of
                     recovery on its Class 13 Claim
                     shall be solely against the Valve


                                                  8
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 42
                                                                43 of
                                                                   of 115
                                                                      116



                      Insurance Recovery.
                      Matheson shall have an allowed
                      Class 13 Claim in the amount of
                      $5,000,000 solely for voting
                      purposes.

    14 Interests in After payment of, or reserves        Impaired       n/a         n/a
         Watson established for, Allowed Claims in
          Valve     Classes 8, 9, 11 and 12, and         (Entitled to
                    Watson Valve’s funding of the        vote)
                    Valve Liquidating Trust and the
                    $1,000,000 transfer to the Grinding
                    Liquidating Trust, the remaining
                    Valve Cash shall be distributed to
                    the holders of Interests in Watson
                    Valve on a Pro Rata basis based on
                    ownership percentages on the
                    Effective Date. In the event
                    Classes 10 and 13 are fully
                    satisfied or there are no Allowed
                    Claims in Classes 10 and 13,
                    remaining proceeds from Valve
                    Claims and Retained Causes of
                    Action (if any) shall be distributed
                    to the holders of Interests in
                    Watson Valve on a Pro Rata basis
                    based on ownership percentages on
                    the Effective Date.



ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THIS PLAN ARE
ENCOURAGED TO READ THIS PLAN AND DISCLOSURE STATEMENT
CAREFULLY AND IN THEIR ENTIRETY BEFORE VOTING ON THIS PLAN.


                    DEFINED TERMS, RULES OF INTERPRETATION,
                    COMPUTATION OF TIME AND GOVERNING LAW

     A.        Defined Terms

          The following terms shall have the following meanings when used in capitalized form
herein:

        1.      “Administrative Claim” means a Claim for costs and expenses of administration
pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the business of the Debtors;
(b) compensation for legal, financial advisory, accounting, and other services and reimbursement
of expenses Allowed pursuant to sections 328, 330(a), or 331 of the Bankruptcy Code or
otherwise for the period commencing on the Petition Date and through the Effective Date; (c) all

                                                9
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 43
                                                                44 of
                                                                   of 115
                                                                      116



fees and charges assessed against the Estates under section 1930, chapter 123, of the Judicial
Code; and (d) all requests for compensation or expense reimbursement for making a substantial
contribution in the Chapter 11 Cases pursuant to sections 503(b)(3), (4), and (5) of the
Bankruptcy Code to the extent such request is granted by the Bankruptcy Court. With respect to
Administrative Claims that are allowed pursuant to sections 503(b)(1), 503(b)(2), 503(b)(3),
503(b)(4), 503(b)(5), 503(b)(6), 503(b)(7), 503(b)(8) or 503(b)(9), there shall be an
Administrative Claim against the Debtors only to the extent of and only after the entry of a Final
Order approving such Administrative Claim following the filing of a motion or application prior
to the Administrative Claims Bar Date.

        2.     “Administrative Claims Bar Date” means (other than for (i) quarterly U.S. Trustee
fees and (ii) Professional Fee Claims), (a) for claims against Watson Grinding arising prior to
June 4, 2020, September 11, 2020, and (b) for claims against Watson Grinding arising on or after
June 4, 2020, and claims against Watson Valve at any time, the 30th day after the Effective Date
unless otherwise established by a Final Order.

        3.     “Allowed” means, with reference to any Claim or Interest: (a) any Claim or
Interest as to which no objection to allowance has been interposed (either in the Bankruptcy
Court or in the ordinary course of business) on or before the applicable period of limitation fixed
by the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or as to which any
objection has been determined by a Final Order, either before or after the Effective Date, to the
extent such objection is determined in favor of the respective Holder; (b) any Claim or Interest as
to which the liability of the Debtors and the amount thereof are determined by a Final Order of a
court of competent jurisdiction other than the Bankruptcy Court, either before or after the
Effective Date; (c) any Claim or Interest expressly deemed Allowed by the Plan; or (d) any
Claim or Interest affirmatively Allowed by the Debtors, or following the Effective Date, by the
Liquidating Trustee or Watson Valve Trustee, as applicable.

       4.     “Allowed Matheson Contractual Indemnity Claim” means the Claim asserted by
Matheson against Watson Grinding for contractual indemnity pursuant to a June 22, 2017
Product Supply Agreement with Watson Grinding in Proof of Claim No. 348, in the Allowed
amount of $1,000,000.00 for distribution purposes; provided that the Allowed Matheson
Contractual Indemnity Claim shall not include any other Claims by Matheson (including any
non-contractual Indemnity Claims which shall be classified as Class 6 and 13 Claims, against
Watson Grinding and Watson Valve, respectively, and temporarily allowed in the amount of
$5,000,000 solely for the purposes of voting on this Plan).

       5.      “Avoidance Actions” means any and all actual or potential claims and Causes of
Action to avoid a transfer of an interest in property or an obligation incurred by the Debtors, the
Debtors in Possession, the Estates, or other appropriate party arising under Chapter 5 of the
Bankruptcy Code, including sections 502, 510, 542, 544, 545, or 547 through 553, or under
similar or related state or federal statutes and/or common law, including without limitation,
fraudulent transfer laws, and including without limitation, Claims or Causes of Action to recover
preferences and fraudulent transfers from any entity that received cash or other property from the
Debtors as identified in the Plan, Disclosure Statement, any schedule or exhibit thereto, the
Debtors’ Statement of Financial Affairs or as identified in the Debtors’ accounts payable system.


                                                10
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 44
                                                                45 of
                                                                   of 115
                                                                      116



        6.      “Ballots” means the ballots approved by the Bankruptcy Court in the Disclosure
Statement Order upon which certain Holders of Impaired Claims entitled to vote shall, among
other things, indicate their acceptance or rejection of the Plan in accordance with the Plan and
the procedures governing the solicitation process, and which must be actually received by the
Committee on or before the Voting Deadline.

        7.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101 et
seq., as amended, and as applicable to the Chapter 11 Cases.

        8.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas, having jurisdiction over the Chapter 11 Cases and, to the extent of the
withdrawal of any reference under section 157 of title 28 of the United States Code, the United
States District Court for the Southern District of Texas.

       9.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
applicable to the Chapter 11 Cases, promulgated by the United States Supreme Court under 28
U.S.C. § 2075 and the general, local, and chambers rules of the Bankruptcy Court, as each may
be amended from time to time.

        10.    “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

        11.    “Cash” means the legal tender of the United States of America or the equivalent
thereof.

        12.     “Causes of Action” means all actions, causes of action (including Avoidance
Actions), Claims, claims for relief, rights, suits, debts, dues, damages, reckonings, accounts,
rights to legal remedies, rights to equitable remedies, rights to payment, controversies,
agreements, covenants, promises, judgments of every type, responsibilities, disputes, assertions,
allegations, proceedings, remedies, demands, setoffs, defenses, recoupments, cross claims,
counterclaims, third-party claims, indemnity claims, contribution claims, or any other claims,
disputed or undisputed, suspected or unsuspected, foreseen or unforeseen, direct or indirect,
choate or inchoate, existing or hereafter arising, in law, equity, or otherwise, based in whole or in
part upon any act or omission or other event occurring prior to the Petition Date or during the
course of the Chapter 11 Cases, including through the Effective Date and also includes, without
limitation: (a) any right of setoff, counterclaim, or recoupment and any claim on contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to Claims or Interests;
(c) any claim pursuant to section 362 of the Bankruptcy Code; (d) any claim or defense,
including fraud, mistake, duress, and usury and any other defenses set forth in section 558 of the
Bankruptcy Code; and (e) any state or federal law fraudulent transfer claim.

       13.   “Chapter 11 Case” means, as applicable, the chapter 11 case pending for Watson
Grinding or Watson Valve in the Bankruptcy Court.

      14.    “Chapter 11 Cases” means, collectively, Watson Grinding’s Chapter 11 Case and
Watson Valve’s Chapter 11 Case.



                                                 11
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 45
                                                                46 of
                                                                   of 115
                                                                      116



      15.    “Claim” means any claim against the Debtors as defined in section 101(5) of the
Bankruptcy Code.

      16.     “Claims Bar Date” means July 8, 2020 for all non-governmental units and
September 11, 2020 for governmental units.

       17.    “Class” means a category of Holders of Claims or Interests as set forth in Article
IX hereof pursuant to sections 1122(a) and 1123(a)(1) of the Bankruptcy Code.

       18.    “CMO” means the case management order, in form and substance acceptable to
Matheson, the Committee, the Watson Valve Chapter 11 Trustee, and the Watson Grinding
Chapter 11 Trustee to be included in the Plan Supplement.

       19.    “Committee” means the official January 24 Claimants Committee appointed by
the Bankruptcy Court and the United States Trustee.

         20.     “Confirmation” means the entry of the Confirmation Order on the docket of the
Chapter 11 Cases, subject to all conditions specified in Article XV.A hereof having been:
(a) satisfied; or (b) waived pursuant to Article XV.C hereof.

       21.     “Confirmation Date” means the date upon which the Clerk of the Bankruptcy
Court enters the Confirmation Order on the docket of the Chapter 11 Cases, within the meaning
of Bankruptcy Rules 5003 and 9021.

        22.    “Confirmation Hearing” means the hearing or hearings held by the Bankruptcy
Court to consider Confirmation, as such hearing may be adjourned or continued from time to
time in the Plan Proponent’s sole discretion.

       23.    “Confirmation Order” means the order or orders of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

       24.     “Consummation” means the occurrence of the Effective Date.

      25.     “Debtors” or “Debtors in Possession” means, collectively, Watson Grinding and
Watson Valve.

       26.     “Disallowed” means, with reference to any Claim, a finding or determination of
the Bankruptcy Court in a Final Order, including the Bar Date Order, or a provision of the Plan,
providing that a Claim shall not be Allowed, or as to which the Bankruptcy Court has otherwise
ruled or ordered that such Claim should be temporarily disallowed pursuant to section 502(d) of
the Bankruptcy Code.

        27.     “Disclosure Statement” means the Disclosure Statement portion of this First
Amended Combined Disclosure Statement and Joint Plan of Liquidation Watson Grinding &
Manufacturing Co. and Watson Valve Services, Inc. Under Chapter 11 of the Bankruptcy Code,
dated as of December 3, 2020, as the same may be amended, supplemented, or modified from
time to time, including all exhibits and schedules thereto and references therein that relate to the


                                                12
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 46
                                                                47 of
                                                                   of 115
                                                                      116



Plan, that is prepared and distributed in accordance with the Bankruptcy Code, Bankruptcy
Rules, and any other applicable law.

        28.    “Disclosure Statement Order” means the Order (I) Conditionally Approving
Disclosure Statement, (II) Scheduling Plan Confirmation Hearing; (III) Establishing Voting
Deadline and Procedures for Filing Objections to Confirmation; (IV) Temporarily Allowing
Certain Claims for Voting Purposes Only; (V) Approving Form of Ballots; and (VI) Establishing
Solicitation and Tabulation Procedures [Docket No. [__]].

         29.    “Disputed” means, with respect to any Claim or Interest, any Claim or Interest
that is not yet Allowed.

       30.     “Disputed Claims Reserve” means a reserve to be established by the Liquidating
Trustee in accordance with Article XIII.

       31.    “Distribution” means the payment of Cash or other property, as the case may be,
in accordance with the Plan, the Confirmation Order, and, if applicable, the Liquidating Trust
Agreement.

       32.    “Distribution Date” means (a) the Initial Distribution Date or (b) the Final
Distribution Date.

       33.     “Distribution Record Date” means the date on which the Confirmation Order is
entered or such other date that is designated by the Liquidating Trustee or the Watson Valve
Trustee, as applicable, following the Effective Date.

        34.     “Effective Date” means the date declared by the Watson Valve Trustee, the
Liquidating Trustee and the Committee on which the Confirmation Order becomes a Final Order
and all of the conditions specified in Article XV.B hereof have been satisfied or waived pursuant
to Article XV.C hereof.

       35.     “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

       36.    “Estate” means, as applicable, the estate created for Watson Grinding or Watson
Valve in the Chapter 11 Cases pursuant to section 541 of the Bankruptcy Code.

        37.    “Exculpated Party” means each of (a) the Valve Chapter 11 Trustee, (b) the
Grinding Chapter 11 Trustee, (c) John Watson, (d) Bob White, (e) Jason White (f) each member
of the Committee, (g) each member of the Oversight Committee, and (h) with respect to each of
the foregoing, such Entity’s current subsidiaries, and its and their officers, directors, employees,
agents, financial and other advisors, attorneys, accountants, investment bankers, consultants,
representatives and other Professionals in any such persons’ capacity as such.

       38.    “Executory Contract” means a contract to which a Debtor is a party that is subject
to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

       39.    “Explosion” means the explosion which occurred in the morning of January 24,
2020 at the Watson Grinding facility.

                                                13
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 47
                                                                48 of
                                                                   of 115
                                                                      116



        40.     “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court
or other court of competent jurisdiction in or in connection with the Chapter 11 Cases, or, with
respect to the filing of a Proof of Claim or proof of Interest, the Bankruptcy Court through the
PACER or CM/ECF website.

        41.   “Final Distribution Date” means, as applicable, the date upon which the
Liquidating Trustee makes the final distributions under the Plan from the Liquidating Trust and
the date upon which the Watson Valve Trustee makes the final distributions under the Plan from
the Watson Valve Liquidating Trust.

         42.    “Final Order” means (i) an order or judgment of the Bankruptcy Court, as entered
on the docket in the Chapter 11 Cases (or any related adversary proceeding or contested matter)
or the docket of any other court of competent jurisdiction, or (ii) an order or judgment of any
other court having jurisdiction over any appeal from (or petition seeking certiorari or other
review of) any order or judgment entered by the Bankruptcy Court (or any other court of
competent jurisdiction, including in an appeal taken) in the Chapter 11 Cases (or in any related
adversary proceeding or contested matter), in each case that has not been reversed, stayed,
modified, or amended, and as to which the time to appeal, or seek certiorari or move for a new
trial, reargument, or rehearing has expired according to applicable law and no appeal or petition
for certiorari or other proceedings for a new trial, reargument, or rehearing has been timely
taken, or as to which any appeal that has been taken or any petition for certiorari that has been or
may be timely Filed has been withdrawn or resolved by the highest court to which the order or
judgment was appealed or from which certiorari was sought or the new trial, reargument, or
rehearing shall have been denied, resulted in no modification of such order, or has otherwise
been dismissed with prejudice; provided, however, that a motion under Section 502(j) of the
Bankruptcy Code, Rule 59 or 60 of the Federal Rules of Civil Procedure, or any analogous rule
may be Filed with respect to such order and shall not cause such order not to be a Final Order.

        43.     “General Unsecured Claim” means any Claim, whether arising before or after the
Explosion, which arises based on a contractual, statutory or other non-tort basis, specifically
excluding January 24 Claims, Minor Damage Claims, Indemnity Claims, Secured Claims,
Priority Claims, Priority Tax Claims, Administrative Claims and Professional Fee Claims, but
specifically including the Allowed Matheson Contractual Indemnity Claim.

       44.    “Governmental Unit” means a governmental unit as defined in section 101(27) of
the Bankruptcy Code.

        45.    “Grinding Insurance Recovery” means the proceeds payable to Watson Grinding
based on any claims under (i) the $1 million general liability policy issued by United First
Insurance (Policy Number 85319121), (ii) the $5 million excess liability coverage issued by
Navigators Insurance, (iii) the $20 million excess liability policy issued by RSUI, (iv) the $1
million general liability policy issued by Indian Harbor Insurance Company (Policy Number
US00087635LI19A), (v) the $10 million excess liability coverage under the same policy, and
(vi) the $15 million excess liability policy issued by RSUI (Policy Number NHA088211).

       46.    “Grinding Chapter 11 Trustee” means Janet S. Northrup, in her capacity as the
duly-appointed chapter 11 trustee in the Chapter 11 Case.

                                                14
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 48
                                                                49 of
                                                                   of 115
                                                                      116



       47.     “Holder” means any Entity holding a Claim or an Interest.

       48.     “Impaired” means, with respect to a Class of Claims or Interests, a Class of
Claims or Interests that is not Unimpaired.

       49.    “Impaired Class” means an impaired Class within the meaning of section 1124 of
the Bankruptcy Code.

        50.     “Indemnity Claim” means a Claim against either Debtor based on a contractual,
statutory and/or common law right to indemnification, reimbursement and/or contribution from
Watson Grinding or Watson Valve. The Allowed Matheson Contractual Indemnity Claim shall
not be an Indemnity Claim under the Plan. For the avoidance of doubt, an Indemnity Claim
includes any amounts owed under any applicable duty to defend or duty to indemnify, including
a claim for reimbursement of attorneys’ fees and defense costs associated with defending any
lawsuit, claim, or demand arising out of the Explosion.

         51.      “Initial Distribution Date” means a date, no later than 90 days from the Effective
Date, selected by the Watson Valve Trustee and the Liquidating Trustee, as applicable, to make
the initial distributions to certain claimants under the terms of this Plan.

        52.     “Interests” means the common stock, preferred stock, limited liability company
interests, and any other equity, ownership, or profits interests in the Debtors, including, without
limitation, any options, warrants, rights, or other securities or agreements to acquire any common
stock, preferred stock, limited liability company interests, or other equity, ownership, or profits
interests in the Debtors (whether or not arising under or in connection with any employment
agreement), including any Claim against the Debtors that is subject to subordination pursuant to
section 510(b) of the Bankruptcy Code arising from or related to any of the foregoing, or to a
Final Order providing for the recharacterization thereof.

       53.     “Interim Compensation Order” means the Order Establishing Interim Professional
Compensation Procedures [Docket No. 267 in the Watson Grinding Chapter 11 Case; Docket
No. 120 in the Watson Valve Chapter 11 Case].

       54.     “IRC” means the U.S. Internal Revenue Code of 1986, as amended.

       55.    “January 24 Claim” means a tort Claim arising out of the Explosion and for
which the Debtors did not have any liability prior to the Explosion. For the avoidance of doubt,
an Indemnity Claim is not a January 24 Claim.

       56.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1-4001.

       57.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        58.     “Liquidating Trust” means the liquidating trust created from the Watson Grinding
Estate to be established under the Plan pursuant to the Liquidating Trust Agreement.




                                                15
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 49
                                                                50 of
                                                                   of 115
                                                                      116



       59.    “Liquidating Trust Agreement” means the agreement creating the Liquidating
Trust to be Filed as part of the Plan Supplement. It does not include the Watson Valve
Liquidating Trust Agreement.

        60.    “Liquidating Trust Assets” means (i) all of the assets of Watson Grinding and its
Estate on the Effective Date and the proceeds from such assets, including, but not limited to, the
Liquidating Trust Cash, the Disputed Claims Reserve, and Watson Grinding’s Retained Causes
of Action, and (ii) $1,000,000 to be funded from the Valve Cash.

        61.     “Liquidating Trust Beneficiaries” means the Holders of Allowed Claims and
Interests entitled to distribution from the Liquidating Trust pursuant to this Plan and the
Liquidating Trust Agreement.

       62.    “Liquidating Trust Cash” means (i) any Cash held by the Liquidating Trustee, net
of the Liquidating Trust Operating Reserve, and (ii) any amounts remaining in the Disputed
Claims Reserve following the payment of amounts reserved therein on account of Disputed
Claims. Liquidating Trust Cash shall be segregated into a separate bank account from any cash
proceeds from the Grinding Insurance Recovery.

       63.     “Liquidating Trust Operating Reserve” means the reserve maintained by the
Liquidating Trustee from the Liquidating Trust Assets for the reasonable costs and expenses of
administering the Liquidating Trust, including the reasonable costs and expenses incurred by the
Liquidating Trustee, and the Liquidating Trustee Professionals.

        64.   “Liquidating Trustee” means Ron Bankston, in his capacity as the Liquidating
Trustee following confirmation of this Plan, or any successor trustee of the Liquidating Trust
duly appointed pursuant to the Liquidating Trust Agreement, to act as the administrator of the
Plan, to make or facilitate Distributions pursuant to the Plan, and to serve as the trustee of the
Liquidating Trust.

        65.     “Liquidating Trustee Professionals” means the employees, agents, financial
advisors, attorneys, consultants, independent contractors, representatives, and other professionals
retained by the Liquidating Trustee (in their capacities as such).

       66.     “Matheson” means Matheson Tri-Gas, Inc.

        67.     “Minor Damage Claim” means a January 24 Claim which (a) was Filed in an
amount of $5,000.00 or less, or (b) the Holder of such January 24 Claim has elected in its Ballot
to be treated as a Minor Damage Claim.

        68.     “Motion to Transfer” means the motion to transfer, in form and substance
acceptable to Matheson, the Committee, the Watson Grinding Chapter 11 Trustee, and the
Watson Valve Chapter 11 Trustee to be included in the Plan Supplement. The Motion to
Transfer shall include a mutually acceptable provision for “related cases” and a stay of all other
state court cases pursuant to Rule 13.4 of the Texas Rules of Judicial Administration.

       69.     “Oversight Committee” means the committee to be appointed in accordance with,
and to exercise the duties set forth in the Liquidating Trust Agreement. On the Effective Date,

                                                16
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 50
                                                                51 of
                                                                   of 115
                                                                      116



the initial members of the Oversight Committee shall be all members of the Committee as of the
Effective Date.

        70.    “Other Priority Claim” means any Claim accorded priority in right of payment
under section 507(a) of the Bankruptcy Code, other than: (a) an Administrative Claim or (b) a
Priority Tax Claim.

       71.     “Person” means a person as defined in section 101(41) of the Bankruptcy Code.

       72.     “Petition Date” means February 6, 2020.

       73.    “Plan” means this First Amended Joint Plan of Liquidation of Watson Grinding &
Manufacturing Co. and Watson Valve Services, Inc. Under Chapter 11 of the Bankruptcy Code,
dated December 3, 2020, as the same may be amended, supplemented, or modified from time to
time, including, without limitation, any exhibits hereto, which are incorporated herein by
reference.

       74.     “Plan Proponent” means the Committee.

       75.     “Plan Rate” means interest at the rate of five-percent per annum.

       76.    “Plan Supplement” means the supplemental appendix to this Plan, Filed with the
Bankruptcy Court no later than fourteen (14) calendar days prior to the Voting Deadline, which
contains, among other things, draft forms or signed copies, as the case may be, of the Liquidating
Trust Agreement, the Watson Valve Liquidating Trust Agreement, the Motion to Transfer, the
CMO, the Schedule of Retained Causes of Action, and any schedules, lists, or documents
contemplated by this Plan that are identified as part of the Plan Supplement.

        77.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
specified in section 507(a)(8) of the Bankruptcy Code.

        78.    “Pro Rata” means, unless indicated otherwise, the proportion that an Allowed
Claim in a particular Class bears to the aggregate amount of Allowed Claims in that respective
Class, or the proportion that Allowed Claims in a particular Class bear to the aggregate amount
of Allowed Claims in a particular Class and other Classes entitled to share in the same recovery
as such Allowed Claim under the Plan.

        79.    “Professional” means an Entity employed in the Chapter 11 Cases pursuant to a
Bankruptcy Court order in accordance with sections 327, 363, or 1103 of the Bankruptcy Code
and to be compensated for services rendered before or on the Effective Date, pursuant to sections
327, 328, 329, 330, 331, and 363 of the Bankruptcy Code.

        80.    “Professional Fee Claims” means all Administrative Claims for the compensation
of Professionals and the reimbursement of expenses incurred by such Professionals through and
including the Effective Date to the extent such fees and expenses have not been paid pursuant to
the Interim Compensation Order or any other order of the Bankruptcy Court, as well as fees,
expenses and other reimbursable costs incurred after the Effective Date in connection with the


                                               17
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 51
                                                                52 of
                                                                   of 115
                                                                      116



preparation and filing of fee applications with the Bankruptcy Court in respect of Professional
Fee Claims.

        81.    “Professional Fees” means all fees, costs and expenses incurred in these Chapter
11 Cases by any Professional and awarded by Final Order of the Bankruptcy Court pursuant to
sections 328, 330 or 503(b) or any other provision of the Bankruptcy Code and any professional
fees, costs and expenses which have been allowed pursuant to this Plan or by Final Order of the
Bankruptcy Court.

       82.    “Proof of Claim” means a proof of Claim or Interest Filed against the Debtor in
the Chapter 11 Case.

         83.     “Removed Lawsuits” means all lawsuits against the Debtors which were originally
filed in state court and then removed by any party to the Bankruptcy Court. For the avoidance of
doubt, Indian Harbor Insurance Company v. Watson Grinding & Manufacturing Co., Adversary
Proceeding No. 20-3415, which was originally filed in the Bankruptcy Court, is not included in
the definition of Removed Lawsuits.

       84.    “Reserves” means, collectively, the Liquidating Trust Operating Reserve and the
Disputed Claims Reserve.

        85.     “Retained Causes of Action” means, collectively, all Causes of Action which may
be asserted by or on behalf of the Debtors or the Estates, a nonexclusive list of which is set forth
in the Schedule of Retained Causes of Action, against any third parties, investors, or individuals
that the Debtors or the Estates own or have an interest in or can assert in any fashion, whether
prepetition or postpetition, including, without limitation, litigation claims, whether such Causes
of Action arise from contract, tort theories of liability, insurance claims, statutory claims,
common law claims, equitable claims or other claims, objections to Claims, adversary
proceedings, Avoidance Actions against any Entity identified in the Statement of Financial
Affairs as a recipient of a payment made or property transferred by or on behalf of the Debtors
prior to the Petition Date, and all Causes of Action, claims, demands and rights, in each case, that
have not been released, exculpated, waived, settled, or barred pursuant to this Plan.

       86.     “Schedule of Retained Causes of Action” means the schedule of Causes of Action
to be retained by the Estates and contributed to the Liquidating Trust and the Watson Valve
Liquidating Trust, which shall be included in the Plan Supplement.

        87.     “Secured” means: when referring to a Claim: (a) secured by a Lien on property in
which an Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to
applicable law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to
section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in the
Estate’s interest in such property or to the extent of the amount subject to setoff, as applicable, as
determined pursuant to section 506(a) of the Bankruptcy Code or, in the case of setoff, pursuant
to section 553 of the Bankruptcy Code; or (b) otherwise Allowed pursuant to this Plan as a
Secured Claim.




                                                 18
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 52
                                                                53 of
                                                                   of 115
                                                                      116



       88.   “Statement of Financial Affairs” means the Statement of Financial Affairs Filed
by Watson Grinding on March 23, 2020 [Docket No. 149] and by Watson Valve on April 29,
2020 [Docket No. 159].

        89.    “Third Party Coverage Claims” has the meaning set forth in section XIII.G.3 of
this Plan.

       90.    “Unexpired Lease” means a lease to which the Debtors are a party that is subject
to assumption or rejection under section 365 of the Bankruptcy Code.

        91.      “Unimpaired” means, with respect to a Class of Claims or Interests, a Claim or an
Interest that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

       92.     “Unsecured” means not Secured.

        93.    “U.S. Trustee” means the Office of the United States Trustee for the Southern
District of Texas.

        94.     “Valve Cash” means all Cash held by the Valve Chapter 11 Trustee on behalf of
the Watson Valve Estate as of the Effective Date or the Watson Valve Trustee on behalf of the
Watson Valve Liquidating Trust following the Effective Date. Valve Cash shall be segregated
into a separate bank account from any cash proceeds from the Valve Insurance Recovery.

        95.     “Valve Claims and Retained Causes of Action” means (i) all Claims asserted in
the proof of claim filed by Watson Valve against Watson Grinding (Claim No. 349), (ii) any and
all Causes of Action, now owned by Watson Valve or the Watson Valve Estate that are or may
be pending or on or have accrued prior to the Effective Date against any Person or Entity, based
in law or equity, whether asserted or unasserted as of the Effective Date arising from or related to
the Explosion.

       96.    “Valve Insurance Recovery” means the proceeds payable to Watson Valve based
on any claims under (i) the $1 million general liability policy issued by Indian Harbor Insurance
Company (Policy Number US00087635LI19A), (ii) the $10 million excess liability coverage
under the same policy, and (iii) the $15 million excess liability policy issued by RSUI (Policy
Number NHA088211).

       97.    “Valve Chapter 11 Trustee” means Robert E. Ogle, in his capacity as the duly
appointed chapter 11 trustee of Watson Valve.

       98.    “Voting Deadline” means December 28, 2020 at 5:00 p.m. Central Standard
Time, the deadline for submitting votes to accept or reject the Plan as set by the Bankruptcy
Court.

       99.     “Watson Grinding” means Watson Grinding & Manufacturing Co.

       100.    “Watson Valve” means Watson Valve Services, Inc.




                                                19
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 53
                                                                54 of
                                                                   of 115
                                                                      116



      101. “Watson Valve Liquidating Trust” means the liquidating trust created from the
Watson Valve Estate to be established under the Plan pursuant to the Liquidating Trust
Agreement.

      102. “Watson Valve Liquidating Trust Agreement” means the agreement creating the
Watson Valve Liquidating Trust to be Filed as part of the Plan Supplement.

        103. “Watson Valve Liquidating Trust Assets” means all of the assets of Watson Valve
and its Estate on the Effective Date and the proceeds from such assets, except for the $1,000,000
in Cash to be transferred to the Liquidating Trust.

        104. “Watson Valve Liquidating Trust Beneficiaries” means the Holders of Allowed
Claims and Interests entitled to distributions from the Watson Valve Liquidating Trust pursuant
to this Plan and the Watson Valve Liquidating Trust Agreement.

        105. “Watson Valve Trustee” means Robert E. Ogle, in his capacity as the Watson
Valve Trustee following confirmation of this Plan, such other trustee selected from the chapter 7
trustee panel in the Southern District of Texas by the Plan Proponent prior to the Confirmation
Hearing or any successor trustee of the Watson Valve Liquidating Trust duly appointed pursuant
to the Watson Valve Liquidating Trust Agreement, to act as the administrator of the Plan, to
make or facilitate Distributions pursuant to the Plan, and to serve as the trustee of the Watson
Valve Liquidating Trust.

        106. “Watson Valve Liquidating Trustee Professionals” means the employees, agents,
financial advisors, attorneys, consultants, independent contractors, representatives, and other
professionals retained by the Watson Valve Trustee (in their capacities as such).

       107.    “Western” means Western International Gas & Cylinders, Inc.

     B.       Rules of Interpretation

        For purposes of this Plan, unless otherwise specified herein: (1) whenever from the
context it is appropriate, each term, whether stated in the singular or the plural, shall include both
the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and neuter gender; (2) any reference in this Plan to a contract,
instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that such document shall be substantially in such form or
substantially on such terms and conditions; (3) any reference in this Plan to an existing
document, schedule, or exhibit, whether or not Filed, shall mean such document, schedule or
exhibit, as it may have been or may be amended, modified, or supplemented; (4) any reference to
an Entity as a Holder of a Claim or Interest includes that Entity’s successors and assigns; (5) all
references in this Plan to Articles are references to Articles of this Plan or to this Plan; (6) the
words “herein,” “hereof,” and “hereto” refer to this Plan in its entirety rather than to a particular
portion of this Plan; (7) subject to the provisions of any contract, certificate of incorporation,
bylaw, instrument, release, or other agreement or document entered into in connection with this
Plan, the rights and obligations arising pursuant to this Plan shall be governed by, and construed
and enforced in accordance with applicable federal law, including the Bankruptcy Code and
Bankruptcy Rules; (8) captions and headings to Articles are inserted for convenience of

                                                 20
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 54
                                                                55 of
                                                                   of 115
                                                                      116



reference only and are not intended to be a part of or to affect the interpretation of this Plan; (9)
the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (10) any
term used in capitalized form in this Plan that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to such term in the
Bankruptcy Code or the Bankruptcy Rules, as applicable; (11) all references to docket numbers
of documents Filed in the Chapter 11 Cases are references to the docket numbers under the
Bankruptcy Court’s CM/ECF system; (12) all references to statutes, regulations, orders, rules of
courts, and the like shall mean as amended from time to time, as applicable to the Chapter 11
Cases, unless otherwise stated; and (13) any immaterial effectuating provisions may be
interpreted by the Watson Valve Trustee or the Liquidating Trustee in such a manner that is
consistent with the overall purpose and intent of this Plan all without further notice to or action,
order, or approval of the Bankruptcy Court or any other Entity.

     C.      Computation of Time

       In computing any period of time prescribed or allowed, the provisions of Bankruptcy
Rule 9006(a) shall apply. If a payment or act under this Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of
such act shall instead occur on the next succeeding Business Day, but shall be deemed to have
occurred as of the required date.

     D.      Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
Texas, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of this Plan, any agreements, documents,
instruments, or contracts executed or entered into in connection with this Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreement shall
control), and corporate governance matters.

     E.      Reference to Monetary Figures

      All references in this Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided.

     F.      Controlling Document

       In the event of an inconsistency between the Plan and the Disclosure Statement or any
other order (other than the Confirmation Order) referenced in the Plan (or any exhibits,
schedules, appendices, supplements or amendments to any of the foregoing), the terms of the
Plan shall control in all respects. In the event of an inconsistency between the Confirmation
Order and the Plan, the Confirmation Order shall control.




                                                 21
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 55
                                                                56 of
                                                                   of 115
                                                                      116




                                            BACKGROUND

      A.      Overview of the Debtors’ Operations Prior to the Petition Date

        Watson Grinding was founded as a specialty grinding shop by James Watson in 1960.
Over the years, Watson Grinding grew to include a full-scale machine shop. As Watson
Grinding continued to grow, it shifted its operations to the manufacturing and service of valve
and pump components. Watson Grinding also specialized in turning and milling alloys, hard
metals, and large parts. Watson Grinding began thermal spray coating during the 1980s.

      The Debtors operated out of a collection of buildings between Steffani Lane and Gessner
Road in Houston, Texas. John Watson, the son of founder James Watson, owns 63.778% of
Watson Grinding and 70% of Watson Valve and the remaining equity is held by Robert White,
who worked for Watson Grinding since 1977, and members of his family.

        Watson Valve was formed in 2002. Watson Valve specialized in manufacturing severe
service ball valves.

      B.      The Debtors’ Prepetition Capital Structure

        On the Petition Date, the Debtors owed Texas Capital Bank approximately $3 million on
a fully drawn line of credit. Texas Capital Bank held a lien on the Debtors’ cash, accounts
receivable, inventory, equipment and other assets. Texas Capital Bank’s claim was satisfied
from escrowed insurance proceeds pursuant to the Order Granting Joint Motion for Approval to
Pay Texas Capital Bank, National Association, in Full (Doc. No. 429).3 Other than ad valorem
property taxes, the Debtors have no other secured creditors.

      C.      The Explosion Leading to the Commencement of the Chapter 11 Cases

       In the early morning of January 24, 2020, a tragic explosion occurred at Watson
Grinding’s facility. The Bureau of Alcohol, Tobacco and Firearms’ investigation concluded that
the Explosion was caused by a leak of propylene, which is an extremely flammable gas that can
become explosive when mixed with air.

      The Explosion caused massive damage to the Debtors’ property and equipment as well as
hundreds of surrounding homes and businesses. The Explosion also resulted in multiple deaths
and numerous injuries.

       In the immediate wake of the Explosion, victims began filing lawsuits against the
Debtors. In total, more than 100 lawsuits were filed in state court arising out of the Explosion.

       The Explosion caused the Debtors to immediately cease operations and focus on
preserving evidence, insurance claims, and any remaining value in its work in progress.


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 Unless otherwise noted, all references to docket numbers are to the docket in the Watson Grinding Chapter 11
Case.

                                                     22
10834324v7
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 56
                                                                 57 of
                                                                    of 115
                                                                       116



      D.       The Debtors’ Insurance Policies

        The Watson Grinding Estate is anticipated to collect prior to the Confirmation Hearing,
the following insurance proceeds: (i) $3 million in business personal property insurance which
was used to satisfy the claim of Texas Capital Bank, (ii) approximately $1.5 million in business
interruption insurance, (iii) approximately $1.75 million additional in business personal property
insurance, and (iv) approximately $1.65 million in real property insurance.

        Additionally, Watson Grinding has a total of approximately $26 million in non-eroding
general liability and excess liability insurance which has not been collected apart from
expenditures for defense costs. The insurers of these policies dispute Watson Grinding’s liability
for the Explosion.

       Watson Valve has a corresponding set of insurance policies with another $26 million of
general liability and excess liability coverage. Watson Grinding asserts that it is also directly
covered under these insurance policies as an additional insured. The insurers have denied that
Watson Grinding is an insured party under the Watson Valve policies for general liability
coverage and dispute that Watson Valve has any liability for the Explosion. On September 16,
2020, Indian Harbor Insurance Company filed an adversary proceeding seeking a declaration that
Grinding is not an additional insured under the Watson Valve general liability policy. See Adv.
Pro. No. 20-3415.4

       The Valve Claims and Retained Causes of Action will be assigned to the Watson Valve
Liquidating Trustee for the benefit of January 24 Claimants and other beneficiaries of the
Watson Valve Liquidating Trust under the Plan.

      E.       Material Events During the Chapter 11 Cases

        1.       Commencement of the Chapter 11 Cases and First Day Motions

        On February 6, 2020, the day before a hearing was scheduled in state court to consolidate
all of the pending lawsuits, the Debtors filed voluntary chapter 11 petitions in the Bankruptcy
Court which initiated the Chapter 11 Cases. On February 10, 2020, the Bankruptcy Court held a
hearing on certain “first day motions.” The Court denied the Debtors’ request to pay off Texas
Capital Bank at the first day hearing without notice to creditors and a review of the bank’s liens
by a committee.

        2.       Appointment of the Committee

        On February 10, 2020, the Court ordered the United States Trustee to appoint “an official
committee to represent the interests of all persons and governmental units with monetary claims
arising out of the January 24, 2020 explosion” (Doc. No. 25).



4
 To the extent that Watson Grinding prevails in this adversary proceeding and also recovers from Indian Harbor,
such proceeds would be part of the Grinding Insurance Recovery notwithstanding the description of those policies as
Watson Valve policies.

                                                        23
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 57
                                                                58 of
                                                                   of 115
                                                                      116



        On February 21, 2020, the United States Trustee appointed the following members of the
Committee: (i) Travis Horton, (ii) Massiel Nunez, (iii) Houston Corvette Service, (iv) Margarita
Flores, (v) Phillip Burnam, (vi) Janette Thomas, and (vii) Gerardo Castorena, Jr. (Doc. No. 89).

       The Committee was only appointed in the Watson Grinding Chapter 11 Case.

       3.      Cash Collateral

       On February 18, 19, and 27, 2020, Watson Grinding obtained interim approval to use the
cash collateral of Texas Capital Bank (Doc. Nos. 75, 79, and 102). On April 6, 2020, the Court
entered a final order approving the use of cash collateral (Doc. No. 191). Thereafter, as
discussed above, Texas Capital Bank’s claim was satisfied from escrowed insurance proceeds
pursuant to the Order Granting Joint Motion for Approval to Pay Texas Capital Bank, National
Association, in Full (Doc. No. 429).

      The Debtors were able to conduct limited operations and functions during the Chapter 11
Case without needing to incur post-petition financing.

       4.      Retention of Professionals

       Throughout this case, the Debtors, the Committee, and the Grinding and Valve Chapter
11 Trustees have utilized various Professionals to assist them in their prosecution of the Chapter
11 Cases.

        On April 1, 2020, the Court entered orders approving employment of (i) Jones Murray &
Beatty LLP as general bankruptcy counsel to Watson Grinding (Doc. No. 168), (ii) McDowell
Hetherington LLP as general bankruptcy counsel for Watson Valve (Watson Valve, Doc. No.
91), (iii) McCoy Leavitt Laskey as special counsel to represent Watson Grinding in the state
court litigation arising out of the Explosion (Doc. No. 169), and (iv) Sheehy Ware Pappas as
special counsel to both Debtors defend employer liability claims related to certain employee
claims arising out of the Explosion (Watson Grinding Doc. No. 170; Watson Valve Doc. No.
104). Special counsel is being compensated by insurers rather than the Estates.

      On May 6, 2020, the Court entered an order authorizing the employment of Cummings &
Houston, LLP as accountants to the Debtors (Watson Grinding Doc. No. 273; Watson Valve
Doc. No. 166). On July 7, 2020, the Court entered an order authorizing the employment of
MACCO Restructuring Group LLC as the financial advisor to the Debtors (Watson Grinding,
Doc. No. 397; Watson Valve Doc. No. 137).

       On April 21, 2020, the Court authorized the employment of Porter Hedges LLP as
general bankruptcy counsel to the Committee (Doc. No. 227). On July 27, 2020, the Court
authorized the employment of Burns Bowen Bair LLP as special insurance counsel to the
Committee (Doc. No. 481).

       On July 6, 2020, the Court entered an order authorizing the employment of McDowell
Hetherington, LLP on a limited basis nunc pro tunc, and the law firm of Chamberlain, Hrdlicka,
White, Williams & Aughtry P.C. as special counsel to the Valve Chapter 11Trustee (Watson
Valve, Doc. No. 291).

                                               24
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 58
                                                                59 of
                                                                   of 115
                                                                      116



       On July 28, 2020, the Court entered orders authorizing the employment of Hughes
Watters Askanase LLP as bankruptcy counsel to the Grinding Chapter 11 Trustee (Doc. No. 499)
and the employment of Jones Murray & Beatty LLP as special counsel to the Grinding Chapter
11 Trustee (Doc. No. 500).

       On July 31, 2020, the Court entered an order authorizing the employment of Okin Adams
LLP as bankruptcy court to the Valve Chapter 11 Trustee (Watson Valve, Doc. No. 279).

       5.      Bar Date and Claims

        July 8, 2020 was that last day for non-governmental creditors to file proofs of claim. The
last day for governmental units to file proofs of claim is September 11, 2020.

        On May 28, 2020, the Court entered an Order Approving Form and Manner of Notice of
Bar Date to Potential January 24 Claimants (Doc. No. 309). Pursuant to this Order, the
Committee did a mass mailing of a notice of the bar date to all addresses within a 1.75 mile
radius of the Explosion site and published a notice of the bar date in the Houston Chronicle.

       On May 28, 2020, the Court entered an Order Recognizing Pending Litigation
Complaints as Proofs of Claim (Watson Grinding, Doc. No. 310; Watson Valve, Doc. No. 200).
Pursuant to this Order, the individual plaintiffs in the greater than 120 pending lawsuits against
the Debtors were not required to file separate proofs of claim.

       On August 24, 2020, the Court entered an Order Establishing Administrative Expense
Bar Date for Claims Arising Prior to June 4, 2020 (Doc. No. 654), which set a deadline of
September 11, 2020 for parties to assert administrative expenses arising prior to June 4, 2020 in
the Watson Grinding Chapter 11 Case.

       6.      KMHJ Dispute

        The Debtors leased several buildings from affiliated entities, one of which was KMHJ,
Ltd. (“KMHJ”). KMHJ is owned by the adult children of John Watson. On March 26, 2020,
KMHJ filed an Emergency Motion for Order Directing Property Damage Insurance Carrier to
Issue Check Solely to KMHJ Ltd. for Property Damage to Watson Campus Buildings 1 and 3
which are Solely Owned by KMHJ Ltd. (Doc. No. 160). The Committee opposed this relief
primarily on the basis that KMHJ, despite being the owner of these buildings, was not listed as
the loss payee on the Watson Grinding’s insurance policy and was first added as a loss payee just
two days before the Petition Date. The Committee conducted significant written discovery and
took several depositions in connection with this dispute. Following a mediation before the
Honorable Eduardo V. Rodriguez, the dispute with KMHJ was resolved by Watson Grinding
receiving $868,000 of the insurance proceeds for KMHJ’s buildings, which amounted to
approximately one-third of the total available insurance proceeds and KMHJ waived its claims
against the estate (Doc. No. 441).

       7.      Appointment of the Trustees

      On May 29, 2020, shortly after the Court ordered the United States Trustee to investigate
whether a trustee should be appointed, the Committee filed its Emergency Motion for

                                               25
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 59
                                                                60 of
                                                                   of 115
                                                                      116



Appointment of Chapter 11 Trustees (Doc. No. 311), which sought the appointment of separate
chapter 11 trustees for the Watson Grinding and Watson Valve. Among other things, the
Committee alleged that John Watson terminated Bob White, the Debtors’ chief operating officer
and the individual who signed the Debtors’ schedules and financial affairs and was acting as the
Debtors’ corporate representative, as retaliation for Bob White’s submission of a bid with his son
to acquire the assets of Watson Valve. Unlike the alternative bid being considered by Watson
Valve, the Whites’ bid did not include a consulting agreement or a non-compete agreement for
John Watson. The Bankruptcy Court ultimately approved the alternative bid as the highest and
best bid. The Bankruptcy Court did not make any findings that John Watson engaged in any
wrongdoing.

       Instead, the board of each Debtor consented to the appointment of chapter 11 trustees in
each case. On June 4, 2020, the Court entered an order approving the appointment of the
Grinding Chapter 11 Trustee (Watson Grinding, Doc. No. 331) and the Valve Chapter 11 Trustee
(Watson Valve, Doc. No. 221).

        Since their appointment, the Grinding and Valve Chapter 11 Trustees have continued to
collect and liquidate the Debtors’ remaining assets.


                                   TAX CONSEQUENCES

     A.      Introduction.

        The following discussion summarizes certain federal income tax consequences of the
transactions described herein and in the Plan. This discussion is for informational purposes only
and does not constitute tax advice. This summary is based upon the Internal Revenue Code and
the Treasury Regulations promulgated thereunder, including judicial authority and current
administrative rulings and practice as of the date of this Disclosure Statement and will not be
updated for subsequent tax or factual developments. Neither the impact on foreign holders of
claims and equity interests nor the tax consequences of these transactions under state and local
law are discussed. Also, special tax considerations not discussed herein may be applicable to
certain classes of taxpayers, such as financial institutions, broker-dealers, insurance companies,
mutual funds, regulated investment companies, real estate investment trusts, trusts, S
corporations, dealers and traders in securities and currencies, partnerships and other entities
classified as partnerships for federal tax purposes and tax-exempt organizations. Furthermore,
due to the complexity of the transactions contemplated in the Plan, and the unsettled status of
many of the tax issues involved, the tax consequences described below are subject to significant
uncertainties including subsequent legislative and other tax changes. No opinion of counsel has
been obtained and no ruling has been requested from the Internal Revenue Service (“IRS”) on
these or any other tax issues. There can be no assurance that the IRS will not challenge any or
all of the tax consequences of the Plan, or that such a challenge, if asserted, would not be
sustained. HOLDERS OF CLAIMS AGAINST AND EQUITY INTERESTS IN THE
DEBTORS ARE THEREFORE URGED TO CONSULT WITH THEIR TAX ADVISORS
REGARDING THE FEDERAL, STATE, LOCAL AND FOREIGN TAX
CONSEQUENCES OF THE TRANSACTIONS DESCRIBED HEREIN AND IN THE
PLAN.

                                               26
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 60
                                                                61 of
                                                                   of 115
                                                                      116



     B.      Tax Consequences to the Debtors and Equity Interest Holders.

        Watson Grinding will realize cancellation of indebtedness (“COI”) income in respect of
each Claim generally in an amount equal to the excess, if any, of (i) the portion of the Claim
(including accrued and previously deducted but unpaid interest) from which Watson Grinding is
(or is deemed to be) discharged; over (ii) the sum of any cash or the “issue price,” under the
Internal Revenue Code of 1986 (the “Internal Revenue Code”) §§ 1273(b) and 1274, of any debt
obligations distributed under the Plan in discharge of such Claims. The exact amount of COI
income realized upon consummation of the Plan has not been finally determined. Under the
Internal Revenue Code, a taxpayer is generally required to include COI income in gross income.
COI income is not includable in gross income, however, if it occurs in a case under the
Bankruptcy Code, provided the taxpayer is under the jurisdiction of a Court in such case and the
cancellation of indebtedness is granted by the Court or is pursuant to a plan approved by the
Court. Watson Grinding’s COI income, if any, resulting from the Plan should satisfy these
requirements, and, therefore, should not result in recognition of gross income to Watson
Grinding. COI income that is excluded from gross income will reduce certain tax attributes of
the taxpayer, including net operating losses (hereinafter “NOLs”), NOL carryovers, capital loss
carryovers and the tax basis of assets, in a specified order of priority beginning with the NOLs
and NOL carryovers, unless the taxpayer elects to have the reduction applied first to the tax basis
of depreciable assets. The reduction of tax basis is limited to the excess of (i) the aggregate of
the tax bases of the taxpayer’s property (determined immediately after the discharge); and (ii) the
aggregate liabilities of the taxpayer (determined immediately after the discharge). The exclusion
for COI is deemed to occur immediately following the end of Watson Grinding’s tax year, and
not during the tax year.

        The Debtors will recognize gain or loss on the sale of assets to third parties equal to the
sales price of such assets less the Debtors’ adjusted tax basis in such properties. The sales price
includes all indebtedness assumed by a buyer as well as all other consideration received by the
Debtors. The amount and tax character of such gain and loss will depend on the applicable facts
and circumstances.

        Holders will generally recognize no COI income or attribute reduction with respect to the
transactions described herein, but a Holder should recognize a loss in connection with the
cancellation and discharge of its Interests equal to its adjusted basis in such Interests, which loss
will be a capital loss if such Interests were a capital asset in the hands of such Holder.

     C.      Tax Consequences to Creditors.

        In General. The federal income tax consequences of the implementation of the Plan to a
holder of a Claim will depend, among other things, on: (a) whether its Claim constitutes a debt or
security for federal income tax purposes, (b) whether the Claimant receives consideration in
more than one tax year, (c) whether the Claimant is a resident of the United States, (d) whether
all the consideration by the Claimant is deemed to be received by that Claimant as part of an
integrated transaction, (e) whether the Claimant utilizes the accrual or cash method of accounting
for tax purposes, and (f) whether the holder has previously taken a bad debt deduction or
worthless security deduction with respect to the Claim.


                                                 27
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 61
                                                                62 of
                                                                   of 115
                                                                      116



        Gain or Loss on Exchange. Generally, a holder of an Allowed Claim will realize a gain
or loss on the exchange under the Plan of his Allowed Claim for cash and other property in an
amount equal to the difference between (i) the sum of the amount of any cash and the fair market
value on the date of the exchange of any other property received by the holder (other than any
consideration attributable to accrued but unpaid interest on the Allowed Claim), and (ii) the
adjusted basis of the Allowed Claim exchanged therefore (other than basis attributable to accrued
but unpaid interest previously included in the holder’s taxable income). Any gain recognized
generally will be a capital gain (except to the extent the gain is attributable to accrued but unpaid
interest or accrued market discount) if the Claim was a capital asset in the hand of an exchanging
holder, and such gain would be a long-term capital gain if the holder’s holding period for the
Claim surrendered exceeded one (1) year at the time of the exchange.

       The tax treatment of an Allowed Claim for accrued unpaid interest will depend on the
Claimant’s tax basis in such Claim, which primarily depends on whether the Claimant has
previously recognized income for the accrual of such interest and/or recognized a loss with
respect to same. Any such holders should consult with their tax advisors regarding the tax
treatment of any such accrued unpaid interest.

        Any loss recognized by a holder of an Allowed Claim will be a capital loss if the Claim
constitutes a “security” for federal income tax purposes or is otherwise held as a capital asset.
For this purpose, a “security” is a debt instrument with interest coupons or in registered form.

     D.      Information Reporting and Backup Withholding.

        Under the backup withholding rules of the Internal Revenue Code, holders of Claims may
be subject to backup withholding with respect to payments made pursuant to the Plan unless such
holder (i) is a corporation or comes within certain other exempt categories and, when required,
demonstrates this fact, or (ii) provides a correct taxpayer identification number and certifies
various items under penalties of perjury, including that the taxpayer identification number is
correct and that the holder is not subject to backup withholding because of a failure to report all
dividends and interest income. Any amount withheld under these rules will be credited against
the holder’s federal income tax liability. Holders of Claims may be required to establish
exemption from backup withholding or to make arrangements with respect to the payment of
backup withholding.

     E.      Importance of Obtaining Professional Assistance.

     THE FOREGOING IS INTENDED TO BE A SUMMARY ONLY AND IS NOT A
SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL. THE
FEDERAL, STATE, AND FOREIGN TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX AND, IN MANY AREAS, UNCERTAIN. ANY DISCUSSION OF U.S.
FEDERAL TAX ISSUES CONTAINED OR REFERRED TO IN THIS DISCLOSURE
STATEMENT, THE PLAN OR ANY RELATED MATERIALS, IS NOT INTENDED OR
WRITTEN TO BE USED, AND CANNOT BE USED BY YOU, FOR THE PURPOSE OF
AVOIDING PENALTIES THAT MAY BE IMPOSED ON YOU UNDER THE
INTERNAL REVENUE CODE OF 1986, AS AMENDED. ANY SUCH DISCUSSIONS
ARE BEING USED ONLY IN CONNECTION WITH SATISFYING THE

                                                 28
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 62
                                                                63 of
                                                                   of 115
                                                                      116



REQUIREMENTS IMPOSED UNDER THE BANKRUPTCY CODE FOR DISCLOSURE
STATEMENTS. YOU SHOULD SEEK ADVICE FROM AN INDEPENDENT TAX
ADVISOR WITH RESPECT TO YOUR FEDERAL, STATE, LOCAL AND FOREIGN
TAX CONSEQUENCES BASED ON YOUR PARTICULAR CIRCUMSTANCES.


                     CERTAIN RISK FACTORS TO BE CONSIDERED

        Prior to voting to accept or reject the Plan, holders of Claims should read and carefully
consider the risk factors set forth below, in addition to the information set forth in this Disclosure
Statement together with any attachments, exhibits, or documents incorporated by reference
hereto. The factors below should not be regarded as the only risks associated with the Plan or its
implementation.

     A.      Certain Bankruptcy Law Considerations

       1.      Risk of Non-Confirmation of the Plan

        Although the Plan Proponent believes that the Plan will satisfy all requirements necessary
for confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court
will reach the same conclusion or that modifications to the Plan will not be required for
confirmation or that such modifications would not necessitate re-solicitation of votes. Moreover,
the Plan Proponent can make no assurances that it will receive the requisite acceptances to
confirm the Plan, and even if all Voting Classes voted in favor of the Plan or the requirements
for “cramdown” are met with respect to any Class that rejected the Plan, the Bankruptcy Court,
which may exercise substantial discretion as a court of equity, may choose not to confirm the
Plan. If the Plan is not confirmed, it is unclear what distributions holders of Claims or Interests
ultimately would receive with respect to their Claims or Interests in a subsequent plan or other
proceeding.

       2.      Risk of Non-Occurrence of the Effective Date

        Although the Plan Proponent believes that the Effective Date will occur within 60
calendar days after the Confirmation Date, there can be no assurance as to the timing of the
Effective Date. If the conditions precedent to the Effective Date set forth in the Plan have not
occurred or have not been waived, then the Confirmation Order may be vacated, in which event
no distributions would be made under the Plan, the Debtors and all holders of Claims or Interests
would be restored to the status quo as of the day immediately preceding the Confirmation Date,
and the Debtors’ obligations with respect to Claims and Interests would remain unchanged.

       3.      Conversion to Chapter 7 Cases

        If no chapter 11 plan can be confirmed, or if the Bankruptcy Court otherwise finds that it
would be in the best interests of holders of Claims and Interests, the Chapter 11 Cases may be
converted to cases under chapter 7 of the Bankruptcy Code, pursuant to which chapter 7 trustees
would be appointed or elected to liquidate the Debtors’ assets for distribution in accordance with
the priorities established by the Bankruptcy Code. A Liquidation Analysis showing the effects


                                                 29
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 63
                                                                64 of
                                                                   of 115
                                                                      116



that a chapter 7 liquidation would have on the recoveries of holders of Claims and Interests is
attached as an exhibit to this Disclosure Statement.

       4.      Additional Factors Affecting Recoveries

        There can be no assurance that the estimated Allowed amount of Claims in certain
Classes will not be significantly more than projected, which, in turn, could cause the value of
distributions to be reduced substantially. Inevitably, some assumptions will not materialize, and
unanticipated events and circumstances may affect the ultimate results. Therefore, the actual
amount of Allowed Claims may vary from the assumptions underlying the projected recoveries
discussed in this Disclosure Statement, and the variation may be material.

        There can be no assurance that any specific amount will be recovered from the Debtors’
insurance policies. The Debtors have not admitted any liability for the Explosion, and the
insurance carrier has retained counsel to dispute liability. On July 21, 2020, the Occupational
Safety and Health Administration (“OSHA”) sent counsel for the Grinding Chapter 11 Trustee a
Citation and Notification of Penalty related to the Explosion. Following its investigation, OSHA
determined that Watson Grinding’s employees were not provided effective information and
training on hazardous chemicals in their work area. OSHA also made a finding of willfulness
against Watson Grinding in its failure to keep the employees’ place of employment free from
hazards that were likely to cause death or serious physical harm. The Grinding Chapter 11
Trustee has retained counsel to dispute the finding of willfulness because such a finding could
impair the ability to seek coverage under certain insurance policies.

     B.      The Plan Proponent could withdraw the Plan

       The Plan Proponent may revoke or withdraw the Plan prior to the Confirmation Date.

     C.      The Plan Proponent has no duty to update

        The statements contained in this Disclosure Statement are made by the Plan Proponent as
of the date hereof, unless otherwise specified herein, and the delivery of this Disclosure
Statement after that date does not imply that there has been no change in the information set
forth herein since that date. The Plan Proponent has no duty to update this Disclosure Statement
unless otherwise ordered to do so by the Bankruptcy Court.

     D.      No representations outside this disclosure statement are authorized

        No representations concerning or related to the Debtors, the Committee, the Chapter 11
Cases, or the Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as
set forth in this Disclosure Statement. Any representations or inducements made to secure your
acceptance or rejection of the Plan that are other than those contained in, or included with, this
Disclosure Statement should not be relied upon in making the decision to accept or reject the
Plan.




                                               30
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 64
                                                                65 of
                                                                   of 115
                                                                      116



     E.      No legal or tax advice is provided by this disclosure statement

       The contents of this Disclosure Statement should not be construed as legal, business, or
tax advice. Each Holder of a Claim or Interest should consult its own legal counsel and
accountant as to legal, tax, and other matters concerning its Claim or Interest.

        This Disclosure Statement is not legal advice to you. This Disclosure Statement may not
be relied upon for any purpose other than to determine how to vote on the Plan or object to
confirmation of the Plan.

     F.      No admission made

       Nothing contained herein or in the Plan will constitute an admission of, or will be deemed
evidence of, the tax or other legal effects of the Plan on the Debtors, the Liquidating Trust, the
Liquidating Trustee, the Watson Valve Liquidating Trust, the Watson Valve Trustee, or Holders
of Claims or Interests.


                     VOTING PROCEDURES AND REQUIREMENTS

     A.      The Plan Must Satisfy the Confirmation Requirements for Separate Plans for
             Watson Grinding and Watson Valve

       Although the Plan is referred to in the singular and is being solicited jointly by the Plan
Proponent, the Plan constitutes two separate plans for Watson Grinding and Watson Valve. The
Plan Proponent must satisfy the burden of establishing the requirements for confirmation of a
Plan for each Debtor based on the classification of Claims against and Interests in each Debtor.

     B.      Parties Entitled To Vote

        Under the Bankruptcy Code, only holders of claims or interests in “impaired” classes are
entitled to vote on a plan. Under section 1124 of the Bankruptcy Code, a class of claims or
interests is deemed to be “impaired” under a plan unless (i) the plan leaves unaltered the legal,
equitable, and contractual rights to which such claim or interest entitles the holder thereof or (ii)
notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

        If, however, the holder of an impaired claim or interest will not receive or retain any
distribution under the plan on account of such claim or interest, the Bankruptcy Code deems such
holder to have rejected the plan, and, accordingly, holders of such claims and interests do not
vote on the plan. If a claim or interest is not impaired by the plan, the Bankruptcy Code
conclusively presumes the holder of such claim or interest to have accepted the plan and,
accordingly, holders of such claims and interests are not entitled to vote on the plan.

       A vote may be disregarded if the Bankruptcy Court determines, pursuant to section
1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in
accordance with the provisions of the Bankruptcy Code.

                                                 31
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 65
                                                                66 of
                                                                   of 115
                                                                      116



        The Bankruptcy Code defines “acceptance” of a plan by a class of: (i) claims as
acceptance by creditors in that class that hold at least two-thirds (2/3) in dollar amount and more
than one-half (1/2) in number of the claims that cast ballots for acceptance or rejection of the
plan; and (ii) interests as acceptance by interest holders in that class that hold at least two-thirds
(2/3) in dollar amount of the interests that cast ballots for acceptance or rejection of the plan.

        Classes 3, 4, 5, 6, 7, 10, 11, 12, 13, and 14 are Impaired under the Plan and entitled to
vote to accept or reject the Plan.

     C.      Voting Deadline

       Before voting to accept or reject the Plan, each holder of a Claim entitled to vote (an
“Eligible Holder”) should carefully review the Plan

     Ballots will be provided for holders of voting Claims as of the Voting Record Date (i.e.,
December 18, 2020) to vote to accept or reject the Plan.

        Each Ballot contains detailed voting instructions and sets forth in detail, among other
things, the deadlines, procedures, and instructions for voting to accept or reject the Plan, the
Voting Record Date for voting purposes, and the applicable standards for tabulating Ballots. The
Committee has engaged Stretto as their solicitation agent (the “Solicitation Agent”) to assist in
the transmission of voting materials and in the tabulation of votes with respect to the Plan.

      FOR YOUR VOTE TO BE COUNTED, YOUR VOTE MUST BE RECEIVED BY THE
SOLICITATION AGENT AT THE ADDRESS SET FORTH BELOW ON OR BEFORE THE
VOTING DEADLINE OF DECEMBER 28, 2020 AT 5:00 P.M. CENTRAL STANDARD
TIME, UNLESS EXTENDED BY THE PLAN PROPONENT.

        A Ballot may be delivered via the Solicitation Agent’s online portal at
cases.stretto.com/watson. Click on the “File a Ballot” section of the website and follow the
instructions to submit your Ballot. You will need the unique password printed on the cover sheet
to the ballot in order to retrieve and submit your customized electronic Ballot. Each Password is
to be used solely for voting only those Claims described in Item 1 of your electronic Ballot.

        The Solicitation Agent’s online portal is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted. Creditors who cast a Ballot using the
Solicitation Agent’s online portal should NOT also submit a hardcopy Ballot.

       If you vote by mail, your Ballot must be returned by the Voting Deadline with an original
signed copy, by first class mail, overnight courier, or personal delivery, to:




                                                 32
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 66
                                                                67 of
                                                                   of 115
                                                                      116



               BY FIRST CLASS MAIL, OVERNIGHT COURIER OR HAND
                                 DELIVERY TO:
                          WATSON BALLOT PROCESSING
                                  C/O STRETTO
                             8269 E 23RD AVE, STE 275
                                DENVER, CO 80238


      FOR YOUR VOTE TO BE COUNTED, YOUR BALLOT MUST BE ACTUALLY
RECEIVED BY THE SOLICITATION AGENT NO LATER THAN THE VOTING
DEADLINE. ANY BALLOT THAT IS EXECUTED AND RETURNED BUT WHICH DOES
NOT INDICATE EITHER AN ACCEPTANCE OR REJECTION OF THE PLAN OR
INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN WILL NOT BE
COUNTED. THE COMMITTEE MAY REQUEST THAT THE SOLICITATION AGENT
ATTEMPT TO CONTACT SUCH VOTERS TO CURE ANY SUCH DEFECTS IN THE
BALLOTS. THE FAILURE TO VOTE DOES NOT CONSTITUTE A VOTE TO ACCEPT OR
REJECT THE PLAN. AN OBJECTION TO THE CONFIRMATION OF THE PLAN, EVEN IF
TIMELY SERVED, DOES NOT CONSTITUTE A VOTE TO ACCEPT OR REJECT THE
PLAN.

     D.      Voting Procedures

        The Committee is providing copies of this Plan and Disclosure Statement (including all
exhibits and appendices) and related materials and a Ballot (collectively, a “Solicitation
Package”) to each Eligible Holder.

       Except as provided below, unless the Ballot is timely submitted to the Solicitation Agent
before the Voting Deadline, together with any other documents required by such Ballot, the
Committee may reject such Ballot as invalid, and therefore decline to utilize it in connection with
seeking confirmation of the Plan.

        The delivery of an accepting Ballot pursuant to the procedures set forth above will
constitute the agreement of the creditor with respect to such Ballot to accept (i) all of the terms
of, and conditions to, this Solicitation; and (ii) the terms of the Plan including the injunction and
exculpations set forth therein. All parties in interest that do not vote to accept the Plan retain their
right to object to confirmation of the Plan pursuant to section 1128 of the Bankruptcy Code.

        Any party who has previously submitted to the Solicitation Agent prior to the Voting
Deadline a properly completed Ballot may revoke such Ballot and change its vote by submitting
to the Solicitation Agent prior to the Voting Deadline a subsequent, properly completed Ballot
for acceptance or rejection of the Plan.

        The Plan Supplement, once filed, will be made available for review on the website of the
Solicitation Agent at cases.stretto.com/watson. The Plan Proponent reserves the right to modify,
amend, supplement, restate or withdraw the Plan Supplement after it is filed. The Committee will
file and make available on the Solicitation Agent’s website site any modified, amended,
supplemented or restated Plan Supplement as promptly as possible.


                                                  33
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 67
                                                                68 of
                                                                   of 115
                                                                      116



     E.      Waivers of Defects, Irregularities, etc.

         Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form,
eligibility (including time of receipt), acceptance, and revocation or withdrawals of Ballots will
be determined by the Solicitation Agent and/or the Committee, as applicable. The Committee
reserves the right to reject any Ballot submitted by any of the creditors not in proper form, the
acceptance of which would, in the opinion of the Committee or their counsel, as applicable, be
unlawful. The Committee further reserves the right to waive any defects or irregularities or
conditions of delivery as to any particular Ballot by any of the creditors. The interpretation
(including the Ballot and the respective instructions thereto) by the Committee unless otherwise
directed by the Bankruptcy Court, will be final and binding on all parties. Unless waived, any
defects or irregularities in connection with deliveries of Ballots must be cured within such time
as the Committee (or the Bankruptcy Court) determines. Neither the Committee nor any other
person will be under any duty to provide notification of defects or irregularities with respect to
deliveries of Ballots nor will any of them incur any liabilities for failure to provide such
notification. Unless otherwise directed by the Bankruptcy Court, delivery of such Ballots will not
be deemed to have been made until such irregularities have been cured or waived. Ballots
previously furnished (and as to which any irregularities have not theretofore been cured or
waived) will be invalidated.


                              CONFIRMATION OF THE PLAN

     A.      Confirmation Hearing

       A hearing is scheduled for December 30, 2020 at 9:00 a.m. (prevailing Central time) to
consider confirmation of the Plan (the “Confirmation Hearing”).

     B.      Requirements for Confirmation of the Plan

       1.      Requirements of Section 1129(a) of the Bankruptcy Code

        At the Confirmation Hearing, the Bankruptcy Court will determine whether the
confirmation requirements specified in section 1129(a) of the Bankruptcy Code have been
satisfied including, without limitation, whether:

                   (a)    All provisions, terms and conditions hereof are approved in the
                          Confirmation Order.

                   (b)    the Plan complies with the applicable provisions of the Bankruptcy
                          Code;

                   (c)    the Plan Proponent has complied with the applicable provisions of the
                          Bankruptcy Code;

                   (d)    the Plan has been proposed in good faith and not by any means
                          forbidden by law;


                                                34
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 68
                                                                69 of
                                                                   of 115
                                                                      116



                   (e)     any payment made or promised by the Plan Proponent, the Grinding
                           Chapter 11 Trustee, the Valve Chapter 11 Trustee, the Debtors or by a
                           person issuing securities or acquiring property under the Plan, for
                           services or for costs and expenses in or in connection with the Chapter
                           11 Cases, or in connection with the Plan and incident to the Chapter 11
                           Cases, has been disclosed to the Bankruptcy Court, and any such
                           payment made before confirmation of the Plan is reasonable, or if such
                           payment is to be fixed after confirmation of the Plan, such payment is
                           subject to the approval of the Bankruptcy Court as reasonable;

                   (f)     with respect to each Class of Claims or Interests, each Holder of an
                           impaired Claim or impaired Interest has either accepted the Plan or
                           will receive or retain under the Plan, on account of such Holder’s
                           Claim or Interest, property of a value, as of the Effective Date of the
                           Plan, that is not less than the amount such Holder would receive or
                           retain if the Debtor was liquidated on the Effective Date of the Plan
                           under chapter 7 of the Bankruptcy Code;

                   (g)     except to the extent the Plan meets the requirements of section 1129(b)
                           of the Bankruptcy Code (as discussed further below), each Class of
                           Claims either accepted the Plan or is not impaired under the Plan;

                   (h)     except to the extent that the Holder of a particular Claim has agreed to
                           a different treatment of such Claim, the Plan provides that
                           Administrative Claims and Other Priority Claims will be paid in full
                           on the Effective Date, and that Priority Tax Claims will receive either
                           payment in full on the Effective Date or deferred cash payments over a
                           period not exceeding five years after the Petition Date, of a value, as of
                           the Effective Date of the Plan, equal to the allowed amount of such
                           Claims;

                   (i)     at least one Class of Impaired Claims has accepted the Plan,
                           determined without including any acceptance of the Plan by any
                           insider holding a Claim in such Class; and

                   (j)     all fees payable under section 1930 of title 28, as determined by the
                           Bankruptcy Court at the Confirmation Hearing, have been paid or the
                           Plan provides for the payment of all such fees on the Effective Date of
                           the Plan.

       2.      Best Interests Test

        As noted above, with respect to each impaired class of claims and equity interests,
confirmation of a plan requires that each such holder either (i) accept the plan or (ii) receive or
retain under the plan property of a value, as of the effective date of the plan, that is not less than
the value such holder would receive or retain if the debtor was liquidated under chapter 7 of the
Bankruptcy Code. This requirement is referred to as the “best interests test.”


                                                 35
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 69
                                                                70 of
                                                                   of 115
                                                                      116



        This test requires a bankruptcy court to determine what the holders of allowed claims and
allowed equity interests in each impaired class would receive from a liquidation of the debtor’s
assets and properties in the context of liquidation under chapter 7 of the Bankruptcy Code. To
determine if a plan is in the best interests of each impaired class, the value of the distributions
from the proceeds of the liquidation of the debtor’s assets and properties (after subtracting the
amounts attributable to the aforesaid claims) is then compared with the value offered to such
classes of claims and equity interests under the plan.

       The attached Liquidation Analysis reflects that under the Plan all Holders of Impaired
Claims and Interests will receive property with a value equal to or in excess of the value such
Holder would receive in a liquidation under chapter 7 of the Bankruptcy Code.

       Any liquidation analysis is speculative, as it is necessarily premised on assumptions and
estimates which are inherently subject to significant uncertainties and contingencies, many of
which would be beyond the control of the Plan Proponent. The Liquidation Analysis is solely for
the purpose of disclosing to Holders of Claims and Interests the effects of a hypothetical chapter
7 liquidation of the Debtors, subject to the assumptions set forth therein. There can be no
assurance as to values that would actually be realized in a chapter 7 liquidation nor can there be
any assurance that the Bankruptcy Court will accept the Committee’s conclusions or concur with
such assumptions in making its determinations under section 1129(a)(7) of the Bankruptcy Code.

       3.      Feasibility

        Also as noted above, section 1129(a)(11) of the Bankruptcy Code requires that a debtor
demonstrate that confirmation of a plan is not likely to be followed by liquidation or the need for
further financial reorganization. For purposes of determining whether the Plan meets this
requirement, the Plan Proponent has analyzed the Liquidating Trustee’s and Watson Valve
Trustee’s ability to meet the obligations under the Plan. The Plan provides for appropriate
reserves for payment of Secured Claims and Administrative and Priority Claims and mechanisms
for consummation of distributions to all Holders of Claims entitled to them. Thus, the Plan
Proponent believes that, following consummation of the Plan, there will be no need for further
liquidation or reorganization.

       4.      Non-Consensual Confirmation

       The Bankruptcy Court may still confirm the Plan at the request of the Plan Proponent if,
as to each impaired Class that rejects or is presumed to reject the Plan, the Plan “does not
discriminate unfairly” and is “fair and equitable” with respect to such Classes, pursuant to
section 1129(b) of the Bankruptcy Code. Both of these requirements are in addition to other
requirements established by case law interpreting the statutory requirements.

                   (a)       Unfair Discrimination Test

                       The “unfair discrimination” test applies to classes of claims or interests
               that are of equal priority and are receiving different treatment under a plan. A
               chapter 11 plan does not discriminate unfairly, within the meaning of the
               Bankruptcy Code, if the legal rights of a dissenting class are treated in a manner
               consistent with the treatment of other classes whose legal rights are substantially

                                                 36
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 70
                                                                71 of
                                                                   of 115
                                                                      116



               similar to those of the dissenting class and if no class of claims or interests
               receives more than it legally is entitled to receive for its claims or interests. This
               test does not require that the treatment be the same or equivalent, but that such
               treatment is “fair.”

                       The Plan Proponent believes the Plan satisfies the “unfair discrimination”
               test. Claims of equal priority are receiving comparable treatment.

                   (b)     Fair and Equitable Test

                       The “fair and equitable” test applies to classes of different priority and
               status (e.g., secured versus unsecured) and includes the general requirement that
               no class of claims receive more than 100% of the allowed amount of the claims in
               such class. As to dissenting classes, the test sets different standards depending on
               the type of claims in such class. The Plan Proponent submits that if the Plan
               Proponent “crams down” the Plan pursuant to section 1129(b) of the Bankruptcy
               Code, the Plan is structured so that it satisfies the “fair and equitable”
               requirement.

                      The Plan Proponent believes that the Plan and the treatment of all Classes
               of Claims and Interests under the Plan satisfy the requirements for nonconsensual
               Confirmation of the Plan.


   ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

        The Plan Proponent has concluded that the Plan is the best available alternative and will
maximize recoveries to parties in interest, assuming confirmation and consummation of the Plan.
If the Plan is not confirmed and consummated, the alternatives to the Plan are (i) the preparation
and presentation of an alternative plan of reorganization or liquidation, or (ii) a liquidation under
chapter 7 of the Bankruptcy Code.

     A.      Alternative Plan

       If the Plan is not confirmed, the Plan Proponent (or the Grinding Chapter 11 Trustee,
Valve Chapter 11 Trustee, John Watson, or any other party in interest) could attempt to
formulate a different plan. Such a plan would likely be an orderly liquidation of the Debtors’
remaining assets which is already occurring under the Plan. The Plan Proponent, however,
submits that the Plan, as described herein, enables creditors to realize the most value under the
circumstances.

     B.      Liquidation Under Chapter 7 or Applicable Non-Bankruptcy Law

        If no plan can be confirmed, the Chapter 11 Cases may be converted to a case under
chapter 7 of the Bankruptcy Code in which chapter 7 trustees would be elected or appointed to
liquidate the assets of the Debtors for distribution to creditors in accordance with the priorities
established by the Bankruptcy Code. The effect a chapter 7 liquidation would have on the


                                                 37
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 71
                                                                72 of
                                                                   of 115
                                                                      116



recovery of holders of allowed Claims and Interests is set forth in the Liquidation Analysis
attached hereto.

        The Plan Proponent believes that liquidation under chapter 7 would result in smaller
distributions to creditors than those provided for in the Plan because of the delay resulting from
the conversion of the cases and the additional administrative expenses associated with the
appointment of a trustee and the trustee’s retention of professionals who would be required to
become familiar with the many legal and factual issues in the Debtors’ Chapter 11 Cases.


                 ADMINISTRATIVE CLAIMS AND PRIORITY CLAIMS

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims
and Priority Tax Claims have not been classified and thus are excluded from the Classes of
Claims and Interests set forth in Article IX.

     A.      Administrative Claims

         Except with respect to Administrative Claims that are Professional Fee Claims and except
to the extent that a Holder of an Allowed Administrative Claim against Watson Grinding and the
Liquidating Trustee agree to less favorable treatment for such Holder’s Allowed Administrative
Claim, and to the extent not paid before the Effective Date, each Holder of an Allowed
Administrative Claim against Watson Grinding shall be paid in full from Liquidating Trust Cash
on the later of (i) on or as soon as reasonably practicable after the Effective Date if such
Administrative Claim is Allowed as of the Effective Date, (ii) on or as soon as reasonably
practicable after the date on which such Administrative Claim becomes an Allowed Claim; or
(iii) the date such Allowed Administrative Claim becomes due and payable.

         Except with respect to Administrative Claims that are Professional Fee Claims and except
to the extent that a Holder of an Allowed Administrative Claim against Watson Valve and the
Watson Valve Trustee agree to less favorable treatment for such Holder’s Allowed
Administrative Claim, and to the extent not paid before the Effective Date, each Holder of an
Allowed Administrative Claim against Watson Valve shall be paid in full from Valve Cash on
the later of (i) on or as soon as reasonably practicable after the Effective Date if such
Administrative Claim is Allowed as of the Effective Date, (ii) on or as soon as reasonably
practicable after the date on which such Administrative Claim becomes an Allowed Claim; or
(iii) the date such Allowed Administrative Claim becomes due and payable.

       Except as otherwise provided in this Article VIII.A and except with respect to
Administrative Claims that are Professional Fee Claims, requests for payment of Administrative
Claims against Watson Grinding arising between June 4, 2020 and the Effective Date, or against
Watson Valve prior to the Effective Date, must be Filed and served on the Liquidating Trustee or
Watson Valve Trustee, as applicable, pursuant to the procedures specified in the Confirmation
Order and the notice of entry of the Confirmation Order no later than the Administrative Claims
Bar Date. Holders of Administrative Claims that are required to, but do not, File and serve a
request for payment of such Administrative Claims by such dates shall be forever barred,
estopped, and enjoined from asserting such Administrative Claims against the Debtors or


                                               38
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 72
                                                                73 of
                                                                   of 115
                                                                      116



property of the Estates and such Administrative Claims shall be deemed discharged as of the
Effective Date. Objections to such requests, if any, must be Filed and served on the requesting
party no later than 90 days after the Effective Date or such other date fixed by the Bankruptcy
Court. Notwithstanding the foregoing, no request for payment of an Administrative Claim need
be Filed with respect to an Administrative Claim previously Allowed.

     B.      Professional Compensation

       Each Holder of a Professional Fee Claim against Watson Grinding shall be paid in
respect of such Professional Fee Claim from Liquidating Trust Cash, in full, promptly after
Bankruptcy Court approval of the Professional Fee Claim by a Final Order. Final fee
applications for any Professional Fee Claim shall be Filed within thirty (30) days of the Effective
Date and such applications and objections thereto (if any) shall be Filed in accordance with and
comply in all respects with the Bankruptcy Code and the Bankruptcy Rules.

        Each Holder of a Professional Fee Claim against Watson Valve shall be paid in respect of
such Professional Fee Claim from Valve Cash, in full, promptly after Bankruptcy Court approval
of the Professional Fee Claim by a Final Order. Final fee applications for any Professional Fee
Claim shall be Filed within thirty (30) days of the Effective Date and such applications and
objections thereto (if any) shall be Filed in accordance with and comply in all respects with the
Bankruptcy Code and the Bankruptcy Rules.

     C.      Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim and the Liquidating
Trustee agree to less favorable treatment for such Holder’s Allowed Priority Tax Claim, each
Holder of an Allowed Priority Tax Claim shall be treated in accordance with the terms set forth
in section 1129(a)(9)(C) of the Bankruptcy Code. In the event an Allowed Priority Tax Claim is
also a Secured Tax Claim, such Claim shall, to the extent it is Allowed, be treated as a Secured
Claim if such Claim is not otherwise paid in full.

       Allowed Priority Tax Claims against Watson Grinding shall be paid from Liquidating
Trust Cash. Allowed Priority Tax Claims against Watson Valve shall be paid from Valve Cash.

     D.      Statutory Fees

        All fees due and payable by Watson Grinding pursuant to section 1930 of the Judicial
Code prior to the Effective Date shall be paid by the Grinding Chapter 11 Trustee on the
Effective Date or as soon as reasonably practicable thereafter by the Liquidating Trustee. After
the Effective Date, the Liquidating Trustee shall pay any and all post-Effective Date fees
pursuant to section 1930 of the Judicial Code when due and payable from Liquidating Trust
Cash. The Liquidating Trustee shall File all quarterly reports due prior to the Effective Date
when they become due, in a form reasonably acceptable to the U.S. Trustee. After the Effective
Date, the Liquidating Trustee shall File with the Bankruptcy Court quarterly post-confirmation
operating reports when they become due, in a form reasonably acceptable to the U.S. Trustee,
which reports shall include a separate schedule of disbursements made by the Liquidating
Trustee during the applicable period, attested to by an authorized representative of the
Liquidating Trustee.

                                                39
10834324v7
        Case
        Case 20-30967
             20-30967 Document
                      Document 1029
                               1025 Filed
                                    Filed in
                                          onTXSB  on 12/30/20
                                             12/29/20 in TXSB Page
                                                              Page 73
                                                                   74 of
                                                                      of 115
                                                                         116



        All fees due and payable by Watson Valve pursuant to section 1930 of the Judicial Code
prior to the Effective Date shall be paid by the Valve Chapter 11 Trustee on the Effective Date or
as soon as reasonably practicable thereafter by the Watson Valve Trustee. After the Effective
Date, the Watson Valve Trustee shall pay any and all post-Effective Date fees pursuant to section
1930 of the Judicial Code when due and payable from Valve Cash. The Watson Valve Trustee
shall File all quarterly reports due prior to the Effective Date when they become due, in a form
reasonably acceptable to the U.S. Trustee. After the Effective Date, the Watson Valve Trustee
shall File with the Bankruptcy Court quarterly post-confirmation operating reports when they
become due, in a form reasonably acceptable to the U.S. Trustee, which reports shall include a
separate schedule of disbursements made by the Watson Valve Trustee during the applicable
period, attested to by an authorized representative of the Watson Valve Trustee.


             CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

        A.     Introduction

        Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of
Classes of Claims against and Interests in the Debtors. A Claim or Interest is classified in a
particular Class only to the extent that the Claim or Interest qualifies within the description of
that Class and is classified in other Classes to the extent that any portion of the Claim or Interest
qualifies within the description of such other Classes. A Claim is also classified in a particular
Class for the purpose of receiving Distributions pursuant to the Plan only to the extent that such
Claim is an Allowed Claim in that Class and has not been paid, released, or otherwise satisfied
prior to the Effective Date.

        B.     Summary of Classification

       The classification of Claims and Interests against the Debtors pursuant to the Plan is as
follows:

 Class                    Claim/Interest                     Status            Voting Rights
   1          Secured Claims Against Watson                Unimpaired       Not Entitled to Vote
              Grinding                                                      (Deemed to Accept)
    2         Other Priority Claims Against Watson         Unimpaired       Not Entitled to Vote
              Grinding                                                      (Deemed to Accept)
    3         January 24 Claims Against Watson              Impaired          Entitled to Vote
              Grinding
    4         Minor Damage Claims Against Watson            Impaired          Entitled to Vote
              Grinding
    5         General Unsecured Claims Against              Impaired          Entitled to Vote
              Watson Grinding
    6         Indemnity Claims Against Watson               Impaired          Entitled to Vote
              Grinding
    7         Interests in Watson Grinding                  Impaired          Entitled to Vote

                                                 40
10834324v7
        Case
        Case 20-30967
             20-30967 Document
                      Document 1029
                               1025 Filed
                                    Filed in
                                          onTXSB  on 12/30/20
                                             12/29/20 in TXSB Page
                                                              Page 74
                                                                   75 of
                                                                      of 115
                                                                         116




 Class                     Claim/Interest                     Status            Voting Rights
    8         Secured Claims Against Watson Valve          Unimpaired        Not Entitled to Vote
                                                                             (Deemed to Reject)
    9         Other Priority Claims Against Watson         Unimpaired        Not Entitled to Vote
              Valve                                                          (Deemed to Accept)
   10         January 24 Claims Against Watson               Impaired          Entitled to Vote
              Valve
   11         Minor Damage Claims Against Watson             Impaired          Entitled to Vote
              Valve
   12         General Unsecured Claims Against               Impaired          Entitled to Vote
              Watson Valve
   13         Indemnity Claims Against Watson Valve          Impaired          Entitled to Vote
   14         Interests in Watson Valve                      Impaired          Entitled to Vote

        C.     Treatment of Claims Against and Interests

         1.      Class 1: Secured Claims Against Watson Grinding

                     (a)    Treatment: Except to the extent that a Holder of an Allowed Secured
                            Claim against Watson Grinding and the Liquidating Trustee agree to a
                            less favorable treatment, in full and final satisfaction, compromise,
                            settlement, and release of and in exchange for each Allowed Secured
                            Claim, each such Holder shall receive payment from the Liquidating
                            Trust Cash on the Initial Distribution Date in an amount equal to the
                            proceeds of the collateral securing such Holder’s Allowed Secured
                            Claim after satisfaction in full of all superior liens up to the amount of
                            the Allowed Secured Claim.

                     (b)    Voting: Class 1 Claims are Unimpaired under the Plan and are deemed
                            to have accepted the Plan pursuant to section 1126(f) of the
                            Bankruptcy Code and, therefore, Holders of Secured Claims are not
                            entitled to vote to accept or reject the Plan.

         2.      Class 2: Other Priority Claims Against Watson Grinding

                     (a)    Treatment: Except to the extent that a Holder of an Allowed Other
                            Priority Claim against Watson Grinding and the Liquidating Trustee
                            agree to a less favorable treatment, in full and final satisfaction,
                            compromise, settlement, and release of and in exchange for each
                            Allowed Other Priority Claim, each such Holder shall receive payment
                            from the Liquidating Trust Cash on the Initial Distribution Date equal
                            to the unpaid portion of the Allowed Other Priority Claim.

                     (b)    Voting: Class 2 Claims are Unimpaired under the Plan and are deemed
                            to have accepted the Plan pursuant to section 1126(f) of the

                                                  41
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 75
                                                                76 of
                                                                   of 115
                                                                      116



                       Bankruptcy Code and, therefore, Holders of Other Priority Claims are
                       not entitled to vote to accept or reject the Plan.

       3.    Class 3: January 24 Claims Against Watson Grinding

                (a)    Treatment: Each Holder of an Allowed January 24 Claim shall receive
                       their Pro Rata distribution of (i) the Grinding Insurance Recovery, and
                       (ii) the Liquidating Trust Cash remaining on the Final Distribution
                       Date; provided, however, that any January 24 Claim that was asserted
                       against both Watson Grinding and Watson Valve shall be permitted
                       only a single recovery based on the Allowed amount of such January
                       24 Claim.

                       For purposes of calculating the Pro Rata distribution of the Liquidating
                       Trust Cash on the Final Distribution Date, the Allowed Amount of the
                       Class 3 January 24 Claims shall first be reduced by the amount of the
                       Grinding Insurance Recovery and Valve Insurance Recovery received
                       by January 24 Claimants.

                (b)    Voting: Class 3 Claims are Impaired. The Holders of January 24
                       Claims against Watson Grinding are entitled to vote to accept or reject
                       the Plan.

       4.    Class 4: Minor Damage Claims Against Watson Grinding

                (a)    Treatment: In full and final satisfaction, compromise, settlement, and
                       release of and in exchange for each Allowed Minor Damage Claim,
                       each Holder of an Allowed Minor Damage Claim against Watson
                       Grinding will receive payment from the Liquidating Trust Cash equal
                       to the lesser of (a) the face amount of such Claim, or (b) $2,000.00;
                       provided, however, that any Minor Damage Claim that was asserted
                       against both Watson Grinding and Watson Valve shall be permitted
                       only a single recovery based on the Allowed amount of their Minor
                       Damage Claim.

                (b)    Voting: Class 4 Minor Damage Claims against Watson Grinding are
                       Impaired. The Holders of Minor Damage Claims against Watson
                       Grinding are entitled to vote to accept or reject the Plan.

       5.    Class 5: General Unsecured Claims Against Watson Grinding

                (a)    Treatment: The Holders of Class 5 Claims, including the Allowed
                       Matheson Contractual Indemnity Claim but excluding the General
                       Unsecured Claim asserted by Valve against Grinding, shall be paid, in
                       full, without interest, on the Initial Distribution Date.

                       If the Holder of the Allowed Matheson Contractual Indemnity Claim
                       obtains a Final judgment from a court of competent jurisdiction

                                            42
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 76
                                                                77 of
                                                                   of 115
                                                                      116



                        declaring that such Claim entitles it to directly assert a right to the
                        Grinding Insurance Recovery, then the Holder of such claim shall
                        additionally receive a Pro Rata share, with Class 3, of the Grinding
                        Insurance Recovery; provided, further, that any such Claim that was
                        asserted against both Grinding and Valve shall be permitted only a
                        single recovery based on the Allowed amount of such Claim.

                (b)     Voting: Class 5 Claims are Impaired. The Holders of General
                        Unsecured Claims against Watson Grinding are entitled to vote to
                        accept or reject the Plan.

       6.    Class 6: Indemnity Claims Against Watson Grinding

                (a)     Treatment: Each Holder of an Indemnity Claim against Watson
                        Grinding, other than the Allowed Matheson Indemnity Claim, will
                        receive a Pro Rata share of the Liquidating Trust Cash remaining on
                        the Final Distribution Date; provided that if a Holder of an Indemnity
                        Claim against Watson Grinding obtains a Final judgment from a court
                        of competent jurisdiction declaring that its Indemnity Claim entitles it
                        to directly assert a right to the Grinding Insurance Recovery prior to
                        the Final Distribution Date, then the Holder of such an Indemnity
                        Claim shall additionally receive a Pro Rata share, with Class 3, of the
                        Grinding Insurance Recovery; provided, further, that any Grinding
                        Indemnity Claim that was asserted against both Grinding and Valve
                        shall be permitted only a single recovery based on the Allowed amount
                        of such Indemnity Claim.

                         Matheson shall have an allowed Class 6 Claim in the amount of
                        $5,000,000 solely for voting purposes. For all other purposes, all
                        Class 6 Indemnity Claims, including Matheson’s Class 6 Indemnity
                        Claim, shall be liquidated in the remanded state court proceeding.
                        However, Matheson shall receive no further distribution on account of
                        its Class 6 Claim from Liquidating Trust Cash, and its only source of
                        recovery on its Class 6 Claim shall be against the Grinding Insurance
                        Recovery.

                (b)     Voting: Class 6 Indemnity Claims against Watson Grinding are
                        Impaired. The Holders of Indemnity Claims against Watson Grinding
                        are entitled to vote to accept or reject the Plan.

       7.    Class 7: Interests in Watson Grinding

                (a)     Treatment: Following the payment in full of all Allowed Claims in
                        Classes 1, 2, 3, 4, 5, and 6, the Holders of Interests in Watson Grinding
                        will receive their Pro Rata share of any remaining Liquidating Trust
                        Cash on the Final Distribution Date.



                                             43
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 77
                                                                78 of
                                                                   of 115
                                                                      116



                (b)    Voting: Class 7 is Impaired. Holders of Interests in Watson Grinding
                       are entitled to vote to accept or reject the Plan.

       8.    Class 8: Secured Claims Against Watson Valve

                (a)    Treatment: Except to the extent that a Holder of an Allowed Secured
                       Claim against Watson Valve and the Watson Valve Trustee agree to a
                       less favorable treatment, in full and final satisfaction, compromise,
                       settlement, and release of and in exchange for each Allowed Secured
                       Claim, each such Holder shall receive a payment from the Valve Cash
                       on the Initial Distribution Date in an amount equal to the proceeds of
                       the collateral securing such Holder’s Allowed Secured Claim, plus
                       interest at the greater of the rate provided by applicable law or the Plan
                       Rate, up to the amount of the Allowed Secured Claim.

                (b)    Voting: Class 8 Claims are Unimpaired under the Plan and are deemed
                       to have accepted the Plan pursuant to section 1126(f) of the
                       Bankruptcy Code and, therefore, Holders of Secured Claims against
                       Watson Valve are not entitled to vote to accept or reject the Plan.

       9.    Class 9: Other Priority Claims Against Watson Valve

                (a)    Treatment: Except to the extent that a Holder of an Allowed Other
                       Priority Claim and the Watson Valve Trustee agree to a less favorable
                       treatment, in full and final satisfaction, compromise, settlement, and
                       release of and in exchange for each Allowed Other Priority Claim,
                       each such Holder shall receive a payment from the Valve Cash on the
                       Initial Distribution Date equal to the unpaid portion of the Allowed
                       Other Priority Claim, plus interest at the greater of the rate provided by
                       applicable law or the Plan Rate.

                (b)    Voting: Class 9 Claims are Unimpaired under the Plan and are deemed
                       to have accepted the Plan pursuant to section 1126(f) of the
                       Bankruptcy Code and, therefore, Holders of Other Priority Claims
                       against Watson Valve are not entitled to vote to accept or reject the
                       Plan.

       10.   Class 10: January 24 Claims Against Watson Valve

                (a)    Treatment: Each Holder of an Allowed January 24 Claim shall receive
                       their Pro Rata distribution of (i) the Valve Insurance Recovery, and (ii)
                       the proceeds of any Valve Claims and Retained Causes of Action;
                       provided, however, that any January 24 Claim that was asserted
                       against both Watson Grinding and Watson Valve shall be permitted
                       only a single recovery based on the Allowed amount of such January
                       24 Claim.



                                             44
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 78
                                                                79 of
                                                                   of 115
                                                                      116



                       For purposes of calculating the Pro Rata distribution of the Valve Cash
                       on the Final Distribution Date, the Allowed Amount of the Class 10
                       January 24 Claims shall first be reduced by the amount of the Valve
                       Insurance Recovery and Grinding Insurance Recovery received by
                       January 24 Claimants.

                (b)    Voting: Class 10 is Impaired. Holders of January 24 Claims Against
                       Watson Valve are entitled to vote to accept or reject the Plan.

       11.   Class 11: Minor Damage Claims Against Watson Valve

                (a)    Treatment: In full and final satisfaction, compromise, settlement, and
                       release of and in exchange for each Allowed Minor Damage Claim,
                       each Holder of an Allowed Minor Damage Claim against Watson
                       Valve will receive the same treatment as Class 4 Minor Damage
                       Claims against Watson Grinding which will be paid from Liquidating
                       Trust Cash.

                (b)    Voting: Class 11 is Impaired. Holders of Minor Damage Claims
                       against Watson Valve are entitled to vote to accept or reject the Plan.

       12.   Class 12: General Unsecured Claims Against Watson Valve

                (a)    Treatment: The Holders of Class 12 General Unsecured Claims
                       against Watson Valve shall be paid, in full, without interest, on the
                       Initial Distribution Date from Valve Cash.

                (b)    Voting: Class 12 is Impaired. Holders of General Unsecured Claims
                       against Watson Valve are entitled to vote to accept or reject the Plan.

       13.   Class 13: Indemnity Claims Against Watson Valve

                (a)    Treatment: Each Holder of an Indemnity Claim against Watson Valve
                       shall receive a Pro Rata share of the proceeds of any Valve Claims and
                       Retained Causes of Action on the Final Distribution Date; provided
                       that if a Holder of an Indemnity Claim against Watson Valve obtains a
                       Final judgment from a court of competent jurisdiction declaring that its
                       Indemnity Claim entitles it to directly assert a right to the Valve
                       Insurance Recovery prior to the Final Distribution Date, then the
                       Holder of such an Indemnity Claim shall additionally receive a Pro
                       Rata share, with Class 10 Claim, of the Valve Insurance Recovery;
                       provided, further, that any Indemnity Claim asserted against both
                       Grinding and Valve shall be permitted only a single recovery based on
                       the Allowed amount of such Indemnity Claim.

                       Matheson shall have an allowed Class 13 Claim in the amount of
                       $5,000,000 solely for voting purposes. For all other purpose (including
                       distribution), all Class 13 Indemnity Claim, including Matheson’s

                                            45
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 79
                                                                80 of
                                                                   of 115
                                                                      116



                          Class 13 Indemnity Claim, shall be liquidated in the remanded state
                          court proceeding. However, Matheson shall receive no further
                          distribution on account of its Class 13 Claim from the proceeds of any
                          Valve Claims and Retained Causes of Action, and its only source of
                          recovery on its Class 13 Claim shall be solely against the Valve
                          Insurance Recovery.

                  (b)     Voting: Class 13 is Impaired. Holders of Indemnity Claims against
                          Watson Valve are entitled to vote to accept or reject the Plan.

       14.    Class 14: Interests in Watson Valve

                  (a)     Treatment: After payment of, or reserves established for, Allowed
                          Claims in Classes 8, 9, 11 and 12, and Watson Valve’s funding of the
                          Valve Liquidating Trust and the $1,000,000 transfer to the Grinding
                          Liquidating Trust, the remaining Valve Cash shall be distributed to the
                          holders of Interests in Watson Valve on a Pro Rata basis based on
                          ownership percentages on the Effective Date. In the event Classes 10
                          and 13 are fully satisfied In the event Classes 10 and 13 are fully
                          satisfied or there are no Allowed Claims in Classes 10 and 13,
                          remaining proceeds from Valve Claims and Retained Causes of Action
                          (if any) shall be distributed to the holders of Interests in Watson Valve
                          on a Pro Rata basis based on ownership percentages on the Effective
                          Date.

                  (b)     Voting: Class 14 is Impaired. Holders of Interests in Watson Valve are
                          entitled to vote to accept or reject the Plan.

     D.      Provision Governing Unimpaired Claims

        Nothing under the Plan shall affect the Debtors’, Estates’, the Liquidating Trustee’s, or
the Watson Valve Trustee’s rights in respect of any Unimpaired Claims, including all rights in
respect of legal and equitable defenses to or setoffs or recoupment against any such Unimpaired
Claims.




                                               46
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 80
                                                                81 of
                                                                   of 115
                                                                      116




                              ACCEPTANCE REQUIREMENTS

        Pursuant to sections 1126(c) and 1126(d) of the Bankruptcy Code and except as
otherwise provided in section 1126(e) of the Bankruptcy Code, (a) an impaired class of claims
has accepted a chapter 11 plan if the holders of at least two-thirds in dollar amount and more
than one-half in number of allowed claims in such class actually voting have voted to accept the
plan and (b) an impaired class of interests has accepted the plan if the holders of at least two-
thirds in amount of the allowed interests in such class actually voting have voted to accept the
plan.

     A.      Acceptance or Rejection of this Plan

       1.      Deemed Acceptance of the Plan

      Classes 1, 2, 8, and 9 are Unimpaired under the Plan. Therefore, Classes 1, 2, 8, and 9 are
deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.

       2.      Voting Classes

        Classes 3, 4, 5, 6, 7, 10, 11, 12, 13, and 14 are Impaired under the Plan and are entitled to
vote to accept or reject the Plan.

       3.      Deemed Acceptance by Non-Voting Classes

       If a Class contains Claims eligible to vote and no Holder of Claims eligible to vote in
such Class votes to accept or reject the Plan, the Plan shall be deemed accepted by such Class.

       4.      Elimination of Vacant Classes

       Any Class of Claims that does not contain an Allowed Claim or a Claim temporarily
Allowed by the Bankruptcy Court as of the date of Confirmation shall be deemed eliminated
from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the
Bankruptcy Code.

     B.      Confirmation of This Plan Pursuant to Section 1129(b) of the Bankruptcy Code

        The Plan Proponent reserves the right to seek Confirmation of the Plan pursuant to
section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or
Interests, and the Filing of the Plan shall constitute a motion for such relief.

     C.      Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests (or any Class of Claims or
Interests) are Impaired under this Plan, the Bankruptcy Court shall, after notice and a hearing,
determine such controversy on or prior to the Confirmation Date.



                                                 47
10834324v7
      Case
      Case 20-30967
           20-30967 Document
                    Document 1029
                             1025 Filed
                                  Filed in
                                        onTXSB  on 12/30/20
                                           12/29/20 in TXSB Page
                                                            Page 81
                                                                 82 of
                                                                    of 115
                                                                       116




                         MEANS FOR IMPLEMENTATION OF THE PLAN

        In addition to applicable provisions set forth elsewhere in the Plan, the following shall
constitute the means of execution and implementation of this Plan.

      A.        Liquidation of January 24 Claims Following Remand5

        On May 8, 2020, the Court entered the Order (I) Modifying the Automatic Stay, (II)
Setting the Deadline for Filing Notices of Removal, (III) Setting the Deadline for Filing Motions
to Remand, and (IV) Scheduling Omnibus Hearing on Motions to Remand (Doc. No. 279) (the
“Removal Procedures Order”). Pursuant to the Removal Procedures Order, all parties were
permitted to file suit or amend pending petitions against the Debtor until July 8, 2020. The
Debtor was permitted to file notices of removal until August 7, 2020. Leave was subsequently
granted by the Court to remove claims and add the Debtor as a party to additional cases.

       In total, there are over 120 Removed Lawsuits pending in adversary proceedings before
this Court. Under the Removal Procedures Order, plaintiffs had until August 31, 2020 to file
motions to remand or motions to withdraw the reference. The Bankruptcy Court began an
omnibus hearing on all motions to remand on October 22, 2020, which was continued to allow
for mediation.

         If the Plan is confirmed, all objections to the motions to remand will be withdrawn and
the Bankruptcy Court will grant the motions to remand as unopposed. Following remand, the
Oversight Committee, the Liquidating Trustee, the Watson Valve Trustee, and
Western/Matheson will file the Motion to Transfer seeking to transfer all pending state court
cases against the Debtors and third parties arising out of the Explosion to a single pretrial judge
pursuant to Rule 13 of the Texas Rules of Judicial Administration. All costs associated with
filing the Motion to Transfer shall be paid by the Liquidating Trust.

        The Motion to Transfer shall be accompanied by a recommendation to the MDL Panel
that a judge be selected from the following list: (i) Tad Halbach, (ii) Lauren Reeder, and (iii)
Erin Lunceford the (“MDL Recommendation”). The MDL Recommendation shall not be subject
to revision or renegotiation following confirmation of the Plan. The Plan Proponent recognizes
that the MDL Panel is not bound to select a pretrial judge from the MDL Recommendation.

        If the MDL Panel grants the Motion to Transfer, the Oversight Committee, the
Liquidating Trustee, the Watson Valve Trustee, and Western/Matheson shall file the CMO. The
Plan Proponent recognizes that the pretrial judge appointed by the MDL Panel is not bound to
adopt the CMO.

       In the event that the state court denies the Motion to Transfer, the Oversight Committee,
the Liquidating Trustee, the Watson Valve Trustee and Western/Matheson shall file an agreed
motion to create a special docket consisting of the pending remanded case pursuant to Harris

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  The means for liquidation of January 24 Claims is qualified entirely by the possibility that the state court maintains
full authority to grant or deny any relief that is to be requested by the parties, and the Plan does not bind the state
court to grant specific relief following remand.

                                                          48
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 82
                                                                83 of
                                                                   of 115
                                                                      116



County Local Rule 3.2.3(c) for discovery and pretrial purposes in the state court case pending
before Judge Donna Roth.

       While neither the Plan nor the Bankruptcy Court may dictate what actions the state court
may take once the Removed Lawsuits are remanded, the Plan Proponent asserts that a
consolidated state court proceeding will provide an organized, fair and timely method for parties
to adjudicate the Debtors’ liability for damages related to the Explosion and liquidate their
Claims.

        The Castorena/Ayala, Flores wrongful death plaintiffs irrevocably waive their claims, if
any, for recovery against Watson Grinding under Tex. Lab. Code Sec. 408.001(b), in
consideration for Watson Grinding’s and Texas Mutual Insurance Company’s agreement not to
contest their right to recover scheduled workers compensation death benefits based on whether
the respective Decedents were in the course and scope of their employment with Watson
Grinding at the time of the accident. Further, a plaintiff’s acceptance or alleged acceptance of
Workers’ Compensation benefits will not constitute a basis for excluding that plaintiff from
sharing in distributions of any Grinding Insurance Recovery or Valve Insurance Recovery, or
any other distribution under the Plan. Moreover, with respect to these Recoveries or
distributions, no objection or argument will be raised contending that plaintiffs were in the
course and scope of their employment by Watson Grinding as a basis to exclude the plaintiff’s
participation. Likewise, nothing in the Term Sheet, Disclosure Statement or Plan shall be
interpreted as a waiver of Texas Mutual Insurance Company’s right to subrogation under the
Texas Labor Code in these cases once remanded.

               1.     Motion to Appoint a Special Master in Consolidated State Court
                      Proceeding to Liquidate January 24 Claims Asserted in Removed
                      Lawsuits

       The members of the Oversight Committee will file a joint motion to have the state court
appoint Alice Oliver-Parrot as a Special Master for the purpose of determining the Allowed
amount of January 24 Claims (Alice Oliver-Parrot, in her capacity as the state court appointed
Special Master, such other person as the state court deems appropriate to appoint as the Special
Master, shall be referred to herein as the “Special Master”).

       The proposed scope of the Special Master’s authority will include all January 24 Claims
which are asserted in each of the Removed Lawsuits; provided, however, that each Holder of a
January 24 Claim may elect whether to (i) consent to have the Allowed amount of their Claim
against the Debtor determined by the Special Master, or (ii) adjudicate their Claim to a final
judgment in state court which will determine the Allowed amount of their Claim against the
Debtor.

        The January 24 Claims which are asserted in the Removed Lawsuits will only become
Allowed through (i) a final determination by the Special Master, or (ii) a final judgment by a
court of competent jurisdiction.

       Additionally, the Special Master will not have the authority to determine (i) the liability
of the Debtors, (ii) the liability or extent of damages that may be owed by any non-Debtor

                                               49
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 83
                                                                84 of
                                                                   of 115
                                                                      116



defendants, or (iii) the causation issues related to the Explosion. In the event of remand, the
determination of liability will be made by a state court of competent jurisdiction. The Special
Master will only be appointed when there are insurance proceeds to be distributed, whether
through a final judgment or a settlement with an insurer. Therefore, the Special Master shall
only have the authority to review and determine the quantum of damages in arriving at the
Allowed amount of the January 24 Claims, and will not determine any party’s proportional
liability for the Explosion.

        In the event the Removed Lawsuits are remanded, any agreed dismissal of a Removed
Lawsuit pursuant to a settlement prior to a trial of the settled Removed Lawsuit(s) must be
effectuated by a motion to compromise under Bankruptcy Rule 9019 filed with the Bankruptcy
Court. The Liquidating Trustee or the Watson Valve Trustee shall seek to set the motion for
hearing, and shall promptly cause a copy of such motion to dismiss or non-suit and notice of
hearing to be served upon any unrepresented Holders of January 24 Claims or an ad litem
appointed to appear on their behalf.

        Nothing in this Plan shall be deemed to require the state court to appoint the Special
Master or prejudice any party’s right to object to the appointment of the Special Master. Absent
consent of any other defendant in the state court proceeding: (i) the Special Master shall not be
entitled to determine a claim against any non-consenting defendant, and (ii) the Special Master’s
determination of any Allowed Claim against the Debtor shall not have a preclusive effect on any
non-consenting defendant.

               2.     Objections to January 24 Claims and Indemnity Claims Asserted Solely in
                      Proofs of Claim

        The Liquidating Trustee shall have the authority to file an objection to any January 24
Claim or Indemnity Claim which is asserted solely in a proof of claim (i.e., the Holder of such
January 24 Claim or Indemnity Claim is not a party to one of the Removed Lawsuits or any other
state court proceeding against the Debtor based on claims arising out of the Explosion). Nothing
in this Plan shall prohibit a court of competent jurisdiction from appointing an attorney ad litem
to represent the interests of Holders of January 24 Claims who are not represented in the
Removed Lawsuits for the purpose of reviewing and objecting to the reasonableness of any
proposed settlement.

               3.     Defense of Matheson and Western in State Court

        The Debtors (i) acknowledge they do not object to Greenburg Traurig LLP representing
Matheson and Western; and (ii) waive any right for tender of the defense based on conflicting
positions of liability between, on the one hand, Matheson and Western, and, on the other,
Grinding and Valve, as to any obligation to indemnify for costs of defense, provided, however,
that nothing contained herein shall prevent Debtors from disputing any other basis of liability
under the indemnity agreement, including coverage or the reasonableness of any fees or expenses
incurred by Matheson and Western.




                                               50
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 84
                                                                85 of
                                                                   of 115
                                                                      116



     B.      Transactions Effective as of the Effective Date

        The transactions contemplated by the Plan shall be approved and effective as of the
Effective Date, without the need for any further state or local regulatory approvals or approvals
by any non-Debtor parties, and without any requirement for further action by the Grinding
Chapter 11 Trustee or Valve Chapter 11 Trustee.

     C.      The Liquidating Trust

        On the Effective Date, the Liquidating Trustee shall sign the Liquidating Trust
Agreement and cause the Liquidating Trust to accept, on behalf of the applicable Liquidating
Trust Beneficiaries, the Liquidating Trust Assets, including but not limited to (a) all tangible and
intangible assets of Watson Grinding and its Estate, (b) all Liquidating Trust Cash, (c) the
Watson Grinding Retained Causes of Action, (d) the Reserves, and (e) any other assets vested in
the Liquidating Trust pursuant to the terms of this Plan and the Liquidating Trust Agreement. As
of the Effective Date, the Liquidating Trust Assets shall be vested in the Liquidating Trust free
and clear of all Liens, Claims, Interests and encumbrances to the fullest extent possible under
applicable law, except as otherwise specifically provided in the Plan or the Confirmation Order.

        On the Effective Date, the Liquidating Trust will be deemed created and effective without
any further action by the Bankruptcy Court or any party. The Liquidating Trust shall be
established for the primary purpose of reasonably maximizing the proceeds from liquidation of
its assets (as applicable) for the benefit of Liquidating Trust Beneficiaries, and for making
Distributions in accordance with the Plan and the Liquidating Trust Agreement, with no
objective to continue or engage in the conduct of a trade or business, except to the extent
reasonably necessary to, and consistent with, the liquidating purpose of the Liquidating Trust.

       The Liquidating Trustee shall segregate into separate bank accounts the Liquidating Trust
Cash and any funds attributable to the Grinding Insurance Recovery.

        The Liquidating Trust shall be funded with $1,000,000 from Valve Cash on the Effective
Date in full and final satisfaction of all Claims Grinding or the Liquidating Trust may assert
against Valve’s non-insurance assets.

     D.      The Liquidating Trustee

      The appointment of the Liquidating Trustee shall be effective as of the Effective Date.
Any successor Liquidating Trustee shall be appointed as set forth in the Liquidating Trust
Agreement.

        Pursuant to 11 U.S.C. §§ 1123(a)(5)(B), 1123(b)(3), and 1123(b)(6), the Liquidating
Trustee shall be the successor to Watson Grinding for all purposes. The Liquidating Trustee
shall have the sole authority to prosecute, defend and settle all of Watson Grinding’s Retained
Causes of Action arising out of the Explosion, including but not limited to claims against
insurance policies related to the Explosion and any claims which the Debtors may have to
recovery against third parties for their liability related to the Explosion or the insurance coverage
of any such third party.


                                                 51
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 85
                                                                86 of
                                                                   of 115
                                                                      116



        Compensation of the Liquidating Trustee shall be $850 per hour, and such compensation
and the actual costs and expenses of the Liquidating Trustee and the Liquidating Trust (including
without limitation, the actual fees and expenses of the Liquidating Trustee Professionals) shall be
paid from Liquidating Trust Cash. The Liquidating Trustee shall be compensated in the manner
set forth in the Liquidating Trust Agreement.

        Subject to the provisions of the Liquidating Trust Agreement, the Liquidating Trustee
shall be entitled to exercise all powers and duties as set forth in the Liquidating Trust Agreement,
including, but not limited to retaining professionals and advisors, attorneys and accountants, as
the Liquidating Trustee deems appropriate and advisable, and to pay such professionals as
professionals and expenses of administration of the Liquidating Trust, without the need for
Bankruptcy Court approval or authorization.

     E.      The Watson Valve Liquidating Trust

        On the Effective Date, the Watson Valve Trustee shall sign the Watson Valve
Liquidating Trust Agreement and cause the Watson Valve Liquidating Trust to accept, on behalf
of the applicable Watson Valve Liquidating Trust Beneficiaries, the Watson Valve Liquidating
Trust Assets. For avoidance of doubt, the Watson Valve Liquidating Trust Assets include the
Valve Claims and Retained Causes of Action. As of the Effective Date, the Watson Valve
Liquidating Trust Assets shall be vested in the Watson Valve Liquidating Trust free and clear of
all Liens, Claims, Interests and encumbrances to the fullest extent possible under applicable law,
except as otherwise specifically provided in the Plan or the Confirmation Order.

        On the Effective Date, the Watson Valve Liquidating Trust will be deemed created and
effective without any further action by the Bankruptcy Court or any party. The Watson Valve
Liquidating Trust shall be established for the primary purpose of prosecuting the Valve Claims
and Retained Causes of Action, and for making Distributions in accordance with the Plan and the
Watson Valve Liquidating Trust Agreement, with no objective to continue or engage in the
conduct of a trade or business, except to the extent reasonably necessary to, and consistent with,
the liquidating purpose of the Watson Valve Liquidating Trust.

       The Watson Valve Trustee shall segregate into separate bank accounts the Valve Cash,
any funds attributable to the Valve Insurance Recovery and any proceeds from the Valve Claims
and Retained Causes of Action.

     F.      The Watson Valve Trustee

        The appointment of the Watson Valve Trustee shall be effective as of the Effective Date.
Any successor Watson Valve Trustee shall be appointed as set forth in the Watson Valve
Liquidating Trust Agreement.

       Pursuant to 11 U.S.C. §§ 1123(a)(5)(B), 1123(b)(3), and 1123(b)(6), the Watson Valve
Trustee shall be the successor to Watson Valve for all purposes.

      Compensation of the Watson Valve Trustee shall be at his standard hourly rate, and such
compensation and the actual costs and expenses of the Watson Valve Trustee and the Watson
Valve Liquidating Trust (including without limitation, the actual fees and expenses of the

                                                52
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 86
                                                                87 of
                                                                   of 115
                                                                      116



Watson Valve Liquidating Trustee Professionals) shall be paid from Valve Cash. The Watson
Valve Trustee shall be compensated in the manner set forth in the Watson Valve Liquidating
Trust Agreement.

       Subject to the provisions of the Watson Valve Liquidating Trust Agreement, the Watson
Valve Trustee shall be entitled to exercise all powers and duties as set forth in the Watson Valve
Liquidating Trust Agreement, including, but not limited to retaining professionals and advisors,
attorneys and accountants, as the Watson Valve Trustee deems appropriate and advisable, and to
pay such professionals as professionals and expenses of administration of the Watson Valve
Liquidating Trust, without the need for Bankruptcy Court approval or authorization.

     G.      Federal Income Tax Treatment of the Liquidating Trust for the Liquidating Trust
             Assets; Tax Reporting and Tax Payment Obligations

        For U.S. federal income tax purposes, it is intended that the Liquidating Trust and the
Watson Valve Liquidating Trust be classified as a liquidating trust under Treasury Regulation
Section 301.7701-4. Accordingly, for U.S. federal income tax purposes, it is intended that the
beneficiaries of the Liquidating Trust and Watson Valve Liquidating Trust be treated as if they
had received a Distribution from the Estates of an undivided interest in each of the assets of the
Liquidating Trust and Watson Valve Liquidating Trust (to the extent of the value of their
respective shares therein) and then contributed such interests to the Liquidating Trust.

               1.      Trust Assets Treated as Owned by Beneficiaries of Trusts

        For all U.S. federal income tax purposes, all parties shall treat the transfer of assets (net
of any applicable liabilities) to the Liquidating Trust for the benefit of the beneficiaries thereof as
(a) a transfer by the Debtors of the Liquidating Trust Assets (net of any applicable liabilities)
directly to the beneficiaries of the Liquidating Trust (to the extent of the value of their respective
shares in the assets of the Liquidating Trust), followed by (b) the transfer of the assets of the
Liquidating Trust (net of any applicable liabilities) by the beneficiaries of the Liquidating Trust
(to the extent of the value of their respective share in the assets of the Liquidating Trust) to the
Liquidating Trust in exchange for the beneficial interests in the Liquidating Trust. Accordingly,
for U.S. federal income tax purposes, the Liquidating Trust shall be treated as a grantor trust, and
the beneficiaries of the Liquidating Trust shall be treated as the grantors of the Liquidating Trust
and the owners of the assets thereof. The provisions of this paragraph apply with equal force to
the transfer of the Watson Valve Liquidating Trust Assets to the Watson Valve Liquidating Trust
for the benefit of the Watson Vale Liquidating Trust Beneficiaries.

       2.      Tax Reporting

        The Liquidating Trustee shall be responsible for filing all federal, state, local and foreign
tax returns, including, but not limited to, any documentation related thereto for current or former
employees, vendors or contractors of Watson Grinding, for Watson Grinding and the Liquidating
Trust.

        The Liquidating Trustee shall file all tax returns for the Liquidating Trust as a grantor
trust pursuant to Treasury Regulation Section 1.671-4(a) and in accordance with this Article XI.
Within a reasonable time following the end of the taxable year, the Liquidating Trustee shall

                                                  53
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 87
                                                                88 of
                                                                   of 115
                                                                      116



send to each holder of a beneficial interest appearing on its record during such year, a separate
statement setting forth such holder’s share of items of income, gain, loss, deduction or credit and
each such holder shall report such items on their federal income tax returns. The Liquidating
Trustee may provide each such holder of a beneficial interest with a copy of the Form 1041 for
the Liquidating Trust (without attaching any other holder’s Schedule K-1 or other applicable
information form) along with such holder’s Schedule K-1 or other applicable information form
in order to satisfy the foregoing requirement. The Liquidating Trustee shall allocate the taxable
income, gain, loss, deduction or credit of the Liquidating Trust with respect to each holder of a
beneficial interest to the extent required by the IRC and applicable law.

         As soon as possible after the Effective Date, the Liquidating Trustee shall make a good
faith valuation of the assets of the Liquidating Trust, and such valuation shall be used
consistently by all parties for all federal income tax purposes. The Liquidating Trustee also shall
file (or cause to be filed) any other statements, returns, or disclosures relating to the Liquidating
Trust that are required by any taxing authority.

       The Liquidating Trustee may request an expedited determination of the tax obligations of
the Liquidating Trust under section 505(b) of the Bankruptcy Code for all returns filed for, or on
behalf of, the Liquidating Trust for all taxable periods through the dissolution of the Liquidating
Trust.

       The Liquidating Trustee shall comply with all withholding and reporting requirements
imposed by any federal, state, local, or foreign taxing authority, and all Distributions made by
the Liquidating Trust shall be subject to any such withholding and reporting requirements.

      The Watson Valve Trustee shall have all responsibilities set forth in this paragraph for
Watson Valve and the Watson Valve Liquidating Trust.

       3.      Payment of Taxes

        The Liquidating Trustee shall be responsible for payments of all Allowed tax obligations
of Watson Grinding including Priority Tax Claims, Secured Claims and Administrative Claims,
in addition to any taxes imposed on the Liquidating Trust or its assets. In the event, and to the
extent, any Cash retained on account of Disputed Claims in the Disputed Claims Reserve
associated with the Liquidating Trust is insufficient to pay the portion of any such taxes
attributable to the taxable income arising from the assets of the Liquidating Trust allocable to, or
retained on account of, Disputed Claims, such taxes shall be (a) reimbursed from any subsequent
Cash amounts retained on account of Disputed Claims, or (b) to the extent such Disputed Claims
have subsequently been resolved, deducted from any amounts distributable by the Liquidating
Trust as a result of the resolutions of such Disputed Claims.

        The Watson Valve Trustee shall be responsible for payments of all Allowed tax
obligations of Watson Valve including Priority Tax Claims, Secured Claims and Administrative
Claims, in addition to any taxes imposed on the Watson Valve Liquidating Trust or its assets. In
the event, and to the extent, any Cash retained on account of Disputed Claims in the Disputed
Claims Reserve associated with the Watson Valve Liquidating Trust is insufficient to pay the
portion of any such taxes attributable to the taxable income arising from the assets of the Watson


                                                 54
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 88
                                                                89 of
                                                                   of 115
                                                                      116



Valve Liquidating Trust allocable to, or retained on account of, Disputed Claims, such taxes
shall be (a) reimbursed from any subsequent Cash amounts retained on account of Disputed
Claims, or (b) to the extent such Disputed Claims have subsequently been resolved, deducted
from any amounts distributable by the Watson Valve Liquidating Trust as a result of the
resolutions of such Disputed Claims.

     H.      Authority to Pursue, Settle, or Abandon Retained Causes of Action

         From and after the Effective Date, (i) the Liquidating Trustee shall be solely responsible
for prosecution and settlement of all of Watson Grinding’s Retained Causes of Action pursuant
to the Plan, Confirmation Order, and Liquidating Trust Agreement, and (ii) the Liquidating
Trustee shall have the rights, powers, and interests of the Watson Grinding Estate to pursue,
settle, or abandon such Retained Causes of Action as the representative of the Watson Grinding
Estate pursuant to section 1123(b)(3) of the Bankruptcy Code.

         From and after the Effective Date, (i) the Watson Valve Trustee shall be solely
responsible for prosecution and settlement of the Valve Claims and Retained Causes of Action
pursuant to the Plan, Confirmation Order, and Watson Valve Liquidating Trust Agreement, and
(ii) the Watson Valve Trustee shall have the rights, powers, and interests of the Watson Valve
Estate to pursue, settle, or abandon such Claims and Retained Causes of Action as the
representative of the Watson Valve Estate pursuant to section 1123(b)(3) of the Bankruptcy
Code.

       Confirmation of this Plan effects no settlement, compromise, waiver or release of any
Retained Cause of Action unless this Plan or the Confirmation Order specifically and
unambiguously so provides. The non-disclosure or non-discussion of any particular Retained
Cause of Action is not and shall not be construed as a settlement, compromise, waiver,
preclusion, or release of any such Retained Cause of Action.

        Any settlement of a Retained Cause of Action that would result in Grinding Insurance
Recovery or Valve Insurance Recovery, or that would require disbursements to be made from
Liquidating Trust Cash or Valve Cash, must be approved by the Bankruptcy Court pursuant to
the standards of Bankruptcy Rule 9019 on at least 14 days’ notice to all affected creditors and
equity interest holders.

        The Debtors, the Estates, the Liquidating Trust, the Watson Valve Liquidating
Trust, the Liquidating Trustee, and the Watson Valve Trustee reserve and retain, for the
benefit of the Liquidating Trust and the Liquidating Trust Beneficiaries and the Watson
Valve Liquidating Trust and the Watson Valve Liquidating Trust Beneficiaries,
respectively, any and all Retained Causes of Action against any and all third parties,
whether such Retained Causes of Action arose before, on or after the Petition Date, the
Confirmation Date, the Effective Date, and/or the Distribution Record Date, including,
without limitation, any and all Retained Causes of Action that the Debtors, the Estates, the
Liquidating Trust, the Watson Valve Liquidating Trust, the Liquidating Trustee and the
Watson Valve Trustee, respectively, may have against (i) any insurer and/or insurance
policies in which either the Debtors and/or their current or former personnel have an
insurable or other interest in or right to make a claim against, any other of the Debtors’

                                                55
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 89
                                                                90 of
                                                                   of 115
                                                                      116



insurers; and (ii) any recipient of a transfer identified in the Debtors’ Statement of
Financial Affairs, including any amendments thereto, Filed in these Chapter 11 Cases
based on Retained Causes of Action under chapter 5 of the Bankruptcy Code. THE
ENTRY OF THE CONFIRMATION ORDER SHALL NOT CONSTITUTE RES
JUDICATA OR PRECLUSION WITH RESPECT TO, OR OTHERWISE BAR, ESTOP
OR INHIBIT, ANY ACTIONS BY THE LIQUIDATING TRUSTEE OR THE WATSON
VALVE TRUSTEE RELATING TO RETAINED CAUSES OF ACTION, EVEN IF NOT
SPECIFICALLY IDENTIFIED IN THE PLAN, THE PLAN SUPPLEMENT, THE
SCHEDULE OF RETAINED CAUSES OF ACTION, OR THE DISCLOSURE
STATEMENT.

       The Schedule of Retained Causes of Action, listing Causes of Action to be retained
by the Liquidating Trust and the Watson Valve Liquidating Trust will be included as part
of the Plan Supplement. No Entity may rely on the absence of a specific reference in the
Plan, the Plan Supplement, the Schedule of Retained Causes of Action, or the Disclosure
Statement to any Causes of Action against it as any indication that the Debtors, the
Liquidating Trustee or the Watson Valve Trustee will not pursue any and all available
Causes of Action against it. The Liquidating Trustee and the Watson Valve Trustee
expressly reserve all rights to prosecute any and all Causes of Action against any Entity,
except as otherwise expressly provided in the Plan.

     I.      Filing of Monthly and Quarterly Reports

       The filing of the final monthly report (for the month in which the Effective Date occurs)
and all subsequent quarterly reports in the Watson Grinding Chapter 11 Case shall be the
responsibility of the Liquidating Trustee until such time as the Liquidating Trust terminates.

        The filing of the final monthly report (for the month in which the Effective Date occurs)
and all subsequent quarterly reports in the Watson Valve Chapter 11 Case shall be the
responsibility of the Watson Valve Trustee until such time as the Watson Valve Chapter 11 Case
is closed.

        The Watson Valve Trustee and the Liquidating Trustee shall each cause a quarterly
administration report to be prepared and filed illustrating (i) receipts and disbursements during
the prior quarter, (ii) a schedule of all asset dispositions, if any, (iii) a schedule of Distributions
made, (iv) a schedule of the status objections to Claims, (v) a schedule of any settlements of
Causes of Action, and (vi) a list of payments made to all fiduciaries and professionals.

     J.      Directors and Officers of the Debtors

       On and after the Effective Date, the board of managers or directors of the Debtors shall
be terminated and all of the officers and directors of the Debtors, to the extent they have not
already done so, shall be deemed to have resigned from their respective positions with the
Debtors.




                                                  56
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 90
                                                                91 of
                                                                   of 115
                                                                      116



     K.      Books and Records

        Upon the Effective Date, the Grinding Chapter 11 Trustee shall transfer and assign to the
Liquidating Trust full title to, and the Liquidating Trust shall be authorized to take possession of,
all of the books and records of Watson Grinding. Any such books and records transferred by
Watson Grinding shall be protected by the attorney-client privilege. The Liquidating Trust shall
have the responsibility of storing and maintaining the books and records transferred under the
Plan for the duration of the Liquidating Trust, after which time such books and records may be
abandoned or destroyed without further Bankruptcy Court order. For purposes of this paragraph,
books and records include computer-generated or computer maintained books and records and
computer data, as well as electronically-generated or maintained books and records or data,
along with books and records of Watson Grinding maintained by or in possession of third parties
and all the claims and rights of Watson Grinding in and to its books and records, wherever
located.

        After the Effective Date, the Watson Valve Trustee shall provide the Liquidating Trustee
with full access to the books and records of Watson Valve. Any such books and records provided
by the Watson Valve Trustee shall be protected by the attorney-client privilege. The Liquidating
Trust shall have the responsibility of storing and maintaining the books and records obtained
under the Plan for the duration of the Liquidating Trust, after which time such books and records
may be abandoned or destroyed without further Bankruptcy Court order. For purposes of this
paragraph, books and records include computer-generated or computer maintained books and
records and computer data, as well as electronically-generated or maintained books and records
or data, along with books and records of Watson Valve maintained by or in possession of third
parties and all the claims and rights of Watson Valve in and to its books and records, wherever
located.

     L.      Effectuating Documents and Further Transactions

        Prior to the Effective Date, the Grinding Chapter 11 Trustee and Valve Chapter 11
Trustee shall be authorized to execute, deliver, file, or record such documents, contracts,
instruments, and other agreements and take such other actions as may be reasonably necessary to
effectuate and further evidence the terms and conditions of the Plan. After the Effective Date, the
Liquidating Trustee and Watson Valve Trustee shall be authorized to execute, deliver, file, or
record such documents, contracts, instruments, and other agreements and take such other actions
as may be reasonably necessary to effectuate and further evidence the terms and conditions of
the Plan.

     M.      Employee Agreements

        All employment, severance, retirement, indemnification, and other similar employee-
related agreements or arrangements in place with the Debtors’ employees that have not been
previously terminated shall be terminated as of the Effective Date.

     N.      Exemption from Certain Taxes and Fees

       Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant to
the Plan shall not be subject to any document recording tax, stamp tax, conveyance fee,

                                                 57
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 91
                                                                92 of
                                                                   of 115
                                                                      116



intangibles or similar tax, mortgage tax, stamp act, real estate or personal property transfer tax,
sale or use tax, mortgage recording tax, or other similar tax or governmental assessment, and
upon entry of the Confirmation Order, the appropriate governmental officials or agents shall
forgo the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents pursuant to such transfers of
property without the payment of any such tax, recordation fee, or governmental assessment.

     O.      Duration of the Liquidating Trust and Watson Valve Liquidating Trust

        The Liquidating Trust shall have an initial term of five (5) years from the Effective Date,
provided, however, that, if warranted by the facts and circumstances, and subject to the approval
of the Bankruptcy Court, upon a finding that an extension of the term of the Liquidating Trust or
Watson Valve Liquidating Trust is necessary to accomplish the purpose of the Liquidating Trust,
the Liquidating Trustee shall be authorized, on two or more successive occasions, to extend the
Liquidating Trust for six (6) months or longer provided that such extension is formally requested
by motion before the Bankruptcy Court prior to the beginning of such requested, extended term.
The Liquidating Trust may be terminated earlier than its scheduled termination if the Liquidating
Trustee has administered all of the Liquidating Trust Assets and performed all other duties
required by this Plan and the Liquidating Trust Agreement. The provisions of this paragraph
apply with equal force to the Watson Valve Liquidating Trust and the Watson Valve Trustee.

     P.      Wind Down of Liquidating Trust and Watson Valve Liquidating Trust

        After the termination of the Liquidating Trust and for the purpose of liquidating and
winding down the affairs of the Liquidating Trust, the Liquidating Trustee shall continue to act
as such until its duties have been fully performed. Upon termination of the Liquidating Trust, the
Liquidating Trustee shall retain for a period of one year the books, records, lists of the
Liquidating Trust Beneficiaries, the registry of claims and Liquidating Trust Beneficiaries, and
other documents and files that have been delivered to or created by the Liquidating Trustee.
Except as otherwise specifically provided herein, upon the termination of the Liquidating Trust,
the Liquidating Trustee and the Liquidating Trust’s professionals and agents shall have no
further duties or obligations hereunder. The provisions of this paragraph apply with equal force
to the Watson Valve Liquidating Trust and the Watson Valve Trustee.


      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

     A.      Treatment of Executory Contracts and Unexpired Leases (Other than Insurance
             Policies)

        As of the Effective Date, the Debtors shall be deemed to have rejected all Executory
Contracts, other and insurance policies, and Unexpired Leases that (1) have not been previously
rejected (including by operation of section 365(d)(4) of the Bankruptcy Code), assumed, or
assumed and assigned, and (2) have not expired under their own terms prior to the Effective
Date.




                                                58
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 92
                                                                93 of
                                                                   of 115
                                                                      116



        The Confirmation Order shall constitute an order of the Bankruptcy Court approving the
foregoing rejections pursuant to sections 365 and 1123 of the Bankruptcy Code as of the
Effective Date.

     B.      Assignment of Insurance Policies to the Liquidating Trust

      As of the Effective Date, all insurance policies to which Watson Valve or Watson Grinding
are a party shall, to the extent they constitute an Executory Contract, be assumed and assigned to
the Liquidating Trust.

     C.      Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired
             Leases

       Rejection or repudiation of any Executory Contract or Unexpired Lease pursuant to the
Plan or otherwise shall not constitute a termination of preexisting obligations owed to the
Debtors under such contracts or leases.

     D.      Rejection Damages Claim

        All Claims arising from the rejection of Executory Contracts or Unexpired Leases must
be Filed with the clerk of the Bankruptcy Court and served upon the Liquidating Trustee or
Watson Valve Trustee, as applicable, within thirty (30) days of the occurrence of the Effective
Date. Any Claim arising from the rejection of Executory Contracts or Unexpired Leases that
becomes an Allowed Claim is classified and shall be treated as a Class 5 General Unsecured
Claim if filed against Watson Grinding and a Class 12 General Unsecured Claim if filed against
Watson Valve. Any Claims arising from the rejection of an Executory Contract or
Unexpired Lease not Filed within the time required by this section will be forever barred
from assertion against the Debtors, the Estates, the property of the Debtors, or the
Liquidating Trust, without the need for any objection by the Liquidating Trustee or
further notice to, or action, order, or approval of the Bankruptcy Court or any other
Entity.

     E.      Reservation of Rights

        Nothing contained in this Plan shall constitute an admission by the Grinding Chapter 11
Trustee, Valve Chapter 11 Trustee, Committee or the Debtors that any such contract or lease is in
fact an Executory Contract or Unexpired Lease or that the Debtors or Estates have any liability
thereunder.


                      PROVISIONS GOVERNING DISTRIBUTIONS

     A.      Timing and Calculation of Amounts to Be Distributed; Entitlement to Distributions

       1.      Timing and Calculation of Amounts to Be Distributed

       Except as otherwise provided herein, and only after the funding of the Reserves, or as
ordered by the Bankruptcy Court, all Distributions to be made on account of Claims that are

                                               59
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 93
                                                                94 of
                                                                   of 115
                                                                      116



Allowed Claims as of the Effective Date shall be made on the Initial Distribution Date.
Distributions on account of Claims that first become Allowed Claims after the Effective Date
shall be made pursuant to the terms and conditions of this Plan and the Liquidating Trust
Agreement and Watson Valve Liquidating Trust, as applicable. Notwithstanding any other
provision of this Plan to the contrary, no Distribution shall be made on account of any Claim or
portion thereof that (i) has been satisfied after the Petition Date pursuant to an order of the
Bankruptcy Court; (ii) is listed in the Debtors’ schedules of liabilities as contingent,
unliquidated, disputed or in a zero amount, and for which a Proof of Claim has not been timely
Filed; (iii) is the subject of a pending and unresolved claim objection; or (iv) is evidenced by a
Proof of Claim that has been amended by a subsequently Filed Proof of Claim that purports to
amend the prior Proof of Claim.

         Absent agreement from Western and Matheson, no distributions from the Grinding
Insurance Recovery or the Valve Insurance Recovery shall be made prior to the earlier of: (i) the
entry of a non-appealable order of a final judgment that fully resolves Western’s and Matheson’s
liability for the Explosion and their indemnity rights in at least one of the Removed Cases; or (ii)
the entry of a non-appealable order holding that neither Western nor Matheson is entitled to
recover against the Watson entities’ insurance proceeds (the “Precedent Event”). Following the
Precedent Event, or in the event that all of the Removed Cases are resolved as to Western and
Matheson without a Final judgment regarding Western and Matheson’s liability for the
Explosion and indemnity rights, the Liquidating Trustee or the Watson Valve Trustee shall
obtain approval from the Bankruptcy Court for any distributions from the Grinding Insurance
Recovery or the Valve Insurance Recovery through a motion to compromise pursuant to
Bankruptcy Rule 9019. Western and Matheson reserve all rights to object to any proposed
motion to compromise to allow a distribution. Solely in the event that the insurers for either
Grinding or Valve tender all policy proceeds for distribution, and a final judgment regarding
Western’s and Matheson’s liability for the Explosion and their indemnity rights has been entered
in a court of competent jurisdiction, Western and Matheson consent to the Bankruptcy Court
adjudicating their legal right to distributions from the Grinding Insurance Recovery and the
Valve Insurance Recovery.

        The Liquidating Trustee shall make Distributions to the Liquidating Trust Beneficiaries,
and the Watson Valve Trustee shall make Distributions to the Watson Valve Liquidating Trust
Beneficiaries, consistent with the requirements of this Plan and the Liquidating Trust Agreement
and Watson Valve Liquidating Trust Agreement, as applicable. In connection with each
Distribution to each class of Claims, the Liquidating Trustee and Watson Valve Trustee shall
withhold from property that would otherwise be distributed to Claims in that class, the Disputed
Claims Reserve, such amounts or property as may be necessary to equal one hundred percent
(100%) of Distributions to which Holders of such Disputed Claims would be entitled under this
Plan if such Disputed Claims were Allowed in their Disputed Claim Amount. The Liquidating
Trustee or Watson Valve Trustee may request, if necessary, estimation for any Disputed Claim,
other than a January 24 Claim, that is contingent or unliquidated, and shall withhold the
applicable portion of the Disputed Claims Reserve with respect to such Claims based upon the
estimated amount of each such Claim as estimated by the Bankruptcy Court.




                                                60
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 94
                                                                95 of
                                                                   of 115
                                                                      116



       The Plan Supplement shall include a schedule of the Reserves to be established and the
Allowed Claims to be paid by the Watson Valve Trustee on the Effective Date which shall be in
a form mutually acceptable to John Watson and the Valve Chapter 11 Trustee.

       2.      Entitlement to Distributions

        On and after the Effective Date, the Liquidating Trustee and the Watson Valve Trustee
shall be authorized (but not directed) to recognize and deal only with those Holders of Claims
listed on the Debtors’ books and records as of the Distribution Record Date and those Holders of
Claims that Filed Proofs of Claims by the Claims Bar Date and the plaintiffs (including any third
party plaintiffs) in the Removed Lawsuits. Accordingly, the Liquidating Trustee and Watson
Valve Trustee will have no obligation to recognize the transfer of, or the sale of any participation
in, any Allowed Claim that occurs after the close of business on the Distribution Record Date,
and will be entitled for all purposes herein to recognize and distribute property, notices, and
other documents only to those Holders of Allowed Claims who are Holders of such Claims (or
participants therein) as of the close of business on the Distribution Record Date.

     B.      Liquidating Trustee and Watson Valve Trustee to make Distributions

        All Distributions under the Plan shall be made by the Liquidating Trustee and Watson
Valve Trustee in accordance with this Plan. The Liquidating Trustee and Watson Valve Trustee
shall not be required to give any bond or surety or other security for the performance of their
duties unless otherwise ordered by the Bankruptcy Court.

     C.      No De Minimis Distributions Required

        No Distribution shall be required to be made hereunder to any Holder of a Claim unless
such Holder is to receive in such Distribution at least $50.00. Any interim Distribution less than
$50.00 shall be held in trust for the relevant Holder until the Distribution to that Holder equals at
least $50.00. If, as of the date of the final Distribution, the Liquidating Trustee or Watson Valve
Trustee is holding funds for Distribution to certain Holders of Claims that are less than $50.00
for each such Holder, those funds shall be deemed unclaimed property and treated pursuant to
Article XIII.E.2 of this Plan.

     D.      Distributions on Account of Claims Allowed After the Effective Date

       1.      Payments and Distributions on Disputed Claims

      Distributions made after the Effective Date to Holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

       2.      Special Rules for Distributions to Holders of Disputed Claims

       Notwithstanding any provision otherwise in this Plan and except as otherwise agreed to
by the Liquidating Trustee or Watson Valve Trustee, (a) no partial payments and no partial
Distributions shall be made with respect to a Disputed Claim until all disputes in connection with
such Disputed Claim have been resolved by settlement or Final Order and such Disputed Claim

                                                 61
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 95
                                                                96 of
                                                                   of 115
                                                                      116



becomes an Allowed Claim; and (b) any Entity that holds both an Allowed Claim and a Disputed
Claim shall not receive any Distribution on the Allowed Claim unless and until all objections to
the Disputed Claim have been resolved by settlement or Final Order.

       3.      Distributions to Counsel for Holders of Certain January 24 Claims

        The Liquidating Trustee shall make distributions to Holders of Class 4 January 24 Claims
only after all such claims have been liquidated either through the Special Master or entry of a
final judgment in a court of competent jurisdiction. In making distributions to January 24 Claims
asserted in the Removed Lawsuits, the Liquidating Trustee shall make distributions to plaintiffs’
counsel in each lawsuit based on the Allowed amount of January 24 Claims asserted in that
lawsuit. It will then be the obligation of plaintiffs’ counsel to make the appropriate distributions
to the Holders of January 24 Claims that they represent.

     E.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

       1.      Delivery of Distributions in General

         Except as provided below, Distributions to Holders of Allowed Claims shall be made
(a) at the addresses set forth on the Proofs of Claim Filed by such Holders, (b) at the addresses
set forth in any written notices of address changes delivered to the Debtors, the Watson Valve
Trustee or Liquidating Trustee after the date of any related Proof of Claim, (c) at the addresses
reflected in the Schedules if no Proof of Claim has been Filed and the Liquidating Trustee and
Watson Valve Trustee have not received a written notice of a change of address, or (d) at the
addresses set forth in the other records of the Debtors, the Watson Valve Trustee, or the
Liquidating Trustee at the time of the Distribution.

       2.      Undeliverable Distributions and Unclaimed Property

        In the event that any Distribution to any Holder is returned as undeliverable, no
Distribution to such Holder shall be made unless and until the Liquidating Trustee or Watson
Valve Trustee has determined the then-current address of such Holder, at which time such
Distribution shall be made to such Holder without interest; provided, however, such Distributions
shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
expiration of 90 days from the applicable Distribution Date. After such date, all unclaimed
property or interests in property shall revert to the Liquidating Trustee or Watson Valve Trustee,
as applicable (notwithstanding any applicable federal or state escheat, abandoned, or unclaimed
property laws to the contrary), and shall be distributed in accordance with the terms of this Plan
and the Liquidating Trust Agreement, and the Claim of any Holder to such property or interest in
property shall be discharged and forever barred.

       3.      Failure to Present Checks

       Checks issued by the Liquidating Trustee or Watson Valve Trustee on account of
Allowed Claims shall be null and void if not negotiated within 90 days after the issuance of such
check. Requests for reissuance of any check shall be made directly to the Liquidating Trustee or
Watson Valve Trustee by the Holder of the relevant Allowed Claim with respect to which such
check originally was issued. Any Holder of an Allowed Claim holding an un-negotiated check

                                                62
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 96
                                                                97 of
                                                                   of 115
                                                                      116



that does not request reissuance of such un-negotiated check within 90 days after the issuance of
such check shall have its Claim for such un-negotiated check discharged and shall be discharged
and forever barred, estopped, and enjoined from asserting any such Claim against the Debtors
and the Estates, the Liquidating Trustee, the Liquidating Trust, the Watson Valve Trustee and
their respective agents, attorneys, representatives, employees or independent contractors, and/or
any of its and their property. In such cases, any Cash held for payment on account of such
Claims shall be property of the Liquidating Trust, free of any Claims of such Holder with respect
thereto. Nothing contained herein shall require the Liquidating Trustee or Watson Valve Trustee
to attempt to locate any Holder of an Allowed Claim.

     F.        Compliance with Tax Requirements/Allocations

        In connection with this Plan, to the extent applicable, the Liquidating Trustee and Watson
Valve Trustee shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all Distributions pursuant hereto shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in this Plan to the
contrary, the Liquidating Trustee and Watson Valve Trustee shall be authorized to take all
actions necessary or appropriate to comply with such withholding and reporting requirements,
including liquidating a portion of the Distribution to be made under this Plan to generate
sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt of
information necessary to facilitate such Distributions or establishing any other mechanisms they
believe are reasonable and appropriate. The Liquidating Trustee and Watson Valve Trustee
reserve the right to allocate all Distributions made under this Plan in compliance with all
applicable wage garnishments, alimony, child support, and other spousal awards, Liens, and
encumbrances. The Liquidating Trustee and Watson Valve Trustee shall have the authority to
condition any Distribution upon the receipt of a completed IRS Form W-9 or applicable IRS
Form W-8.

     G.        Claims Paid or Payable by Third Parties

          1.    Claims Paid by Third Parties

        The Watson Valve Trustee or the Liquidating Trustee, as applicable, shall reduce a
Claim, and such Claim shall be Disallowed without a Claim objection having to be Filed and
without any further notice to or action, order or approval of the Bankruptcy Court, to the extent
that the Holder of such Claim receives payment on account of such Claim from a party that is not
either of the liquidating trusts. To the extent a Holder of a Claim receives a Distribution on
account of such Claim and receives payment from a party that is not either of the liquidating
trusts, such Holder shall, within fourteen (14) days of receipt thereof, repay or return the
Distribution to the Liquidating Trustee or Watson Valve Trustee, to the extent the Holder’s total
recovery on account of such Claim from the third party and under this Plan exceeds the Allowed
amount of such Claim.

          2.    Applicability and Preservation of Insurance Policies

      Nothing contained in this Plan shall constitute or be deemed a waiver of any Retained
Cause of Action that the Debtors or any Entity may hold against any other Entity, including


                                                63
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 97
                                                                98 of
                                                                   of 115
                                                                      116



insurers under any policies of insurance, nor shall anything contained herein constitute or be
deemed a waiver by such insurers of any defenses, including coverage defenses, held by such
insurers.

          3.    Third Party Coverage Claims

      Nothing contained in this Plan shall constitute or be deemed a waiver of any third party
coverage claims any Entity may become entitled to assert, including a claim in any court of
competent jurisdiction seeking a determination of coverage under the Debtors’ insurance
policies, including but not limited to a suit seeking a declaration that a Final Judgment against
the Debtors from a court of competent jurisdiction entitles such party to directly assert a right to
the Grinding Insurance Recovery or the Valve Insurance Recovery (the “Third Party Coverage
Claims”). To the extent necessary, such suit asserting Third Party Coverage Claims shall name
the Debtors as a party as required by law. For the avoidance of doubt, such suit asserting Third
Party Coverage Claims shall not be subject to the Claims Bar Date.

     H.        Claims Already Satisfied

        Notwithstanding the contents of the Schedules, Claims listed therein as undisputed,
liquidated and not contingent shall be reduced by the amount, if any, that was paid by the
Debtors or any third party prior to the Effective Date, including pursuant to orders of the
Bankruptcy Court. To the extent such payments are not reflected in the Schedules, such
Schedules shall be deemed amended and reduced to reflect that such payments were made. The
Liquidating Trustee is authorized, and without any further notice to or action, order or approval
of the Bankruptcy Court, to update the official claims register maintained in the Chapter 11
Cases in accordance with any Claims satisfied or reduced pursuant to the Plan.

     I.        Allocation of Plan Distributions between Principal and Interest

        Each Holder of an Allowed Claim shall have the option to apply such Holder’s Pro Rata
share of consideration distributed under the Plan (cash or value) to satisfy outstanding principal
of or accrued interest on such Holder’s Allowed Claim, as such allocation is determined by such
Holder in its sole discretion.

     J.        No Postpetition Interest on Claims

       Unless otherwise specifically provided for in an order of the Bankruptcy Court, the Plan,
or the Confirmation Order, or required by applicable bankruptcy law, postpetition interest shall
not accrue or be paid on any Claims or Interests and Holders of Claims shall not be entitled to
postpetition interest, dividends, or accruals on the Distributions provided for herein, regardless of
whether such Distributions are delivered on or at any time after the Effective Date.




                                                 64
10834324v7
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 98
                                                                99 of
                                                                   of 115
                                                                      116




             PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                            AND DISPUTED CLAIMS

     A.        Allowance and Disallowance of Claims

        Except as expressly provided herein or any order entered in the Chapter 11 Cases on or
prior to the Effective Date (including the Confirmation Order), no Claim shall be deemed
Allowed unless and until such Claim is deemed Allowed under the Bankruptcy Code, under the
Plan, or the Bankruptcy Court enters a Final Order in the Chapter 11 Cases allowing such Claim
under section 502 of the Bankruptcy Code; provided, however, that January 24 Claims which are
asserted in the Removed Lawsuits shall only be Allowed based on a (i) a final determination by
the Special Master, (ii) a final adjudication by a court of competent jurisdiction, or (iii) any other
process approved by a court of competent jurisdiction. For the avoidance of doubt, the
Bankruptcy Court does not retain jurisdiction to determine the Allowed amount of any January
24 Claim or Indemnity Claim that is asserted in one of the Removed Lawsuits.

       Except as expressly provided in any order entered in the Chapter 11 Cases on or prior to
the Effective Date (including the Confirmation Order), the Liquidating Trust and the Watson
Valve Liquidating Trust after Consummation will have and retain any and all rights, objections,
and defenses the Debtors or their Estates had with respect to any Claim as of the Petition Date.

       Except as provided herein or otherwise agreed, any and all proofs of Claim Filed
after the Claims Bar Date shall be deemed Disallowed and expunged as of the Effective
Date without any further notice to or action, order, or approval of the Bankruptcy Court,
and Holders of such Claims may not receive any Distributions on account of such Claims,
unless on or before the Confirmation Hearing such late Filed Claim has been deemed
timely Filed by a Final Order or by agreement of the Liquidating Trustee or Watson Valve
Trustee.

     B.        Compromise regarding Allowance and Disallowance of Certain Claims

       As part of the global compromise embodied in this plan, (i) the proof of claim filed by
John Watson against Watson Grinding (Claim No. 7) shall be allowed in the face amount of
$1,199,258.00, and (ii) the rejection damage claims filed by Robert and Judy White and Betty
Sue Watson (Claim Nos. 403 and 404) shall be disallowed.

     C.        Limited Appointment of Grinding Plan Agent and Prosecution of Objections to
               Claims

        On the Effective Date, the Grinding Chapter 11 Trustee shall be appointed as a plan agent
(the “Plan Agent”) for the limited purpose of prosecuting objections to claims as set forth below
and making disbursements to Holders of Claims in Classes 1, 2, and 5. Following the payment of
all Allowed Claims in Class 1, 2, and 5, the Plan Agent shall disburse all Cash in her possession
to the Liquidating Trust and such Cash shall become Liquidating Trust Cash. After she has
disbursed all remaining Cash in her possession to the Liquidating Trust, the Plan Agent shall
have no further duties or obligations under this Plan.


                                                 65
10834324v7
    Case20-30967
    Case 20-30967 Document
                  Document1025
                           1029 Filed
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                                      in TXSB  on in
                                         12/29/20 12/30/20 Page100
                                                     TXSB Page 99 of
                                                                   of115
                                                                      116



        The Plan Agent, Liquidating Trustee and the Oversight Committee shall have the
authority to File, settle, compromise, withdraw, or litigate to judgment any objections to Class 1,
2, 4, 5, and 6 Claims as permitted under this Plan. Additionally, the Liquidating Trustee shall
have the exclusive authority to File, settle, compromise, withdraw, or litigate to judgment any
objections to Class 3 Claims which were not asserted in one of the Removed Lawsuits. From
and after the Effective Date and subject to the terms of the Liquidating Trust Agreement, the
Liquidating Trustee may settle or compromise any such Disputed Claim.

         The Watson Valve Trustee shall have the authority to File, settle, compromise, withdraw
or litigate to judgment any objections to Class 8, 9, 11, 12 and 13 Claims. Additionally, the
Watson Valve Trustee shall have the exclusive authority to File, settle, compromise, withdraw,
or litigate to judgment any objections to Class 10 Claims which were not also asserted in one or
more of the Removed Lawsuits.

        John Watson will have concurrent authority with the Watson Valve Trustee to file
objections to General Unsecured Claims against Watson Valve. Any savings achieved by John
Watson during the claims adjudication process over the reserved face value of any claim shall be
distributed (i) first, to reimburse John Watson for the actual costs incurred in objecting to such
claim (such reimbursement amount subject to notice and opportunity for hearing); and (ii)
second to holders of Interests in Valve on a Pro Rata basis based on ownership percentages
(disbursement to equity holders subject to notice and opportunity for hearing). John Watson
shall have 120 days following the Effective Date to file objections to Valve General Unsecured
Claims, or such other deadline as may be established by the Bankruptcy Court. Any claims not
objected to within such deadline or any claims, or part thereof, resolved in favor of the claim
holder shall receive a prompt distribution on account of such Claim.

     D.      Deadline to Object to Claims

        Unless otherwise ordered by the Bankruptcy Court, the Liquidating Trustee and Watson
Valve Trustee (of John Watson on the limited basis set forth in the preceding paragraph) shall
File all objections to Claims by no later than 120 days after the Effective Date, except to the
extent that such Claims are Filed on or after the Effective Date, in which case, the Liquidating
Trustee shall have until 90 days after such claim is Filed to File an objection to such claim.
Notwithstanding the foregoing, if the Liquidating Trustee, the Watson Valve Trustee or John
Watson determines that an extension of time is warranted, they may seek the Bankruptcy Court’s
approval to extend such time by a period of an additional 180 days, without prejudice to seek
additional extensions from the Bankruptcy Court.

     E.      Estimation of Claims

       Except for January 24 Claims and Indemnity Claims which are asserted in a Removed
Lawsuit, the Liquidating Trustee may, at any time, request that the Bankruptcy Court estimate
any contingent or unliquidated Claim pursuant to section 502(c) of the Bankruptcy Code,
regardless of whether the Liquidating Trustee has previously objected to such Claim or whether
the Bankruptcy Court has ruled on any objection, and, subject to the limitations of 28 U.S.C. §
157(b)(2)(B) and (O), the Bankruptcy Court will retain jurisdiction to estimate any Claim at any
time during litigation concerning any objection to any Claim, including during the pendency of

                                                66
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
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                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 100
                                                               101 of
                                                                   of 115
                                                                      116



any appeal related to any such objection. In the event the Bankruptcy Court estimates any
contingent or unliquidated Claim, that estimated amount will constitute either the Allowed
amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
Court. If the estimated amount constitutes a maximum limitation on such Claim, the Liquidating
Trustee may elect to pursue any supplemental proceedings to object to any ultimate payment on
such Claim. All of the aforementioned objection, estimation, and resolution procedures are
cumulative and are not necessarily exclusive of one another. Claims may be estimated and
thereafter resolved by any permitted mechanism. Nothing in this Plan shall be deemed to limit
or impair the Holder of a Claim from challenging any estimation proceeding, including on the
basis that the Bankruptcy Court does not have jurisdiction pursuant to 28 U.S.C. § 157(b)(2)(B)
and (O).

     F.        Amendments to Claims

       On or after the Effective Date, except as provided in the Plan or the Confirmation Order,
a Claim may not be Filed or amended without the prior authorization of the Bankruptcy Court,
and any such new or amended Claim Filed shall be deemed Disallowed in full and expunged
without any further action, order, or approval of the Bankruptcy Court.

     G.        Distributions After Allowance

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, Distributions
(if any) shall be made to the Holder of such Allowed Claim in accordance with the provisions of
this Plan. As soon as reasonably practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim becomes a Final Order, and subject to the
administration of the Reserves and Liquidating Trust in the Liquidating Trustee’s discretion, the
Liquidating Trustee or Watson Valve Trustee shall provide to the Holder of such Claim the
Distribution (if any) to which such Holder is entitled under this Plan as of the Effective Date.


                 CONDITIONS PRECEDENT TO CONFIRMATION OF THE
                         PLAN AND THE EFFECTIVE DATE

     A.        Conditions Precedent to Confirmation

          It shall be a condition to Confirmation hereof that:

          1.     All provisions, terms and conditions hereof are approved in the Confirmation
Order.

       2.     A Confirmation Order shall have been entered by the Bankruptcy Court, in form
and substance acceptable to the Committee.

        3.     The Confirmation Order shall provide that, among other things, the Liquidating
Trustee and the Watson Valve Trustee, as applicable, are authorized and directed to take all
actions necessary or appropriate to consummate this Plan, including, without limitation, entering
into, implementing, and consummating the other contracts, instruments, and other agreements or
documents created in connection with or described in this Plan.

                                                   67
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
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                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 101
                                                               102 of
                                                                   of 115
                                                                      116



        4.     All other actions, documents and agreements necessary to implement the Plan
shall have been effected or executed.

       5.      All required consents, approvals, and authorizations, if any, have been obtained.

     B.      Conditions Precedent to the Effective Date

        It shall be a condition to the Effective Date that the following provisions, terms, and
conditions are satisfied (or waived pursuant to the provisions of Article XV.C hereof), and the
Effective Date shall occur on the date upon which the last of such conditions are so satisfied
and/or waived.

       1.      The Grinding Chapter 11 Trustee shall have fully funded the Reserves.

       2.      The Court shall have entered a Final order on the motions to remand.

        3.      The Confirmation Order shall be a Final Order in form and substance acceptable
to the Plan Proponent. The Confirmation Order shall provide that, among other things, the
Watson Valve Trustee and the Liquidating Trustee, as applicable, are authorized and directed to
take all actions necessary or appropriate to consummate this Plan, including, without limitation,
entering into, implementing and consummating the contracts, instruments, and other agreements
or documents created in connection with or described in this Plan.

        4.     The Liquidating Trust Agreement and the Watson Valve Liquidating Trust
Agreement shall have been executed and delivered by all of the Entities that are parties thereto
and all conditions precedent to the consummation thereof shall have been waived or satisfied in
accordance with the terms thereof.

       5.      All actions, documents, certificates, and agreements necessary to implement this
Plan shall have been effected or executed and delivered to the required parties and, to the extent
required, Filed with the applicable Governmental Units in accordance with applicable laws.

     C.      Waiver of Conditions

       Each of the conditions to Confirmation and to Consummation set forth in this Article XV
may be waived with the consent of the Debtors without notice, leave, or order of the Bankruptcy
Court or any formal action other than proceeding to confirm or consummate the Plan.

     D.      Effect of Nonoccurrence of Conditions

        If the Consummation of the Plan does not occur within six months from the date the Plan
was Filed, the Plan shall be null and void in all respects and nothing contained in the Plan or the
Disclosure Statement shall: (1) constitute a waiver or release of any claims by or Claims against
or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, the Estates, any
Holders, or any other Entity; or (3) constitute an admission, acknowledgment, offer, or
undertaking by the Debtors, the Estates, any Holders or any other Entity in any respect.




                                                68
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 102
                                                               103 of
                                                                   of 115
                                                                      116




        SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

     A.      Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to sections 363 and 1123(a)(5) of the Bankruptcy Code and Bankruptcy Rule
9019 and in consideration for the Distributions and other benefits provided pursuant to the Plan,
the provisions of the Plan shall constitute a good faith compromise of all Claims, Interests and
controversies relating to the contractual, legal and subordination rights that a Holder of a Claim
or Interest may have, or any Distribution to be made on account of such Allowed Claim.

       Additionally, the Plan constitutes a motion to compromise, pursuant to Bankruptcy Rule
9019, all objections to the motions to remand filed by the Debtors and Western/Matheson and the
motion to estimate claims and competing plan filed by John Watson.

        In consideration for the Debtors and Western/Matheson agreeing to withdrawal their
opposition to remand, the Committee has agreed that the Oversight Committee will consent to
consolidation in an MDL proceeding and to recommend the MDL panel selection one of three
specified judges. The form of the Motion to Transfer, the MDL Recommendation, the case
management order, and the Liquidating Trust Agreement all shall be reasonably acceptable, in
both form and substance, to each of the Committee (or Oversight Committee as applicable), the
Liquidating Trustee, the Watson Valve Trustee, and Western/Matheson, and each such parties
shall use reasonable efforts to support approval of those documents by the relevant court.

        In full and final satisfaction of Watson Grinding’s and the January 24 Claimants’ rights to
recover against the Valve Cash, the Valve Chapter 11 Trustee shall transfer $1,000,000 of Valve
Cash to the Liquidating Trust on the Effective Date; provided, however, that (i) Watson Grinding
shall retain all rights of setoff, recoupment and counterclaims against the Valve Claims and
Retained Causes of Action, and (ii) this compromise shall not impair the rights that Watson
Grinding and the January 24 Claimants under any applicable insurance policies.

        The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
the compromise and settlement of all such Claims, Interests and controversies, as well as a
finding by the Bankruptcy Court that such compromise and settlement is in the best interests of
the Debtor, the Estate and Holders of Claims and Interests and is fair, equitable and reasonable.
In accordance with the provisions of the Plan and except as otherwise provided herein and in the
Liquidating Trust Agreement, pursuant to section 363 of the Bankruptcy Code and Bankruptcy
Rule 9019(a), without any further notice to or action, order or approval of the Bankruptcy Court,
after the Effective Date, the Liquidating Trustee may compromise and settle Claims against the
Debtors or their Estates and Causes of Action against other Entities.

     B.      Exculpation

       Notwithstanding anything contained in this Plan to the contrary, an Exculpated
Party, and any property of an Exculpated Party, shall not have or incur any liability to any
Entity for any postpetition act arising prior to or on the Effective Date taken or omitted to
be taken in connection with, related to or arising from the formulation, negotiation,
preparation, dissemination, implementation, or administration of this Plan, the Plan

                                                69
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 103
                                                               104 of
                                                                   of 115
                                                                      116



Supplement, the Disclosure Statement, or any contract, instrument, or other agreement or
document created or entered into in connection with this Plan, the Disclosure Statement, or
the Chapter 11 Cases, or any other postpetition act taken or omitted to be taken in
connection with or in contemplation of the liquidation of the Debtor, the Chapter 11 Case,
or the confirmation or consummation of this Plan, including but not limited to
(i) formulating, preparing, disseminating, implementing, confirming, consummating or
administrating this Plan (including soliciting acceptances or rejections thereof if
necessary), the Disclosure Statement, or any contract, instrument, release or other
agreement or document entered into or any action taken or not taken in connection with
this Plan; or (ii) any Distribution made pursuant to this Plan, except for acts determined by
a Final Order to constitute actual fraud, willful misconduct or gross negligence, and in all
respects such parties shall be entitled to rely upon the advice of counsel with respect to
their duties and responsibilities under or in connection with this Plan. Notwithstanding the
foregoing, for the avoidance of doubt, this section of the Plan shall not (i) exculpate or
release any Exculpated Party from anything other than as expressly identified in the
preceding sentence, (ii) prevent or limit the ability of the Liquidating Trustee or Watson
Valve Trustee to object to a Claim of an Exculpated Party on any basis other than matters
exculpated or released in this section, or (iii) prevent or limit the ability of the Liquidating
Trustee or Watson Valve Trustee to object to, or defend against, on any basis, any
Administrative Claim of an Exculpated Party.

     C.      Injunction

        Except as otherwise expressly provided in the Plan or in the Confirmation Order, or
for obligations arising pursuant to the Plan, from and after the Effective Date, all Entities
who hold or may hold Claims or Interests and all Entities acting on behalf of such Holders
are permanently enjoined from taking any of the following actions against the Debtors, the
Estates, the Valve Chapter 11 Trustee, the Grinding Chapter 11 Trustee, the Exculpated
Parties, the Liquidating Trust, Liquidating Trustee, and the Watson Valve Trustee:
(1) except for the Removed Lawsuits and Adversary Proceeding No. 20-3415 filed by
Indian Harbor Insurance Company, commencing or continuing in any manner any action
or other proceeding of any kind on account of or in connection with or with respect to any
Claims or Interests; (2) enforcing, attaching, collecting, or recovering by any manner or
means any judgment, award, decree, or order against such Entities on account of or in
connection with or with respect to any Claims or Interests; (3) creating, perfecting, or
enforcing any encumbrance of any kind against such Entities or the property or Estate of
such Entities on account of or in connection with or with respect to any Claims or Interests;
(4) asserting any right of setoff, subrogation, or recoupment of any kind against any
obligation due from such Entities or against the property or Estate of such Entities on
account of or in connection with or with respect to any Claims or Interests unless such
Holder has Filed a motion requesting the right to perform such setoff on or before the
Confirmation Date; (5) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any Claims,
Interests and Causes of Action released, exculpated, waived, settled or barred pursuant to
this Plan, which for the avoidance of doubt includes the Exculpated Claims set forth herein
but expressly does not include the Removed Lawsuits.


                                              70
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 104
                                                               105 of
                                                                   of 115
                                                                      116



     D.        Term of Injunctions or Stays

        Unless otherwise provided herein or in a Final Order, all injunctions or stays arising
under or entered during the Chapter 11 Cases under section 362 of the Bankruptcy Code or
otherwise and in existence on the Confirmation Date, shall remain in full force and effect until
the later of the Effective Date and the date set forth in the order providing for such injunction or
stay.

     E.        Setoffs

        Except as otherwise expressly provided for in the Plan, the Debtors, Estates, the Watson
Valve Trustee and the Liquidating Trustee (as applicable), pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable non-bankruptcy law or as may be
agreed to by the Holder of a Claim, may set off against any Allowed Claim and the Distributions
to be made pursuant to the Plan on account of such Allowed Claim (before any Distribution is
made on account of such Allowed Claim), any Retained Cause of Action of any nature that the
Debtors and/or the Estates, as applicable, may hold against the Holder of such Allowed Claim, to
the extent such Retained Causes of Action against such Holder have not been otherwise
compromised or settled on or prior to the Effective Date (whether pursuant to the Plan or
otherwise); provided, however, that neither the failure to effect such a setoff nor the allowance of
any Claim pursuant to the Plan shall constitute a waiver or release by the Debtors, Estates,
Watson Valve Trustee, or Liquidating Trustee of any such Retained Causes of Action that the
Debtors, Estates, Watson Valve Trustee, or Liquidating Trustee may possess against such
Holder. In no event shall any Holder of Claims be entitled to setoff any Claim against any
Retained Cause of Action unless such Holder has obtained an authorizing order from the
Bankruptcy Court pursuant to a motion Filed on or before the Confirmation Date with the
Bankruptcy Court and requesting the authority to perform such setoff.

     F.        Recoupment

        In no event shall any Holder of Claims or Interests be entitled to recoup any Claim or
Interest against any Retained Cause of Action, unless such Holder actually has performed such
recoupment and provided notice thereof in writing to the Grinding Chapter 11 Trustee or Valve
Chapter 11 Trustee on or before the Effective Date, notwithstanding any indication in any Proof
of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of
recoupment.

          G.    Insurance Neutrality

        Nothing contained in this Plan, the Confirmation Order, or the Plan Supplement,
including any provision that purports to be preemptory or supervening, shall in any way operate
to, or have the effect of, impair any insurers’ legal, equitable or contractual rights or obligations
in any respect. The rights of insurers shall be determined under their applicable policies.




                                                 71
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 105
                                                               106 of
                                                                   of 115
                                                                      116




                                 BINDING NATURE OF PLAN

     THIS PLAN SHALL BIND ALL HOLDERS OF CLAIMS AGAINST AND
INTERESTS IN THE DEBTORS OR THE ESTATES TO THE MAXIMUM EXTENT
PERMITTED BY APPLICABLE LAW, NOTWITHSTANDING WHETHER OR NOT SUCH
HOLDER (I) WILL RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN
PROPERTY UNDER THE PLAN, (II) HAS FILED A PROOF OF CLAIM OR INTEREST IN
THE CHAPTER 11 CASES, OR (III) FAILED TO VOTE TO ACCEPT OR REJECT THE
PLAN OR VOTED TO REJECT THE PLAN.


                              RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall, after the Effective Date, retain jurisdiction over the Chapter 11
Cases and all Entities with respect to all matters related to the Chapter 11 Cases, the Debtors, the
Estates, and this Plan to the fullest extent permitted by law, including, without limitation,
jurisdiction to:

         1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
Secured or Unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the Secured or Unsecured status, priority, amount, or allowance of Claims or Interests; provided,
however, that the Bankruptcy Court shall have no jurisdiction to allow, disallow, determine,
liquidate, classify, estimate, or establish the priority, Secured or Unsecured status, or amount of
any January 24 Claim that is asserted in one of the Removed Lawsuits, even if such Claimant
also filed a proof of claim based on the Removed Lawsuit;

        2.     adjudicate, decide, or resolve any disputes brought against an insurance carrier
based on a failure to pay or wrongful denial of coverage following the determination of liability
in the Removed Lawsuits;

       3.      decide and resolve all matters related to the granting and denying, in whole or in
part, any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan;

        4.     resolve any matters related to: (a) rejection of any Executory Contract or
Unexpired Lease to which the Debtors are party or with respect to which the Debtors may be
liable and to hear, determine and, if necessary, liquidate, any Claims arising therefrom and (b)
any dispute regarding whether a contract or lease is or was executory or expired;

       5.      ensure that Distributions to Holders of Allowed Claims are accomplished
pursuant to the provisions of the Plan;

       6.      adjudicate, decide, or resolve any motions, applications or other contested matters
involving the Debtors that may be pending on the Effective Date;


                                                 72
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 106
                                                               107 of
                                                                   of 115
                                                                      116



       7.     adjudicate, decide, or resolve any and all matters related to sections 1141 and
1145 of the Bankruptcy Code;

       8.      enter and implement such orders as may be necessary or appropriate to execute,
implement, or consummate the provisions of the Plan, the administration of the Liquidating
Trust, and the Watson Valve Liquidating Trust and all contracts, instruments, releases,
indentures, and other agreements or documents created in connection with the Plan or the
Disclosure Statement;

        9.     resolve any cases, controversies, suits, disputes, or Causes of Action that may
arise in connection with the Consummation, interpretation, administration, or enforcement of the
Plan or any Entity’s obligations incurred in connection with the Plan; provided, however, that the
Bankruptcy Court shall have no jurisdiction over the Removed Lawsuits;

       10.    issue injunctions, enter and implement other orders, or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with Consummation or
enforcement of the Plan;

        11.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the releases, injunctions and other provisions contained in Article XVI and enter such orders
as may be necessary or appropriate to implement such releases, injunctions, and other provisions;

      12.    enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;

       13.     enter an order or final decree concluding or closing the Chapter 11 Cases;

       14.     consider any modifications of the Plan to cure any defect or omission or to
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

       15.     determine requests for the payment of Claims and Interests entitled to priority
pursuant to section 507 of the Bankruptcy Code;

       16.     review and approve any settlements involving the Grinding Insurance Recovery,
the Valve Insurance Recovery or a settlement that involves disbursement from the Liquidating
Trust Cash or the Valve Cash.

       17.   hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan or the Confirmation Order, including disputes arising
under agreements, documents, or instruments executed in connection with the Plan;

       18.    hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

       19.     hear and determine matters concerning the conduct of the Oversight Committee,
the Liquidating Trustee and the Watson Valve Trustee;

       20.     enforce all orders previously entered by the Bankruptcy Court;

                                                73
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 107
                                                               108 of
                                                                   of 115
                                                                      116



       21.    determine whether causes exists for the removal of the Watson Valve Trustee or
the Liquidating Trustee and to approve the Oversight Committee’s selection of a replacement;
and

       22.     adjudicate all other matters over which the Bankruptcy Court has jurisdiction.


          MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

     A.      Modifications and Amendments

        Subject to the limitations contained herein, the Plan Proponent reserves the right to
modify the Plan and seek Confirmation consistent with the Bankruptcy Code and, as appropriate,
not resolicit votes on such modified Plan. Subject to certain restrictions and requirements set
forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions
on modifications set forth in the Plan, the Plan Proponent expressly reserves the right to alter,
amend, or modify the Plan, one or more times, after Confirmation, and, to the extent necessary,
may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or
remedy any defect or omission, or reconcile any inconsistencies in the Plan, the Disclosure
Statement, or the Confirmation Order, in such matters as may be necessary to carry out the
purposes and intent of the Plan. After the Effective Date any modifications to the Plan must be
approved by an order of the Bankruptcy Court upon a motion by the Liquidating Trustee or
Watson Valve Trustee.

     B.      Effect of Confirmation on Modifications

       Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy
Code and do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

     C.      Revocation or Withdrawal of the Plan

        The Plan Proponent reserves the right to revoke or withdraw this Plan prior to the
Effective Date and to File subsequent chapter 11 plans. If the Plan Proponent revokes or
withdraws this Plan subject to the terms hereof, or if Confirmation or Consummation does not
occur, then: (1) this Plan shall be null and void in all respects; (2) any settlement or compromise
embodied in this Plan, assumption or rejection of Executory Contracts or Unexpired Leases
effected by this Plan and any document or agreement executed pursuant hereto shall be deemed
null and void except as may be set forth in a separate order entered by the Bankruptcy Court; and
(3) nothing contained in this Plan shall: (x) constitute a waiver or release of any Claims by or
against, or any Interests in, the Debtors, Estates or any other Entity; (y) prejudice in any manner
the rights of the Debtors, the Estates, or any other Entity; or (z) constitute an admission,
acknowledgement, offer or undertaking of any sort by the Debtors, the Estates, or any other
Entity.




                                                74
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 108
                                                               109 of
                                                                   of 115
                                                                      116



     D.      Substantial Consummation of the Plan

      Substantial consummation of the Plan under Bankruptcy Code section 1101(2) shall be
deemed to occur on the Effective Date.


                              MISCELLANEOUS PROVISIONS

     A.      Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in the Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor or
assign, affiliate, officer, director, manager, agent, representative, attorney, beneficiary, or
guardian, if any, of each Entity.

     B.      Reservation of Rights

        Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order. Neither the Plan, any statement or
provision contained in the Plan, nor any action taken or not taken by the Plan Proponent with
respect to the Plan or the Disclosure Statement shall be or shall be deemed to be an admission or
waiver of any rights of the Debtors, the Estates, the Committee or its members with respect to
the Holders of Claims or Interests before the Effective Date.

     C.      Nonseverability of Plan Provisions

        If, before Confirmation of the Plan, any term or provision of the Plan is held by the
Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered
or interpreted; provided that any such alteration or interpretation must be in form and substance
acceptable to the Plan Proponent; provided, further, that the Plan Proponent may seek an
expedited hearing before the Bankruptcy Court to address any objection to any such alteration or
interpretation of the foregoing. Notwithstanding any such holding, alteration, or interpretation,
the remainder of the terms and provisions of the Plan will remain in full force and effect and will
in no way be affected, impaired, or invalidated by such holding, alteration, or interpretation. The
Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not
be deleted or modified prior to the Effective Date without the Debtors’ consent, or after the
Effective Date without the Liquidating Trustee’s consent; and (3) nonseverable and mutually
dependent.

     D.      Return of Security Deposits

       Unless the Liquidating Trustee or Watson Valve Trustee has agreed otherwise in a
written agreement or stipulation approved by the Bankruptcy Court, all security deposits

                                                75
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 109
                                                               110 of
                                                                   of 115
                                                                      116



provided by the Debtors to any Entity at any time after the Petition Date shall be returned to the
Liquidating Trustee or Watson Valve Trustee within twenty-one (21) days after the Effective
Date, without deduction or offset of any kind.

     E.      Entire Agreement

       Except as otherwise indicated herein, the Plan supersedes all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

     F.      Exhibits

        All exhibits hereto are incorporated into and are a part of the Plan as if set forth in full in
the Plan. To the extent any exhibit or document is inconsistent with the terms of the Plan, unless
otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

     G.      Votes Solicited in Good Faith

        Upon entry of the Confirmation Order, the Plan Proponent will be deemed to have
solicited votes on the Plan in good faith and in compliance with the Bankruptcy Code and any
applicable non-bankruptcy law, and pursuant to section 1125(e) of the Bankruptcy Code, the
Plan Proponent and each of their members and their respective agents, representatives, members,
principals, shareholders, officers, directors, employees, advisors, and attorneys will be deemed to
have participated in good faith and in compliance with the Bankruptcy Code in the offer,
issuance, sale, and purchase of securities offered and sold under the Plan, and, therefore, will
have no liability for the violation of any applicable law, rule, or regulation governing the
solicitation of votes on the Plan or the offer, issuance, sale, or purchase of the securities offered
and sold under the Plan.

     H.      Filing of Additional Documents

        On or before the Effective Date, the Plan Proponent may File with the Bankruptcy Court
all agreements and other documents that may be necessary or appropriate to effectuate and
further evidence the terms and conditions hereof.


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                                                  76
10834324v7
    Case
    Case 20-30967
         20-30967 Document
                  Document 1029
                           1025 Filed
                                Filed in
                                      onTXSB  on 12/30/20
                                         12/29/20 in TXSB Page
                                                          Page 110
                                                               111 of
                                                                   of 115
                                                                      116



       Dated: December 3, 2020.

                                   Respectfully submitted,

                                   THE OFFICIAL COMMITTEE OF JANUARY
                                   24 CLAIMANTS



                                   By: /s/ Muhammad S. Aziz
                                       Muhammad S. Aziz
                                       Committee Co-Chair

                                   By: /s/ Robert S. Kwok
                                       Robert S. Kwok
                                       Committee Co-Chair




10834324v7
Case
Case 20-30967
     20-30967 Document
              Document 1029
                       1025 Filed
                            Filed in
                                  onTXSB  on 12/30/20
                                     12/29/20 in TXSB Page
                                                      Page 111
                                                           112 of
                                                               of 115
                                                                  116



                             EXHIBIT
                    LIQUIDATION ANALYSIS
             Case
             Case 20-30967
                  20-30967 Document
                           Document 1029
                                    1025 Filed
                                         Filed in
                                               onTXSB  on 12/30/20
                                                  12/29/20 in TXSB Page
                                                                   Page 112
                                                                        113 of
                                                                            of 115
                                                                               116


Watson Grinding Hypothetical Liquidation Analysis

                                                                                             Chapter 7           Chapter 11
Estimated Liquidating Trust Cash at the Effective Date                                        $     6,910,704.48 $      6,910,704.48 See note 1

Chapter 7 Trustee Fee (3%)                                                                    $        (987,321.13)   $               -    See note 2
Chapter 7 Trustee Professional Fees                                                           $        (400,000.00)   $               -
Liquidating Trustee Fees                                                                      $                -      $       (200,000.00)
Liquidating Trustee Professionals                                                             $                -      $       (200,000.00)
Chapter 11 Administrative Claims                                                              $      (1,591,079.99)   $     (1,591,079.99)
Priority Tax Claims                                                                           $                -      $               -
Class 1 - Secured Claims                                                                      $         (27,000.00)   $        (27,000.00)
Class 2 - Other Priority Claims                                                               $        (261,163.55)   $       (261,163.55)
Receipt of Settlement From Valve Estate                                                       $                -      $      1,000,000.00
Net Proceeds Available from Non-Insurance Assets                                              $       3,644,139.81    $      5,631,460.94

                                                                                              Chapter 7               Chapter 11
Recovery on insurance proceeds                                                                $    26,000,000.00      $    26,000,000.00
Special Master Fees                                                                           $              -        $        (50,000.00)
Proceeds Available from Insurance Assets                                                      $    26,000,000.00      $    25,950,000.00


Estimated Recovery Under Chapter 11 Plan                      Estimated Claims
                                                                                           Dollar Recovery      % Recovery
Class 3 - January 24 Claims Recovery                           $            375,000,000.00 $      26,270,460.40              7.01% See note 3
Class 4 - Minor Damage Claims                                  $                500,000.00 $         500,000.00        40% to 100%
Class 5 - General Unsecured Claims                             $              4,811,000.54 $       4,811,000.54            100.00%
Class 6 - Indemnity Claims                                     $                       -   $                -                       See note 4

Estimated Recovery in Hypothetical Chapter 7                  Estimated Claims               Dollar Recovery      % Recovery
Class 3 - January 24 Claims Recovery                           $           375,000,000.00    $      29,603,677.94                   7.89%
Class 4 - Minor Damage Claims                                  $               500,000.00    $           5,162.86                   1.03%
Class 5 - General Unsecured Claims                             $             3,418,550.00    $          35,299.01                   1.03%
Class 6 - Indemnity Claims                                     $                      -      $                -




Note 1 - Estimate based on Watson Grinding Chapter 11 Trustee best current estimate.
Note 2 - Assumes $26 million of insurance proceeds will pass through chapter 7 estate.
        This liquidation analysis is not an admission that the trustee fee would apply to the insurance proceeds in a chapter 7.
        The Committee and all creditors reserve all objections in the event of conversion.
Note 3 - January 24 Claims amount is the mid-point between estimated damages of $250 million to $500 million
Note 4 - The amount of indemnity claims are unknown at this time.
         If Indemnity Claims can establish right to participate in insurance recovery, their perecentage recovery will be the same as Class 3.
        The Committee and all creditors reserve all objections to the allowance and amount of Indemnity Claims.




10838640v1
             Case
             Case 20-30967
                  20-30967 Document
                           Document 1029
                                    1025 Filed
                                         Filed in
                                               onTXSB  on 12/30/20
                                                  12/29/20 in TXSB Page
                                                                   Page 113
                                                                        114 of
                                                                            of 115
                                                                               116


Watson Valve Hypothetical Liquidation Analysis

                                                                                              Chapter 7           Chapter 11
Estimated Liquidating Trust Cash at the Effective Date                                         $     5,828,944.00 $      5,828,944.00 See note 1

Chapter 7 Trustee Fee (3%)                                                                    $        (954,868.32)   $               -    See note 2
Chapter 7 Trustee Professional Fees                                                           $         (85,000.00)   $               -
Watson Valve Chapter 11 Trustee Fees                                                          $        (254,044.00)   $       (254,044.00)
Watson Valve Chapter 11 Trustee Professionals                                                 $        (281,452.00)   $       (366,452.00)
Watson Valve Liquidating Trustee Reserve                                                                              $        (50,000.00)
Chapter 11 Administrative Claims                                                              $        (575,158.00)   $       (575,158.00)
Class 8 - Secured Claims                                                                      $          (8,165.97)   $         (8,165.97)
Class 9 - Other Priority Claims                                                               $         (50,000.00)   $        (50,000.00)
Estimated 2020 Income Taxes                                                                   $      (1,200,000.00)   $     (1,200,000.00)
Settlement of Matheson Indemnity Claim                                                        $                -      $     (1,000,000.00)
Net Proceeds Available from Non-Insurance Assets                                              $       2,420,255.71    $      2,325,124.03

                                                                                              Chapter 7               Chapter 11
Recovery on insurance proceeds                                                                $    26,000,000.00      $    26,000,000.00
Special Master Fees                                                                           $              -        $        (50,000.00)
Proceeds Available from Insurance Assets                                                      $    26,000,000.00      $    25,950,000.00

Estimated Recovery Under Chapter 11 Plan                       Estimated Claims
                                                                                           Dollar Recovery      % Recovery
Class 10 - January 24 Claims Recovery                          $            375,000,000.00 $      25,950,000.00              6.92% See note 3
Class 11 - Minor Damage Claims                                 $                500,000.00 $                -          40% to 100%
Class 12 - General Unsecured Claims                            $              1,318,010.00 $       1,318,010.00            100.00%
Class 13 - Indemnity Claims                                    -                           $                -                       See note 4
Class 14 - Equity Interests                                                            n/a $       1,007,114.03                 n/a

Estimated Recovery in Hypothetical Chapter 7                   Estimated Claims              Dollar Recovery      % Recovery
Class 10 - January 24 Claims Recovery                           $           375,000,000.00   $      28,407,715.24                    7.58%
Class 11 - Minor Damage Claims                                  $               500,000.00   $           3,448.95                    0.69%
Class 12 - General Unsecured Claims                             $             1,318,010.00   $           9,091.51                    0.69%
Class 13 - Indemnity Claims                                                                  $                -
Class 14 - Equity Interests                                                              n/a $                -                        n/a


Note 1 - Estimate based on Watson Valve Chapter 11 Trustee best current estimate.
Note 2 - Assumes $13 million of insurance proceeds will pass through chapter 7 estate.
        This liquidation analysis is not an admission that the trustee fee would apply to the insurance proceeds in a chapter 7.
        The Committee and all creditors reserve all objections in the event of conversion.
Note 3 - Estimated claims amount is the mid-point between estimated damages of $250 million to $500 million
Note 4 - The amount of indemnity claims are unknown at this time.
          If indemnity claims can establish right to participate in insurance recovery, their perecentage recovery will be the same as Class 10.
         Assumes that there is no recovery from the Valve Claims and Retained Causes of Action




10838640v1
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 114
                                                                115 of
                                                                    of 115
                                                                       116




                               EXHIBIT B
                                  Schedule of Reserves (1)

                 Watson Grinding Payment                                          Amount
                 Watson Grinding Liquidating Trust                              $1,000,000
                 Administrative Reserves
                 Trustee (Post-Confirmation) Professional Fees (2)                 $85,000
                 US Trustee Quarterly Fees (2)                                     $14,950
                 Chapter 11 Trustee Fees                                          $254,044
                 Chapter 11 Professional Fees                                     $281,452
                 Plan Administrator Fee Reserve (2)                                $50,000
                 Misc. Expenses: accounting, etc. (2)                             $100,000
                 Estimated Potential Remaining Tax Liabilities (3)                $235,000
                 Claim Reserves
                 Secured Claims                                                     $8,166
                 Other Priority Claims                                             $50,000
                 General Unsecured Claims                                       $1,318,010
                 Lease rejection damages                                          $300,000
                 Total Reserves and Payments (4)                               $3,696,622


                 (1) Certain of the liabilities associated with these reserves may be
                 paid prior to the Effective Date of the Plan in which case the reserve
                 will not be established if the liability has already been paid.


                 (2) Any of these reserves may be used to pay trustee compensation,
                 trustee professional fees, E&O insurance, preparation of tax
                 returns, taxes, preparation of distribution checks, and U.S. Trustee
                 fees.


                 (3) The Valve Chapter 11 Trustee has made an estimated 2020 tax
                 payment in the amount of $565,000. This remaining amount
                 includes
                 $185,000 for potential remaining 2020 income tax liability plus
                 $50,000 for potential 2020 and 2021 Texas franchise tax liability.



                 (4) This schedule of Watson Valve Reserves is not intended to
                 include amounts to be used to pay United States Trustee fees from the
                 Valve Insurance Recovery or the proceeds of the Valve Claims and


10859433v3
     Case
     Case 20-30967
          20-30967 Document
                   Document 1029
                            1025 Filed
                                 Filed in
                                       onTXSB  on 12/30/20
                                          12/29/20 in TXSB Page
                                                           Page 115
                                                                116 of
                                                                    of 115
                                                                       116



                 Retained Causes of Action. The Valve Trustee will take every effort
                 to have such payments made directly to the Holders of such Claims
                 whenever possible. In the event that there are United States Trustee
                 fees due as a result of the distribution of proceeds from the Valve
                 Insurance Recovery or the Valve Claims and Retained Causes of
                 Action, the Liquidating Trustee is authorized to withhold the amounts
                 necessary to pay the resulting United States Trustee fees prior to
                 making such distribution.




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